             Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 1 of 57




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    SORRENTO THERAPEUTICS, INC., et al.1                     )     Case No. 23-90085 (DRJ)
                                                             )
                               Debtors.                      )     (Jointly Administered)
                                                             )

        GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY
           AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS
        Sorrento Therapeutics, Inc. (“Sorrento”) and its wholly owned direct subsidiary, Scintilla
Pharmaceuticals, Inc. (“Scintilla”), as debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”), are filing their respective Schedules of Assets and
Liabilities (each, a “Schedule” and, collectively, the “Schedules”) and Statements of Financial
Affairs (each, a ”Statement” or “SOFA” and, collectively, the “Statements” or “SOFAs” in the
United States Bankruptcy Court for the Southern District of Texas Houston Division (the
“Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(collectively, the “Global Notes”) pertain to, are incorporated by reference in, and comprise an
integral part of all the Schedules and Statements. The Global Notes are in addition to the specific
notes set forth below with respect to particular Schedules and Statements (the “Specific Notes”
and, together with the Global Notes, the “Notes”). These Notes should be referred to, and
referenced in connection with, any review of the Schedules and Statements. In the event that the
Schedules or Statements differ from any of the Notes, the Notes shall control.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals and have necessarily relied upon the efforts, statements,
advice, and representations of personnel of the Debtors and the Debtors’ advisors and other
professionals. Given the scale of the Debtors’ businesses, the Debtors’ management has not (and
could not have) personally verified the accuracy of each statement and representation in the
Schedules and Statements, including, but not limited to, statements and representations concerning
amounts owed to creditors.


1
       The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
       identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
       Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.



                                                             1
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 2 of 57




        The Schedules and Statements are unaudited and subject to potential adjustment. In
preparing the Schedules and Statements, the Debtors relied on financial data derived from their
books and records that was available at the time of preparation. The Debtors’ management team
and advisors have made reasonable efforts to ensure that the Schedules and Statements are as
accurate and complete as possible under the circumstances; however, subsequent information or
discovery may result in material changes to the Schedules or Statements and inadvertent errors,
omissions, or inaccuracies may exist. Notwithstanding any such discovery, new information, or
errors or omissions, the Debtors do not undertake any obligation or commitment to update the
Schedules and Statements.

        The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including, but not limited to, the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, identity of debtor or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’
rights or an admission with respect to their chapter 11 cases, including, but not limited to, any
issues involving objections to claims, substantive consolidation, equitable subordination, defenses,
characterization or re-characterization of contracts and leases, assumption or rejection of contracts
and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to
recover assets or avoid transfers.

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

        1.     Description of the Cases. The Debtors commenced with this Court a voluntary
case under chapter 11 of the Bankruptcy Code on February 13, 2023 (the “Petition Date”). The
Debtors are authorized to operate their businesses and manage their properties as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On February 13, 2023,
the Bankruptcy Court entered an order authorizing the joint administration of the cases of the
Debtors pursuant to Bankruptcy Rule 1015(b). On February 28, 2023, the Office of the United
States Trustee appointed an official committee of unsecured creditors, which was reconstituted on
March 28, 2023. On April 10, 2023, the Office of the United States Trustee appointed an official
committee of equity security holders, which was reconstituted on April 13, 2023.

        2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
prepare consolidated financial statements, which include financial information for Sorrento and its
subsidiaries, including both Debtors and certain non-debtor affiliates. The Schedules and
Statements are unaudited and reflect the Debtors’ reasonable efforts to report certain financial
information of each Debtor on a stand-alone, unconsolidated basis. These Schedules and
Statements, neither purport to represent financial statements prepared in accordance with
Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they intended
to be fully reconciled with the financial statements of each Debtor. Furthermore, the Schedules
and Statements have not been subjected to the same level of accounting review and testing that the



                                                 2
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 3 of 57




Debtors apply in the preparation of their quarterly and annual consolidated financial information
in accordance with GAAP.

        Given, among other things, the uncertainty surrounding the valuation of certain assets and
the valuation and nature of certain liabilities, a Debtor may report more assets than liabilities. Such
report shall not constitute an admission that such Debtor was solvent on the Petition Date or at any
time before or after the Petition Date. Likewise, a Debtor reporting more liabilities than assets shall
not constitute an admission that such Debtor was insolvent at the Petition Date or any time prior
to or after the Petition Date.

        3.     Reporting Date. Unless otherwise noted in the instructions or response, the
Schedules and Statements generally reflect the Debtors’ books and records as of January 31, 2023,
except for (x) cash and cash equivalents, accounts receivable, investments for publicly traded
stock, letters of credit, accrued property taxes payable, accrued trade payables, trade and
intercompany payables, Schedule G (real property leases & executory contracts), possession of
books and records, current directors and officers, and Part 10: Schedule A/B 60 attachment for
patents, trademarks and trade secrets—all of which are reflected as of the Petition Date, adjusted
for payments authorized under the “first-day orders”, and (y) investments in interests in other
businesses which are reflected as of December 31, 2022, the last date that the investments were
revalued.

        4.      Current Values. The assets and liabilities of each Debtor are listed on the basis of
the book value of the asset or liability in the respective Debtor’s accounting books and records.
Unless otherwise noted, the carrying value on the Debtor’s books, rather than the current market
value, is reflected in the Schedules and Statements except for Part 4: Schedule A/B 14 publicly
traded stocks are listed at market value.

        5.     Confidentiality. There may be instances where certain information was redacted
or not included due to the nature of an agreement between Sorrento and a third party, concerns
about the confidential or commercially sensitive nature of certain information, or to protect the
privacy of an individual. The omissions and redactions are limited to only what is necessary to
protect Sorrento or a third party and will provide interested parties with sufficient information to
discern the nature of the listing.

        6.     Consolidated Entity Accounts Payable and Disbursement Systems. As
described in the Debtors’ cash management motion [Docket No. 28], the Debtors use an integrated,
centralized cash management system, in the ordinary course of business, to collect, transfer, and
disburse funds (the “Cash Management System”). The Debtors maintain a consolidated accounts
payable and disbursements system to pay operating and administrative expenses through various
disbursement accounts. In the ordinary course of business, the Debtors maintain business
relationships among each other and with certain non-debtor affiliates, which result in intercompany
receivables and payables (the “Intercompany Claims”) arising from intercompany transactions
(the “Intercompany Transactions”). As set forth more fully in the cash management motion, the
primary Intercompany Transactions giving rise to Intercompany Claims are providing services,
payment of payroll, intercompany loans and the direct payment of obligations by Sorrento on
behalf of non-Debtor affiliate(s). Historically, most Intercompany Claims are not settled by actual



                                                  3
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 4 of 57




transfers of cash among the Debtors. Instead, Sorrento tracks all Intercompany Transactions in
their accounting system, which concurrently are recorded on the applicable balance sheets.

         7.     Accuracy. Although the Debtors have made reasonable efforts to file complete and
accurate Schedules and Statements, inadvertent errors or omissions may exist. The Debtors reserve
all rights to amend and/or supplement the Schedules and Statements as is necessary or appropriate.
The financial information disclosed herein was not prepared in accordance with federal or state
securities laws or other applicable non-bankruptcy law or in lieu of complying with any periodic
reporting requirements thereunder. Persons and entities trading in or otherwise purchasing, selling
or transferring the claims against or equity interests in the Debtors should evaluate this financial
information in light of the purposes for which it was prepared. The Debtors are not liable for and
undertake no responsibility to indicate variations from securities laws or for any evaluations of the
Debtors based on this financial information or any other information.

        8.     Net Book Value of Assets. In many instances, current market valuations are not
maintained by or readily available to the Debtors. It would be prohibitively expensive, unduly
burdensome, and an inefficient use of estate resources for Sorrento to obtain current market
valuations for all assets. As such, wherever possible, unless otherwise indicated, net book values
as of January 31, 2023 are presented for all assets, except for cash and cash equivalents, accounts
receivable, and letters of credit, which are reflected as of the Petition Date. When necessary,
Sorrento has indicated that the value of certain assets is “Undetermined.” Amounts ultimately
realized may vary materially from net book value (or other value so ascribed). Accordingly, the
Debtors reserve all rights to amend, supplement, and adjust the asset values set forth in the
Schedules and Statements. As applicable, furniture, fixtures, equipment and leasehold
improvement assets that fully have been depreciated, amortized or impaired, or were expensed for
GAAP accounting purposes, have no net book value, and, therefore, are not included in the
Schedules and Statements.

         9.      Excluded Assets and Liabilities. Certain liabilities resulting from accruals,
liabilities recognized in accordance with GAAP and/or estimates of long-term liabilities either are
not payable at this time or have not yet been reported. Therefore, they do not represent specific
claims as of the Petition Date and are not otherwise set forth in the Schedules. Additionally, certain
assets with a net book value of zero are not included in the Schedules. Excluded categories of
assets and liabilities include, but are not limited to, deferred tax liabilities, deferred revenue,
accrued employee paid time off, acquisition consideration and contingent consideration liability,
and unfavorable lease liabilities. Other immaterial assets and liabilities may have been excluded.

       10.      Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
or Notes shall constitute a waiver of rights with respect to these chapter 11 cases, including, but
not limited to, the following:

       a.      Any failure to designate a claim listed on the Schedules and Statements as
               “disputed,” “contingent,” or “unliquidated” does not constitute an admission by
               the Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.”
               The Debtors reserve the right to dispute and to assert setoff rights, counterclaims,
               and defenses to any claim reflected on its Schedules as to amount, liability, and



                                                  4
Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 5 of 57




      classification, and to otherwise subsequently designate any claim as “disputed,”
      “contingent,” or “unliquidated.”

b.    The description of an amount as “undetermined” is not intended to reflect upon
      the materiality of such amount.

c.    The (i) listing of a claim on Schedule D as “secured,” (ii) listing of a claim on
      Schedule E/F as “priority,” or (iii) listing a contract or lease on Schedule G as
      “executory” or “unexpired” does not constitute an admission by Sorrento of the
      legal rights of the claimant, or a waiver of Sorrento’s rights to recharacterize or
      reclassify such claim or contract pursuant to a schedule amendment, claim
      objection or otherwise. Moreover, although Sorrento may have scheduled claims
      of various creditors as secured claims for informational purposes, no current
      valuation of Sorrento’s assets in which such creditors may have a security interest
      has been undertaken. Except as provided in an order of the Court, Sorrento
      reserves all rights to dispute and challenge the secured nature or amount of any
      such creditor’s claims or the characterization of the structure of any transaction,
      or any document or instrument related to such creditor’s claim. Listing a claim
      does not constitute an admission of liability by Sorrento, and Sorrento reserves the
      right to amend the Schedules accordingly.

d.    In the ordinary course of their business, Sorrento may lease equipment from
      certain third-party lessors for use in the daily operation of its business. Any such
      leases are set forth in Schedule G and any current amount due under such leases
      that were outstanding as of the Petition Date is listed on Schedule E/F. The
      property subject to any of such leases is not reflected in Schedule A/B as either
      owned property or assets of Sorrento nor is such property reflected in Sorrento’s
      Statement of Financial Affairs as property or assets of third parties within the
      control of Sorrento. Nothing in the Statements or Schedules is or shall be construed
      as an admission or determination as to the legal status of any lease (including
      whether any lease is a true lease or a financing arrangement), and Sorrento reserves
      all rights with respect to any of such issues, including, but not limited to, the
      recharacterization thereof.

e.    The claims of individual creditors for, among other things, materials, supplies or
      services are listed as the amounts entered on Sorrento’s books and records and
      may not reflect credits, allowances or other adjustments due from such creditors
      to Sorrento. Sorrento reserves all of its rights with regard to such credits,
      allowances and other adjustments, including, but not limited to the right to assert
      claims objections and/or setoffs with respect to the same.

f.    The Debtors’ businesses are part of a complex enterprise. Although the Debtors
      have exercised their reasonable efforts to ensure the accuracy of their Schedules
      and Statements, they nevertheless may contain errors and omissions. The Debtors
      hereby reserve all of their rights to dispute the validity, status, and enforceability
      of any contracts, agreements, and leases set forth on the Schedules and Statements,
      and to amend and supplement the Schedules and Statements as necessary.


                                        5
Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 6 of 57




g.    The Debtors further reserve all of their rights, claims, and causes of action with
      respect to the contracts and agreements listed on the Schedules and Statements,
      including, but not limited to, the right to dispute and challenge the characterization
      or the structure of any transaction, document, and instrument related to a creditor’s
      claim.

h.    Listing a contract or lease on the Schedules and Statements shall not be deemed
      an admission that such contract is an executory contract, such lease is an unexpired
      lease, or that either necessarily is a binding, valid, and enforceable contract. The
      Debtors hereby expressly reserve the right to assert that any contract listed on the
      Schedules and Statements does not constitute an executory contract within the
      meaning of section 365 of the Bankruptcy Code, as well as the right to assert that
      any lease so listed does not constitute an unexpired lease within the meaning of
      section 365 of the Bankruptcy Code.

i.    The Debtors did not close the books and records as of the Petition Date.



                            [Specific Notes Follow]




                                        6
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 7 of 57




                     SPECIFIC NOTES WITH RESPECT TO
             THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES

         Each of Schedules A/B, D, E/F, and G contain explanatory or qualifying notes that pertain
to the information provided in the Schedules. Those Schedule-specific notes are incorporated
herein by reference. Unless otherwise instructed or indicated, the asset totals listed on the
Schedules represent all known amounts included in the Debtors’ books and records as of January
31, 2023, except for (x) cash and cash equivalents, accounts receivable, letters of credit, accrued
property taxes payable, accrued trade payables, and trade and intercompany payables—which are
reflected as of the Petition Date, adjusted for payments authorized under the “first-day orders,”
and (y) investments in interests in other businesses which are reflected as of December 31, 2022,
the last date that the investments were revalued,. To the extent there are unknown or undetermined
amounts, the actual total may be different from the total listed.

         1.      Schedules A/B, Part 1 (Debtors). Details with respect to the Debtors’ cash
management system are provided in their cash management motion [Docket No. 28]. The amount
listed in Sorrento’s Schedule A/B, Part 1 for Gift Cards represents gift cards that were purchased
for use in Covid testing related to clinical studies. The gift cards were used to compensate certain
clinical trial participants and sample donors. The study was later suspended and the gift cards were
left unused.

        2.      Schedules A/B, Part 2 (Sorrento Only). The amounts listed in Part 2 for Sorrento
are listed in accordance with Sorrento’s books and records. These amounts do not necessarily
reflect assets Sorrento will be able to collect or realize. The carrying value of the deposits, as
reflected in each Sorrento’s records, are listed in Part 2. Prepaid expenses primarily consist of
cash in advance amounts paid to numerous vendors and suppliers for services and the purchase of
materials and supplies. Some of the prepayments may have been applied to subsequent invoices
and are no longer outstanding.

       3.       Schedules A/B, Part 3 (Sorrento Only). The amounts listed in Part 3 do not
include the intercompany receivables which are reflected in Part 11.

        4.       Schedules A/B, Part 4 (Sorrento Only). Any of Sorrento’s ownership interests in
subsidiaries, partnerships, joint ventures, and companies that Sorrento does not hold substantial
equity interest are listed in Schedule A/B, Part 4, at current value as of December 31, 2022, the
last date that the investments were revalued.

        5.      Schedules A/B, Part 5 (Sorrento Only). Sorrento has materials and supplies at
various locations. The materials and supplies contain chemicals/reagents which have limited shelf
lives and are perishable. No physical counts have occurred to verify the quantity on hand. The net
book value of these materials is zero and the current value is unknown. The materials are used in
drug production for research and development purposes and expensed to research and
development.

      6.      Schedules A/B, Part 7 (Sorrento Only). Office furniture and office fixtures are
combined as ‘office furniture’ under Question 39. Sorrento maintains a depreciation schedule for



                                                 7
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 8 of 57




office furniture and office fixtures. Construction in progress furniture will not start to depreciate
until it is complete and put into service.

       7.      Schedules A/B, Part 8 (Sorrento Only). ‘Other machinery, fixtures and
equipment’ under Question 50 includes lab equipment and leasehold improvements. Sorrento
maintains a depreciation schedule for lab equipment and leasehold improvements. Construction in
progress lab equipment and construction in progress leasehold improvements will not start to
depreciate until it is complete and put into service.

       8.       Schedules A/B, Part 9 (Sorrento Only). Sorrento’s net book value as of January
31, 2023 is based on right-of-use asset in accordance with ASC 842. This is not the valuation of
the landlord's land and building. Rather, the net book value reflects the carrying value of the
Sorrento’s right-of-use asset within Sorrento’s balance sheet as accounted for under Accounting
Standards Codification 842 Leases.

         9.      Schedules A/B, Part 10 (Sorrento Only). Part 10 identifies Sorrento’s patents,
copyrights, trademarks and trade secrets granted as of the Petition Date. A number of the patents
and trademarks are registered in multiple countries, including the United States. Part 10 also
includes a best effort listing of the Sorrento’s registered internet domains and websites. The act of
not listing any specific domain or website is not a relinquishing of ownership. Part 10 also includes
Sorrento’s licenses and royalties. Sorrento’s in-licenses are listed in this section. An example of
an in-license is if someone has a patent and Sorrento uses the patent through a license for
developing products. Part 10 also includes social media handles and the Amazon Store which is
empty. Part 10 also includes a response to Question 67 relating to lists or records which include
personally identifiable information of customers. Sorrento may collect and/or retain personally
identifiable information such as names, mailing addresses, email addresses and/or phone numbers
in connection with its clinical trials or patient laboratory services. Sorrento may also collect and/or
retain user provided personal information, automatically collected online activity and device
information in connection with its website. For additional information, refer to the consolidated
Sorrento Therapeutics, Inc. Form 10-K for a description of Sorrento’s assessment of goodwill and
fair value of intangible assets, including acquired in-process research and development.

       10.     Schedules A/B, Part 11 (Debtors). Estimated Balance of Net Operating Losses for
2022 Year-End Tax Provision is included in Sorrento’s Schedules. A significant portion of these
net operating losses are subject to usage limitations. See also response to Scintilla’s SOFA 31,
“Consolidated Tax Group” for additional information with respect to Scintilla Pharmaceuticals,
Inc.

        11.     Schedule D (Sorrento Only). To the best of Sorrento’s knowledge, all claims listed
on Schedule D arose, or were incurred, before the Petition Date. Except as otherwise agreed
pursuant to a stipulation, agreed order or general order entered by the Bankruptcy Court that is or
becomes final, the Debtors and/or their estates reserve their right to dispute or challenge the
validity, perfection or immunity from avoidance of any lien purported to be granted or perfected
in any specific asset to a creditor listed on Sorrento’s Schedule D. Sorrento scheduled claims of
certain creditors as secured claims for informational purposes only, and no current valuation of
Sorrento’s assets in which such creditors may have a lien has been undertaken. Sorrento reserves



                                                  8
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 9 of 57




all rights to dispute or challenge the secured nature of any creditor’s claim or the characterization
of the structure of any transaction or any document or instrument related to a creditor’s claim. Any
changes to the status of any liens or security rights since the Petition Date may not be adequately
reflected in Schedule D. Therefore, Sorrento may have listed claims with secured status that have
changed, or failed to list certain parties whose claims may be secured through rights of setoff,
deposits or advance payments posted by, or on behalf of, Sorrento, or judgment or statutory lien
rights on Schedule D. Certain claims listed on Schedule D may be subject to setoff rights. The
Debtors have not investigated which of the claims may include such rights, and their population is
currently unknown.

        12.     Schedules E/F, Part 1 (Sorrento Only). Sorrento has not listed any wage or wage-
related obligations that it granted authority to pay pursuant to a Bankruptcy Court order [Docket
No. 37] on Schedule E/F. Sorrento believes that all such claims for wages, salaries, expenses,
benefits and other compensation as described in the first-day orders have been or will be satisfied
in the ordinary course during these chapter 11 cases pursuant to the authority granted to the Debtors
in the relevant first-day orders.

       13.     Schedules E/F, Part 2 (Debtors). Scintilla has been dormant for over
approximately four years. Statutory representation invoices would be covered by Sorrento and
included in Sorrento’s accounts payable.

       Certain creditors may assert mechanics’, materialmen’s, or other similar liens against
Sorrento for amounts listed on Schedule E/F, with respect to which Sorrento reserves all rights.

        Sorrento reserves its right to dispute or challenge the validity, perfection or immunity from
avoidance of any lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor.
In addition, Sorrento reserves its right to dispute or challenge any priority asserted with respect to
any liabilities listed on Schedule E/F. Sorrento has made reasonable efforts to include all trade
creditors on Schedule E/F. However, Sorrento believes there are instances where vendors have yet
to provide proper invoices for prepetition goods or services. While Sorrento maintains general
accruals to account for these liabilities in accordance with GAAP, these amounts are estimates and
therefore have not been included on Schedule E/F.

       Sorrento's accounting system tracks vendors by vendor number. There are instances where
the same vendor has multiple vendor numbers. However, instances may exist where not all such
claims have been identified and Sorrento may have separately listed potentially duplicative claims
of such vendors under multiple vendor numbers.

       Unless otherwise noted, the claims listed on Schedule E/F are based on the Debtors’ books
and records as of the Petition Date. Payments may have been made to certain vendors under
applicable first-day orders. To the extent that any such payments have been made, the amounts
paid have been applied to reduce the amount of the claim. To the extent claims were waived, they
were excluded from Schedule E/F. These waived claims that were excluded include Latham &
Watkins LLP’s approximately $3.6 million claim and Ernst & Young U.S. LLP’s approximately
$600,000 claim.




                                                  9
      Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 10 of 57




       Schedule E/F also contains information regarding pending litigation involving Sorrento.
The amounts for these potential claims are listed as undetermined and marked as contingent,
unliquidated and disputed in this Schedule.

        Schedule E/F includes the aggregate net intercompany payable as of February 12, 2023
amounts that may or may not result in allowed or enforceable claims by or against a legal entity.
Listing these payables is not an admission on the part of Sorrento that the intercompany claims are
enforceable or collectible. The intercompany payables may be subject to set off, recoupment,
netting or other adjustments made pursuant to intercompany arrangements not reflected in the
Schedules.

        14.     Schedule G (Sorrento Only). Although reasonable efforts have been made to
ensure the accuracy of Schedule G regarding executory contracts and unexpired leases
(collectively the “Agreements”), review is ongoing and inadvertent errors, omissions or over-
inclusion may have occurred. Sorrento may have entered into certain types of Agreements in the
ordinary course of their businesses, such as indemnity agreements, non-executory supplemental
agreements, amendments/letter agreements, and confidentiality agreements, which may not be set
forth in Schedule G.

        Sorrento has not listed all such short-term purchase orders because of their large number
and transitory nature. Omission of a contract or agreement from Schedule G does not constitute an
admission that such omitted contract or agreement is not an executory contract or unexpired lease.
Schedule G may be amended at any time to add any omitted Agreements. Likewise, the listing of
an Agreement on Schedule G does not constitute an admission that such Agreement is an executory
contract or unexpired lease or that such Agreement was in effect on the Petition Date or is valid or
enforceable. The Agreements listed on Schedule G may have expired or may have been renewed,
modified, amended, or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters and other documents, instruments and agreements, which may
not be listed on Schedule G. Executory agreements that are oral in nature have not been included
in Schedule G.

         Any and all of Sorrento’s rights, claims and causes of action with respect to the Agreements
listed on Schedule G are hereby reserved and preserved, including, but not limited to, Sorrento’s
rights to (i) dispute the validity, status, or enforceability of any Agreements set forth on Schedule
G, (ii) dispute or challenge the characterization of the structure of any transaction, or any document
or instrument related to a creditor’s claim, including, but not limited to, the Agreements listed on
Schedule G and (iii) to amend or supplement Schedule G as necessary.



                                      [Specific Notes Follow]




                                                 10
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 11 of 57




                       SPECIFIC NOTES WITH RESPECT TO
                 THE DEBTORS’ STATEMENT OF FINANCIAL AFFAIRS

      1.     SOFA 1 and SOFA 2 (Sorrento Only). The Debtors’ fiscal year ends on
December 31st. SOFA 2 includes the interest payment Sorrento received from Scilex
Pharmaceuticals, Inc. for intercompany loans executed in 2021 and 2022.

        2.     SOFA 3 (Sorrento Only). As described and defined in the cash management
motion [Docket No. 28], the Debtors utilize an integrated, centralized cash management system,
in the ordinary course of business, to collect, transfer and disburse funds. Sorrento maintains a
consolidated accounts payable and disbursements system to pay operating and administrative
expenses through various disbursement accounts. The obligations of the Debtors are primarily paid
by and through Sorrento Therapeutics, Inc., notwithstanding that certain obligations may be
obligations of one or more of the Debtors.

        Payment data was extracted from NetSuite for multiple bank accounts that Sorrento makes
payments out of. The payments disclosed in SOFA 3 are based on payments made by the Debtors
with payment dates from November 15, 2022 through February 12, 2023. Amounts still owed to
creditors will appear on the Schedules of Assets and Liabilities for Sorrento, as applicable.

        3.       SOFA 4 (Sorrento Only). For purposes of the Schedules and Statements, Sorrento
defines insiders as individuals that, based upon the totality of circumstances, have a controlling
interest in, or exercise sufficient control over, the respective Debtor so as to unqualifiedly dictate
corporate policy and the disposition of assets.

        Individuals listed in Sorrento’s Statements as insiders have been included for informational
purposes only. The Debtors do not take any position with respect to (i) such individual’s influence
over the control of the Debtors; (ii) the management responsibilities or functions of such
individual; (iii) the decision making or corporate authority of such individual; or (iv) whether such
individual could successfully argue that he or she is not an insider under applicable law, including,
without limitation, the federal securities laws, or with respect to any theories of liability or for any
other purpose. As such, the Debtors reserve all rights to dispute whether someone identified is in
fact an “insider” as defined in section 101(31) of the Bankruptcy Code. For more information
regarding each Debtor’s officers and directors, please see SOFA 28 and SOFA 29.

       The payroll-related gross amounts shown in Sorrento’s response to this question include
salary, employer 401K contribution, bonus or additional compensation, and/or board
compensation.

        Sorrento also included intercompany transfers, Scilex share dividend and payment for
acquisition in the amounts shown.

       4.     SOFA 7 (Sorrento Only). The actions described in response to SOFA 7 are the
responsive proceedings or pending proceedings of which Sorrento is aware. The actions described
in SOFA 7 include, but are not limited to, securities/commodities; breach of a non-disclosure
agreement and trade secret misappropriation; breach of contract, breach of implied covenant of



                                                  11
       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 12 of 57




good faith and fair dealing, fraud in the inducement, negligent misrepresentation, unjust
enrichment, promissory estoppel, money had and received, tortious interference with contract,
violation of California Uniform Trade Secrets Act; breach of fiduciary duty/duty of loyalty,
tortious interference with prospective economic advantage, and aiding and abetting, common law
fraud, wrongful termination; derivative action for breach of contract.

        Sorrento reserves all of its rights and defenses with respect to all listed lawsuits and
administrative proceedings. The listing of any such suits and proceedings shall not constitute an
admission by Sorrento of any liabilities or that the actions or proceedings were correctly filed
against Sorrento or any affiliates of Sorrento. Sorrento also reserves its rights to assert that neither
Sorrento nor any affiliate of Sorrento is an appropriate party to such actions or proceedings.

       5.     SOFA 9 (Sorrento Only). The donations and/or charitable contributions listed in
response to SOFA 9 represent payments made to third parties during the applicable timeframe that
were recorded as such within Sorrento’s books and records.

        6.     SOFA 11 (Debtors). All payments for services of any entities that provided
consultation concerning debt counseling or restructuring services, relief under the Bankruptcy
Code, or preparation of a petition in bankruptcy within one year immediately preceding the
Commencement Date were made by Sorrento Therapeutics, Inc. and are, therefore, listed on
Sorrento’s response to SOFA 11. Additional information regarding Sorrento’s retention of
professional service firms is more fully described in individual retention applications and related
orders.

       7.       SOFA 20 (Sorrento Only). Sorrento utilizes Iron Mountain Storage Facilities
(“Iron Mountain”) to retain records. Sorrento also utilizes other off-premise storage locations
including Elite Relocation for bioreactor and imaging equipment; Extra Space for computer
hardware, incubators, interior construction materials, lab equipment, safety equipment, laboratory
glassware/equipment, refrigerators; Microsoft Azure – US West Region for commercial cloud-
based virtual server; public storage for laboratory and process equipment; and Wasabi – US West
Region for commercial cloud-based electronic data storage.

        8.     SOFA 26 (Debtors). The Debtors do not prepare stand-alone financial statements
and therefore do not provide stand-alone financial statements to creditors or constituents. As
mentioned under the basis of presentation above, the Debtors generally prepare consolidated
financial statements which include financial information for Sorrento and its subsidiaries,
including both Debtors and certain non-debtor affiliates in Form 8-K, Form 10-Q, and Form 10-
K. The consolidated financial information for Sorrento is posted on Sorrento’s website at
www.sorrentotherapeutics.com.

        9.     SOFA 27 (Sorrento Only). Sorrento has materials and supplies at various
locations. No physical counts have occurred to verify quantity on hand. The net book value of
these materials is zero and the current value is unknown. The materials are used in drug production
for research and development purposes and expensed to research and development.




                                                  12
      Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 13 of 57




        10.     SOFA 29 (Sorrento Only). The disclosures relate specifically to terminated job
titles or positions and are not indicative of the individuals’ current employment status with
Sorrento. For each entity, Sorrento has included the individuals who, during the applicable period,
were identified as directors and officers of such entity in Sorrento’s recordkeeping systems.

       11.     SOFA 30 (Sorrento Only). Any and all known disbursements to insiders of
Sorrento, as defined above, have been listed in the response to SOFA 4.




                                                13
             Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 14 of 57




                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    SORRENTO THERAPEUTICS, INC., et al.1                            )     Case No. 23-90085 (DRJ)
                                                                    )
                                       Debtors.                     )     (Jointly Administered)
                                                                    )

                SECOND AMENDED STATEMENT OF FINANCIAL AFFAIRS FOR
                   SORRENTO THERAPEUTICS, INC. (CASE NO. 23-90085)




1
      The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
      Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.
                            Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 15 of 57

  Fill in this information to identify the case:

  Debtor name: Sorrento Therapeutics, Inc.

  United States Bankruptcy Court for the: Southern District of Texas, Houston Division
                                                                                                                                                    Check if this is an
  Case number: 23-90085
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be        Sources of revenue                                      Gross revenue
 a calendar year                                                                          Check all that apply                                    (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date                 Operating a business                                            $43,427.10
the fiscal year to filing       1/1/2023
date:                                                                                        Other




For prior year:                 From                      to                                 Operating a business                                       $28,199,445.05
                                1/1/2022                  12/31/2022
                                                                                             Other




For the year before that:       From                      to                                 Operating a business                                         $2,330,235.90
                                1/1/2021                  12/31/2021
                                                                                             Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                          Description of sources of revenue                       Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date             Interest income                                                         $28.55
the fiscal year to filing      1/1/2023
date:

For prior year:                From                       to                             Interest payment from intercompany loans                         $5,349,837.47
                               1/1/2022                   12/31/2022


For the year before that:      From                       to                             Interest payment from intercompany loans                         $3,553,689.58
                               1/1/2021                   12/31/2021
Debtor    Sorrento Therapeutics, Inc.______________________________________________                  Case number (if known) 23-90085________________________________________
          Name
                              Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 16 of 57
  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                          Total amount or value          Reasons for payment or transfer
                                                                                                                              Check all that apply

  3.1
                                                               11/15/2022 – 2/12/2023                $30,643,757.70               Secured debt
            See SOFA 3 Attachment
                                                                                                                                  Unsecured loan repayments

                                                                                                                                  Suppliers or vendors

                                                                                                                                  Services

                                                                                                                                  Other

                                                                                                                             Intercompany transfers and payroll compensation

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                          Total amount or value          Reasons for payment or transfer

  4.1
                                                               2/14/2022 – 2/12/2023              $152,306,645.60                 Secured debt
            See SOFA 4 Attachment
                                                                                                                                  Unsecured loan repayments
            Relationship to debtor
                                                                                                                                  Suppliers or vendors

                                                                                                                                  Services

                                                                                                                                  Other

                                                                    Board compensation, bonus, employer 401k contribution, employer HSA contribution, expense reimbursement,
                                                                    funding to subsidiaries, gross salary, intercompany service agreement, Scilex share dividend, payment for acquisition

  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                   Date                            Value of property


  5.1
Debtor    Sorrento Therapeutics, Inc.______________________________________________                       Case number (if known) 23-90085________________________________________
          Name
                             Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 17 of 57
  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                         Date action was taken       Amount

  6.1


                                                               Last 4 digits of account number

  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                   Nature of case                                   Court or agency’s name and address                         Status of case

  7.1
            Name                               Various                                           Name                                                          Pending
            See SOFA 7 Attachment                                                                Various
                                                                                                                                                               On appeal
            Case number                                                                          Street                                                        Concluded
            Multiple
                                                                                                 City                                 State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                     Value

  8.1
            Custodian's name and address

                                                               Case title                                                      Court name and address
            Street                                                                                                             Name

                                                               Case number
            City                     State     Zip                                                                             Street

                                                               Date of order or assignment
                                                                                                                               City                            State       Zip
Debtor    Sorrento Therapeutics, Inc.______________________________________________                  Case number (if known) 23-90085________________________________________
          Name
                               Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 18 of 57
  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                    Value

  9.1
            Recipient's name                                   Cash Donation                                                3/3/2022                                    $5,000.00
            American Friends of International China
            Concern

            Street
            4500 Macarthur Blvd

            City                        State    Zip
            Newport Beach               CA       92660

            Recipient’s relationship to debtor
            None

  9.2
            Recipient's name                                   Cash Donation                                                5/4/2022                                    $5,000.00
            Federation of American Societies for
            Experimental Biology dba FASEB

            Street
            6120 Executive Blvd, Suite 230

            City                        State    Zip
            Rockville                   MD       20858
            Recipient’s relationship to debtor
            None


  9.3
            Recipient's name                                   Cash Donation                                                10/14/2021                                 $25,000.00
            Pacific Arts Movement
            Street
            2508 Historic Decatur Rd, Suite 140

            City                        State    Zip
            San Diego                   CA       92106

            Recipient’s relationship to debtor
            None

  9.4
            Recipient's name                                   Cash Donation                                                9/16/2022                                  $25,000.00
            Pacific Arts Movement

            Street
            2508 Historic Decatur Rd, Suite 140
            City                        State    Zip
            San Diego                   CA       92106

            Recipient’s relationship to debtor
            None
Debtor    Sorrento Therapeutics, Inc.______________________________________________                    Case number (if known) 23-90085________________________________________
          Name
                               Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 19 of 57

  9.5
            Recipient's name                                   Cash Donation                                                2/22/2021                              $25,000.00
            Species360

            Street
            7900 International Drive, Ste 1040

            City                        State      Zip
            Minneapolis                 MN         55425

            Recipient’s relationship to debtor
            None

  9.6
            Recipient's name                                   Cash Donation                                                4/29/2022                              $15,000.00
            U.S. Mexico Border Philanthropy Partnership
            for Bio International Convention 2022
            Street
            2508 Historic Decatur Rd, Suite 130

            City                        State      Zip
            San Diego                   CA         92106
            Recipient’s relationship to debtor
            None

  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                     Date of loss                Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).

  10.1



  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred              Dates                       Total amount or value

  11.1
                                                                                                                            2/10/2023                             $250,000.00
            Jackson Walker LLP
            1401 McKinney, Suite 1900
            Houston, TX 77010

            Email or website address
            https://www.jw.com/
            Who made the payment, if not debtor?
Debtor    Sorrento Therapeutics, Inc.______________________________________________                 Case number (if known) 23-90085________________________________________
          Name
                              Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 20 of 57

  11.2
                                                                                                                           2/10/2023                                $250,000.00
            M3 Advisory Partners, LP
            1700 Broadway, 19th Floor
            New York, NY 10019



            Email or website address
            https://m3-partners.com/

            Who made the payment, if not debtor?



  11.3
                                                                                                                           2/10/2023                              $1,000,000.00
            Latham & Watkins LLP
            330 North Wabash Avenue, Suite 2800
            Chicago, IL 60611

            Email or website address
            https://www.lw.com/

            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were          Total amount or value
                                                                                                                            made

  12.1


            Trustee



  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was             Total amount or value
                                                               received or debts paid in exchange                           made

  13.1


            Relationship to debtor
Debtor     Sorrento Therapeutics, Inc.______________________________________________                        Case number (if known) 23-90085________________________________________
           Name
                                Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 21 of 57
  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
             Street                                                                                                  From                              to


               City                                                 State             Zip



  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
             Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                   Electronically

                                                                                                                                                                   Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.     Sorrento may collect and/or retain personally identifiable information such as
                                                                              names, mailing addresses, email addresses and/or phone numbers in connection
                                                                              with its clinical trials or patient laboratory services. Sorrento may also collect and/or
                                                                              retain user provided personal information, automatically collected online activity
                                                                              and device information in connection with its website.
                  Does the debtor have a privacy policy about that information?
                      No

                      Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                      Yes. Fill in below:
Debtor    Sorrento Therapeutics, Inc.______________________________________________                 Case number (if known) 23-90085________________________________________
          Name
                              Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 22 of 57

  Name of plan                                                                               Employer identification number of the plan
  Voya Sorrento Therapeutics, Inc.                                                           551501

  Has the plan been terminated?
         No

         Yes


  Name of plan                                                                               Employer identification number of the plan
  John Hancock - Sorrento Therapeutics, Inc. 401(k) Plan                                     12506

  Has the plan been terminated?
         No

         Yes

  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4         Type of account               Date account was               Last balance before
                                                                               digits of                                    closed, sold, moved, or        closing or transfer
                                                                               account                                      transferred
                                                                               number

  18.1
              Name                                                           2661                Checking                  12/1/2022                                       $0.22
              Alliance Global Partners
                                                                                                 Savings
              Street
              590 Madison Ave 28th Floor                                                         Money market
               City                           State       Zip                                    Brokerage
               New York                       NY          10022
                                                                                                  Other




  18.2
              Name                                                           4413                Checking                  11/14/2022                                      $3.28
              Alliance Global Partners
                                                                                                 Savings
              Street
              590 Madison Ave 28th Floor                                                         Money market
               City                           State       Zip                                    Brokerage
               New York                       NY          10022
                                                                                                  Other
Debtor    Sorrento Therapeutics, Inc.______________________________________________                  Case number (if known) 23-90085________________________________________
          Name
                               Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 23 of 57
  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                      Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  19.1
            Name                                                                                                                                              No
                                                               Address
                                                                                                                                                              Yes
            Street


            City                     State     Zip



  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                    Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
            Name                                               Ed Israels, Troy Gardner                      Bioreactor and Imaging equipment                 No
            Elite Relocation
                                                               Address
                                                                                                                                                              Yes
            Street                                             4955 Directors Pl, San Diego, CA 92121
            13691 Danielson St
            City                     State     Zip
            Poway                    CA        92064


  20.2
            Name                                               Michael Williams, Mike Namo                   Interior construction materials, lab             No
            Extra Space                                                                                      equipment, computer hardware, safety
                                                               Address
                                                                                                             equipment                                        Yes
            Street                                             9380 Judicial Dr, San Diego, CA 92121
            6360 Miramar Rd, Unit 5-25

            City                     State     Zip
            San Diego                CA


  20.3
            Name                                               Michael Williams, Mike Namo                   Interior construction materials, lab             No
            Extra Space                                                                                      equipment, computer hardware, safety
                                                               Address
                                                                                                             equipment                                        Yes
            Street                                             9380 Judicial Dr, San Diego, CA 92121
            6360 Miramar Rd, Unit 5-26

            City                     State     Zip
            San Diego                CA        92121


  20.4
            Name                                               Michael Williams, Mike Namo                   Refrigerators, incubators, lab equipment         No
            Extra Space
                                                               Address
                                                                                                                                                              Yes
            Street                                             9380 Judicial Dr, San Diego, CA 92121
            6360 Miramar Rd, Unit 8-2

            City                     State     Zip
            San Diego                CA        92121
Debtor    Sorrento Therapeutics, Inc.______________________________________________             Case number (if known) 23-90085________________________________________
          Name
                             Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 24 of 57

  20.5
            Name                                          Ed Israels                                  Laboratory glassware/equipment                No
            Extra Space
                                                          Address
                                                                                                                                                    Yes
            Street                                        4955 Directors Pl, San Diego, CA 92121
            6360 Miramar Rd, Unit 6-11 (subunits 110,
            111, 112)
            City                      State    Zip
            San Diego                 CA

  20.6
            Name                                          Janie Shi, Samantha Arizmendez, Korina      Commercial Secure Document Storage            No
            Iron Mountain Secure Storage                  Mariano, Claudia Ashdown
                                                                                                                                                    Yes
            Street                                        Address
            1 Federal St                                  4955 Directors Pl, San Diego, CA 92121
            City                      State    Zip
            Boston                    MA       02110


  20.7
            Name                                          Janie Shi, Samantha Arizmendez, Korina      Commercial Secure Document Storage            No
            Iron Mountain Secure Storage                  Mariano, Claudia Ashdown
                                                                                                                                                    Yes
            Street                                        Address
            1 Federal St                                  9380 Judicial Dr, San Diego, CA 92121
            City                      State    Zip
            Boston                    MA       02110

  20.8
            Name                                          Ryan Tang                                   Commercial Cloud-based Virtual Server         No
            Microsoft Azure - US West Region
                                                          Address
                                                                                                                                                    Yes
            Street                                        4955 Directors Pl, San Diego, 92121
            One Microsoft Way
            City                      State    Zip
            Redmond                   WA       98052


  20.9
            Name                                          Russell Ross                                Laboratory and Process Equipment              No
            Public Storage
                                                          Address
                                                                                                                                                    Yes
            Street                                        8601 Dunwoody Pl, Ste 580, Atlanta, GA
            475 Horton Drive, Unit 419                    30350
            City                      State    Zip
            Roswell                   GA       30075

  20.10
            Name                                          Ryan Tang                                   Commercial Cloud-based Electronic             No
            Wasabi - US West Region                                                                   Data Storage
                                                          Address
                                                                                                                                                    Yes
            Street                                        4955 Directors Pl, San Diego, CA 92121
            111 Huntington Ave, Suite 2860
            City                      State    Zip
            Boston                    MA       02199
Debtor    Sorrento Therapeutics, Inc.______________________________________________                                Case number (if known) 23-90085________________________________________
          Name
                                 Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 25 of 57
  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1



  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.

   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded

                                                        City                                   State      Zip



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    Sorrento Therapeutics, Inc.______________________________________________                Case number (if known) 23-90085________________________________________
          Name
                               Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 26 of 57
  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                           Governmental unit name and address                      Environmental law, if known                  Date of notice

  24.1
              Name                                 Name


              Street                               Street


              City             State   Zip         City                          State     Zip



  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                    Describe the nature of the business                       Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                               Various                                                    EIN        Various
              See SOFA 25 Attachment
                                                                                                                          Dates business existed
                                                                                                                          From                         to
                                                                                                                          Various                      Various

  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                          From                         to
              Elizabeth Czerepak - CFO                                                                                    5/18/2022                    Present
              4955 Directors Place
              San Diego, CA 92121



  26a.2
                                                                                                                          From                         to
              Confidential Party 30 - Controller                                                                          2/7/2022                     4/7/2023
              4955 Directors Place
              San Diego, CA 92121


  26a.3
                                                                                                                          From                         to
              Najjam Asghar - CFO                                                                                         6/25/2019                    1/7/2022
              4955 Directors Place
              San Diego, CA 92121
Debtor    Sorrento Therapeutics, Inc.______________________________________________                  Case number (if known) 23-90085________________________________________
          Name
                              Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 27 of 57
  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                         Dates of service

  26b.1
                                                                                                                           From                          to
              Ernst & Young                                                                                                6/26/2020                     Present
              4365 Executive Drive, Suite 1600
              San Diego, CA 92121


  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                         If any books of account and records are unavailable,
                                                                                                                            explain why

  26c.1

              Elizabeth Czerepak - CFO
              4955 Directors Place
              San Diego, CA 92121


  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1

              See Global Notes


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                             Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                            basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                          Position and nature of any interest           % of interest, if any

  28.1
                                                                                            Director
              Jaisim Shah (Inform LLC)
              4955 Directors Place
              San Diego, CA 92121



  28.2
                                                                                            Director
              Kim Janda
              4955 Directors Place
              San Diego, CA 92121


  28.3
                                                                                            Director
              Yue Alexander Wu
              4955 Directors Place
              San Diego, CA 92121
Debtor    Sorrento Therapeutics, Inc.______________________________________________                 Case number (if known) 23-90085________________________________________
          Name
                                Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 28 of 57

  28.4
                                                                                            Director
              Dorman Followwill
              4955 Directors Place
              San Diego, CA 92121


  28.5
                                                                                            Director
              David Lemus (Lemax LLC)
              4955 Directors Place
              San Diego, CA 92121


  28.6
                                                                                            Director
              Tammy Reilly
              4955 Directors Place
              San Diego, CA 92121



  28.7
                                                                                            Chairman of the Board, CEO, President
              Henry Ji
              4955 Directors Place
              San Diego, CA 92121


  28.8
                                                                                            CFO
              Elizabeth Czerepak
              4955 Directors Place
              San Diego, CA 92121


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                          Position and nature of any interest           Period during which position or
                                                                                                                                           interest was held

  29.1
                                                                                            Various                                       From                  to
              See SOFA 29 Attachment                                                                                                      Various               Various


  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1
                                                                                           $152,306,645.60                 Various                       Various
              Refer to SOFA 4 Attachment


   Relationship To Debtor

           Various
Debtor    Sorrento Therapeutics, Inc.______________________________________________             Case number (if known) 23-90085________________________________________
          Name
                                Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 29 of 57
  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                       Employer Identification number of the parent
                                                                                                                        corporation

  31.1
                                                                                                                      EIN

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                             Employer Identification number of the pension fund

  32.1
           Voya - Sorrento Therapeutics, Inc.                                                                         EIN         551501

  32.2
           John Hancock - Sorrento Therapeutics, Inc. 401(k) Plan                                                     EIN         12506
                                                           Case 23-90085 Document 900 SOFA
                                                                                       Filed     in TXSB on 06/16/23 Page 30 of 57
                                                                                           3 ATTACHMENT
                                                                                               Certain payments or transfers to creditors within 90 days before filing this case




   ID                            Creditor's Name                                          Address 1                             Address 2           Address 3           City         State     ZIP       Country    Payment Date      Payment Amount Reason for Payment or Transfer
 2.001 Abcam Inc.                                                  152 Grove Street                                                                              Waltham             MA    02453                     11/17/2022               $5,300.26 Vendors
 2.002 Abcam Inc.                                                  152 Grove Street                                                                              Waltham             MA    02453                     12/15/2022                 $603.41 Vendors
 2.003 Abcam Inc.                                                  152 Grove Street                                                                              Waltham             MA    02453                       1/5/2023                 $258.60 Vendors
 2.004 Abnova Taiwan Corporation                                   9F, No. 108                                             Jhouzih St             Neihu District Taipei                    114          Taiwan        1/13/2023               $1,062.00 Vendors; wire
 2.005 Access Biologicals,LLC                                      995 Park Center Drive                                                                         Vista               CA    92081                      12/8/2022               $3,697.44 Vendors
 2.006 Accurate Security Pros                                      9919 Hilbert Street Suite "D"                                                                 San Diego           CA    92131                     11/17/2022               $4,630.12 Vendors
 2.007 Accurate Security Pros                                      9919 Hilbert Street Suite "D"                                                                 San Diego           CA    92131                      12/1/2022               $1,114.15 Vendors
 2.008 Accurate Security Pros                                      9919 Hilbert Street Suite "D"                                                                 San Diego           CA    92131                      12/8/2022               $1,210.25 Vendors
 2.009 Accurate Security Pros                                      9919 Hilbert Street Suite "D"                                                                 San Diego           CA    92131                     12/15/2022               $1,157.93 Vendors
 2.010 Accurate Security Pros                                      9919 Hilbert Street Suite "D"                                                                 San Diego           CA    92131                     12/21/2022               $1,076.59 Vendors
 2.011 ACEA THERAPEUTICS (HK) LIMITED                                                                                                                                                                   China        12/21/2022           $1,000,000.00 Transfer to ACEA
 2.012 ACEA THERAPEUTICS INC                                                                                                                                                                                          12/21/22;           $2,600,000.00 Transfer to ACEA
                                                                                                                                                                                                                   12/23/22; 2/7/23
 2.013 ACM Medical Laboratory, Inc. dba ACM Global Laboratories    P.O. Box 26290                                                                                 Rochester          NY    14626                      12/8/2022               $2,248.20 Vendors
 2.014 ACM Medical Laboratory, Inc. dba ACM Global Laboratories    P.O. Box 26290                                                                                 Rochester          NY    14626                      1/11/2023               $3,517.07 Vendors
 2.015 Acrobiosystems Inc.                                         1 Innovation Way                                                                               Newark             DE    19711                     11/17/2022                 $847.56 Vendors
 2.016 Acrobiosystems Inc.                                         1 Innovation Way                                                                               Newark             DE    19711                      12/8/2022               $4,109.08 Vendors
 2.017 Acrobiosystems Inc.                                         1 Innovation Way                                                                               Newark             DE    19711                      1/11/2023                 $844.26 Vendors
 2.018 ACT - Advanced Chemical Transport Inc                       967 Mabury Road                                                                                San Jose           CA    95133-1025                 12/8/2022               $2,404.70 Vendors
 2.019 ACT - Advanced Chemical Transport Inc                       967 Mabury Road                                                                                San Jose           CA    95133-1025                12/15/2022              $12,639.07 Vendors
 2.020 ACT - Advanced Chemical Transport Inc                       967 Mabury Road                                                                                San Jose           CA    95133-1025                12/21/2022               $3,321.51 Vendors
 2.021 ACT - Advanced Chemical Transport Inc                       967 Mabury Road                                                                                San Jose           CA    95133-1025                  1/5/2023              $13,960.37 Vendors
 2.022 Acta Laboratories,Inc                                       27082 Burbank Street                                                                           Foothill Ranch     CA    92610-2508                11/17/2022                 $273.00 Vendors
 2.023 Acta Laboratories,Inc                                       27082 Burbank Street                                                                           Foothill Ranch     CA    92610-2508                12/15/2022               $3,802.00 Vendors
 2.024 Acta Laboratories,Inc                                       27082 Burbank Street                                                                           Foothill Ranch     CA    92610-2508                 1/11/2023               $4,458.00 Vendors
 2.025 Acta Laboratories,Inc                                       27082 Burbank Street                                                                           Foothill Ranch     CA    92610-2508                 1/24/2023                 $636.00 Vendors
 2.026 Active Motif                                                1914 Palomar Oaks Way, Suite 150                                                               Carlsbad           CA    92008                     12/21/2022                 $950.00 Vendors
 2.027 Adhesives Research, Inc                                     PO Box 6158                                                                                    Hermitage          PA    16148                      1/18/2023               $1,000.00 Vendors
 2.028 Adobe Inc.                                                  29322 Network Place                                                                            Chicago            IL    60673-1293                 1/5/2023                $4,080.00 Vendors
 2.029                                                             PO BOX 2000                                             Charlottetown,                         Prince Edward                         Canada        12/8/2022               $7,424.90 Vendors
       AffinityImmuno Inc
                                                                                                                                                                  Island C1A 7 7N8
 2.030 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                11/17/2022              $39,487.37 Vendors
 2.031 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                 12/1/2022               $1,997.68 Vendors
 2.032 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                 12/8/2022               $2,612.70 Vendors
 2.033 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                12/21/2022               $8,643.17 Vendors
 2.034 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                  1/5/2023               $1,641.30 Vendors
 2.035 Agilent Technologies, Inc.                                  PO Box 742108,                                                                                 Los Angeles        CA    90074-2108                 1/11/2023              $52,153.85 Vendors
 2.036 Agilex Biolabs                                              28 Dalgleish Street                                                                            THEBARTON                       5031 Australia      11/22/22;              $16,919.24 Vendors; wire
                                                                                                                                                                                     SA                            12/14/22; 2/1/23
 2.037 Ahmed M. Elgawabra                                          2405 Sardi Chase Court                                                                         Buford             GA    30519                      12/5/2022              $17,500.00 Vendors; wire
 2.038 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                11/17/2022               $2,607.66 Vendors
 2.039 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                 12/1/2022               $2,241.59 Vendors
 2.040 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                 12/8/2022               $1,202.85 Vendors
 2.041 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                12/15/2022               $1,202.28 Vendors
 2.042 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                12/21/2022               $2,466.14 Vendors
 2.043 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                  1/5/2023               $1,668.41 Vendors
 2.044 Airgas Dry Ice                                              P O Box 736148                                                                                 Dallas             TX    75373-6148                 1/11/2023               $1,206.57 Vendors
 2.045 Aldevron LLC                                                4055 41st Ave S                                                                                Fargo              ND    58104                      1/11/2023              $59,690.59 Vendors
 2.046 Aldevron LLC                                                4055 41st Ave S                                                                                Fargo              ND    58104                      12/8/2022                 $300.00 Vendors
 2.047 Aldevron Madison                                            4055 41st Ave. S.                                                                              Fargo              ND    58104                     12/15/2022              $10,692.50 Vendors
 2.048 Alexander Espalin dba Espalin Enterprises                   31 Conifer Park NE                                                                             Atlanta            GA    30342                     11/17/2022              $19,677.50 Vendors
 2.049 ALG Atlanta Metro LLC dba Unishippers                       P.O. Box 6990                                                                                  Metairie           LA    70009                     11/17/2022               $1,139.76 Vendors
 2.050 ALG Atlanta Metro LLC dba Unishippers                       P.O. Box 6990                                                                                  Metairie           LA    70009                     12/20/2022               $8,979.56 Vendors
 2.051 ALG Atlanta Metro LLC dba Unishippers                       P.O. Box 6990                                                                                  Metairie           LA    70009                      1/23/2023               $8,183.39 Vendors
 2.052 ALG Atlanta Metro LLC dba Unishippers                       P.O. Box 6990                                                                                  Metairie           LA    70009                      1/27/2023                 $630.86 Vendors
 2.053 Alpha Independent Review Board, Inc                         1001 Avenida Pico Suite C #497                                                                 San Clemente       CA    92673                     12/21/2022               $2,025.00 Vendors
 2.054 Alpha Independent Review Board, Inc                         1001 Avenida Pico Suite C #497                                                                 San Clemente       CA    92673                       12/8/22;               $1,625.00 Vendors
                                                                                                                                                                                                                       12/21/22
 2.055 Altium, Inc.                                                4225 Executive Square, Suite 800                                                               La Jolla           CA    92037                     11/17/2022               $5,325.00 Vendors
 2.056 Altona Diagnostics USA Inc                                  8120 Corporate Blvd                                                                            Plain City         OH    43064                       1/5/2023               $2,524.05 Vendors
 2.057 Amazon Capital Services, Inc.                               PO BOX 035184                                                                                  Seattle            WA    98124-5184                11/17/2022                 $513.85 Vendors
 2.058 Amazon Capital Services, Inc.                               PO BOX 035184                                                                                  Seattle            WA    98124-5184                11/17/2022               $1,171.46 Vendors
 2.059 Amazon Capital Services, Inc.                               PO BOX 035184                                                                                  Seattle            WA    98124-5184                12/20/2022                 $283.50 Vendors
 2.060 Amazon Capital Services, Inc.                               PO BOX 035184                                                                                  Seattle            WA    98124-5184                  1/6/2023                 $460.90 Vendors
 2.061 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                11/17/2022               $5,540.91 Vendors
 2.062 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                11/17/2022                 $165.04 Vendors
 2.063 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                11/30/2022                  $16.91 Vendors
 2.064 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                 12/8/2022               $1,507.80 Vendors
 2.065 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                12/15/2022                 $510.48 Vendors
 2.066 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                12/20/2022               $1,877.42 Vendors
 2.067 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                12/21/2022                 $540.16 Vendors
 2.068 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                12/22/2022               $4,859.06 Vendors
 2.069 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                  1/5/2023                  $97.21 Vendors
 2.070 Amazon Mktplace                                             PO Box 035184                                                                                  Seattle            WA    98124-5184                 1/11/2023                  $57.25 Vendors
 2.071 American Arbitration Association, Inc.                      45 E River PArk Place West                              suite 308                              Fresno             CA    93720                     12/12/2022              $15,000.00 Vendors; wire
 2.072 Analytical Chemical Labs Inc                                8222 Vickers St.,Suite110                                                                      San Diego          CA    92111                     12/15/2022                 $204.00 Vendors
 2.073 Anaspec Inc.                                                34801 Campus Drive                                                                             Fremont            CA    94555                     11/17/2022               $1,147.29 Vendors
 2.074 Anaspec Inc.                                                34801 Campus Drive                                                                             Fremont            CA    94555                      12/8/2022               $7,032.60 Vendors
 2.075 Anaspec Inc.                                                34801 Campus Drive                                                                             Fremont            CA    94555                     12/21/2022               $1,052.47 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                        Page 1 of 15
                                                         Case 23-90085 Document 900 SOFA
                                                                                     Filed     in TXSB on 06/16/23 Page 31 of 57
                                                                                         3 ATTACHMENT
                                                                                                Certain payments or transfers to creditors within 90 days before filing this case




   ID                                Creditor's Name                                   Address 1                          Address 2                  Address 3           City         State      ZIP        Country   Payment Date   Payment Amount Reason for Payment or Transfer
 2.076 Andrei Niconoff Salinas                                   Samani 39 MZ13 Jardines del Sur 3, Cancun, Quintana                                               Cancun                                  Mexico       12/13/22;             $900.00 Vendors; wire
                                                                 Roo                                                                                                                                                      1/31/23
 2.077 Confidential Party 1                                      Address on File                                                                                                                                         1/3/2023            $3,268.81 Terminated employee
 2.078 Angie Purvis, LLC                                         7664 Brook Forest Lane                                                                            Evergreen          CO      80439                    11/17/2022            $1,050.00 Vendors
 2.079 Animal Clinical Investigation, LLC                        4445 Willard Ave                                    6th Floor                                     Chevy Chase        MD      20815                    12/20/2022           $34,919.00 Vendors
 2.080 Confidential Party 2                                      Address on File                                                                                                                                         1/3/2023            $2,345.02 Terminated employee
 2.081 Antibodies-Online Inc.                                    PO BOX 5201                                                                                       LIMERICK           PA      19468                    12/21/2022             $521.09 Vendors
 2.082 Applikon Biotechnology Inc.                               733 N Pastoria Avenue                                                                             Sunnyvale          CA      94085                     12/8/2022              $765.81 Vendors
 2.083 Applikon Biotechnology Inc.                               733 N Pastoria Avenue                                                                             Sunnyvale          CA      94085                    12/15/2022           $35,832.94 Vendors
 2.084 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677               11/17/2022            $5,392.15 Vendors
 2.085 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677                12/1/2022            $7,029.56 Vendors
 2.086 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677                12/8/2022            $3,994.23 Vendors
 2.087 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677               12/15/2022            $1,004.12 Vendors
 2.088 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677               12/21/2022            $6,657.39 Vendors
 2.089 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677                 1/5/2023            $3,081.83 Vendors
 2.090 Aramark Refreshment Services Inc.                         PO Box 734677                                                                                     Dallas             TX      75373-4677                1/11/2023              $952.51 Vendors
 2.091 Argo Performance, Ltd.                                    307 Laurel Street                                                                                 San Diego          CA      92101                      1/5/2023            $3,262.50 Vendors
 2.092 Arkstone Medical solutions, LLC                           7000 West Palmetto Park RD, Suite 210                                                             Boca Raton ,       FL      33433                    11/17/2022              $375.00 Vendors
 2.093 Arkstone Medical solutions, LLC                           7000 West Palmetto Park RD, Suite 210                                                             Boca Raton ,       FL      33433                    12/22/2022              $375.00 Vendors
 2.094 Aseptic Technology SA                                     5032 Gembloux / Les Isnes                                                                                                               Belgium        1/13/2023            $2,684.75 Vendors; wire
 2.095 Association of California Water Agencies (ACWA)           980 9th Street Ste 1000                                                                           Sacramento         CA      95814                    11/15/2022            $2,250.00 Vendors
 2.096 Association of California Water Agencies (ACWA)           980 9th Street Ste 1000                                                                           Sacramento         CA      95814                    11/29/2022            $1,395.00 Vendors
 2.097 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025               11/16/2022             $722.73 Vendors
 2.098 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025               11/29/2022             $257.37 Vendors
 2.099 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025               12/21/2022             $808.59 Vendors
 2.100 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025               12/29/2022             $285.69 Vendors
 2.101 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025                1/18/2023             $808.59 Vendors
 2.102 AT&T                                                      PO Box 5025                                                                                       Carol Stream       IL      60197-5025                1/30/2023             $286.78 Vendors
 2.103 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                    11/17/2022           $11,743.50 Vendors
 2.104 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                     12/1/2022              $179.00 Vendors
 2.105 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                     12/8/2022              $409.40 Vendors
 2.106 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                    12/21/2022              $975.25 Vendors
 2.107 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                      1/5/2023              $628.00 Vendors
 2.108 ATCC - (American Type Culture Collection)                 PO BOX 716349                                                                                     PHILADELPHIA,      PA      19171                     1/11/2023            $1,319.00 Vendors
 2.109 Athens Digital Systems, Inc.                              8801 Macon Highway, Suite #7                                                                      Athens             GA      30606                     12/6/2022               $25.30 Vendors
 2.110 Athens Digital Systems, Inc.                              8801 Macon Highway, Suite #7                                                                      Athens             GA      30606                      1/5/2023                $8.55 Vendors
 2.111 Atlanta Biomedical Corporation                            305 Shawnee North Drive                             Suite 250                                     Suwanee            GA      30024                     1/11/2023           $10,312.09 Vendors
 2.112 AUCA Western First Aid & Safety                           P.O. Box 734514                                                                                   Dallas             TX      75373-4514               11/17/2022             $940.36 Vendors
 2.113 AUCA Western First Aid & Safety                           P.O. Box 734514                                                                                   Dallas             TX      75373-4514                12/8/2022            $1,012.22 Vendors
 2.114 AUCA Western First Aid & Safety                           P.O. Box 734514                                                                                   Dallas             TX      75373-4514               12/21/2022             $513.40 Vendors
 2.115 Automated Engineering Services, Inc.                      3520 Seagate Way, Suite 115                                                                       Oceanside          CA      92056                     12/8/2022            $5,656.25 Vendors
 2.116 Axiom Real-Time Metrics Inc.                              1 Cityview Drive                                                                                  Toronto            ON      M9W 1J1    Canada         11/21/22;          $206,621.72 Vendors; wire
                                                                                                                                                                                                                         12/9/22;
                                                                                                                                                                                                                        12/14/22;
                                                                                                                                                                                                                          1/18/23
 2.117 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                    11/17/2022           $13,191.23 Vendors
 2.118 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                     12/1/2022           $15,771.45 Vendors
 2.119 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                     12/8/2022            $2,225.60 Vendors
 2.120 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                    12/15/2022            $3,496.82 Vendors
 2.121 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                    12/21/2022            $9,180.04 Vendors
 2.122 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                      1/5/2023            $9,382.77 Vendors
 2.123 Azenta US, Inc.                                           Attn: Finance - AR                                         115 Corporate Blvd                     South Plainfield   NJ      07080                     1/11/2023            $5,752.66 Vendors
 2.124 Baker Botts L.L.P.                                        PO Box 301251                                                                                     Dallas             TX      75303-1251                12/1/2022              $278.00 Vendors
 2.125 Baker Botts L.L.P.                                        PO Box 301251                                                                                     Dallas             TX      75303-1251               12/21/2022           $23,901.50 Vendors
 2.126 Baker Botts L.L.P.                                        PO Box 301251                                                                                     Dallas             TX      75303-1251               12/22/2022           $14,601.00 Vendors
 2.127 Baker Botts L.L.P.                                        PO Box 301251                                                                                     Dallas             TX      75303-1251                1/12/2023           $45,806.00 Vendors
 2.128 Baker Botts L.L.P.                                        PO Box 301251                                                                                     Dallas             TX      75303-1251                1/24/2023          $100,817.60 Vendors
 2.129 BATJ Inc.                                                 6331 Nancy Ridge Dr.                                       Suite A                                San Diego          CA      92121                    11/17/2022             $296.00 Vendors
 2.130 BATJ Inc.                                                 6331 Nancy Ridge Dr.                                       Suite A                                San Diego          CA      92121                     12/8/2022             $134.00 Vendors
 2.131 BATJ Inc.                                                 6331 Nancy Ridge Dr.                                       Suite A                                San Diego          CA      92121                    12/21/2022               $99.40 Vendors
 2.132 BATJ Inc.                                                 6331 Nancy Ridge Dr.                                       Suite A                                San Diego          CA      92121                      1/5/2023               $60.00 Vendors
 2.133 BATJ Inc.                                                 6331 Nancy Ridge Dr.                                       Suite A                                San Diego          CA      92121                     1/11/2023             $286.00 Vendors
 2.134 Bay City Electric Works                                   13625 Danielson Street                                                                            Poway              CA      92064                    11/17/2022              $329.48 Vendors
 2.135 Beckhoff Automation LLC                                   13130 Dakota Avenue                                                                               Savage             MN      55378                     1/26/2023              $721.00 Vendors
 2.136 Beckman Coulter, Inc.                                     Dept CH 10164                                                                                     Palatine           IL      60055-0164               11/17/2022            $1,691.49 Vendors
 2.137 Beckman Coulter, Inc.                                     Dept CH 10164                                                                                     Palatine           IL      60055-0164                12/8/2022            $3,558.71 Vendors
 2.138 Beckman Coulter, Inc.                                     Dept CH 10164                                                                                     Palatine           IL      60055-0164               12/15/2022            $2,617.90 Vendors
 2.139 Beckman Coulter, Inc.                                     Dept CH 10164                                                                                     Palatine           IL      60055-0164                 1/5/2023           $13,956.62 Vendors
 2.140 Beckman Coulter, Inc.                                     Dept CH 10164                                                                                     Palatine           IL      60055-0164                1/11/2023              $255.52 Vendors
 2.141 Becton, Dickinson and Company                             PO Box 100921                                                                                     Pasadena           CA      91189-0921               11/17/2022              $309.99 Vendors
 2.142 Becton, Dickinson and Company                             PO Box 100921                                                                                     Pasadena           CA      91189-0921               12/21/2022              $464.18 Vendors
 2.143 Becton, Dickinson and Company                             PO Box 100921                                                                                     Pasadena           CA      91189-0921                1/11/2023            $1,284.38 Vendors
 2.144 Bereskin & Parr LLP                                       40 King St. West, 40th floor                                                                      Toronto            ON      M5H 3Y2    Canada         12/7/2022            $2,212.15 Vendors; wire
 2.145 Bethyl Laboratories, Inc.                                 P.O. Box 850                                                                                      Montgomery         TX      77356                    11/17/2022            $6,752.92 Vendors
 2.146 Bethyl Laboratories, Inc.                                 P.O. Box 850                                                                                      Montgomery         TX      77356                     12/8/2022              $193.95 Vendors
 2.147 Confidential Party 3                                      Address on File                                                                                                                                       12/22/2022            $1,743.07 Terminated employee
 2.148 Bio X Cell                                                39 Labombard Rd                                                                                   Lebanon            NH      03766                    12/20/2022            $5,667.65 Vendors
 2.149 Biocytogen Boston Corp                                    50D Audubon Rd                                                                                    Wakefield          MA      01880                    11/17/2022           $10,687.50 Vendors
 2.150 Bioinformatics Solutions Inc                              202-140 Columbia St. W.                                                                           Waterloo           ON      N2L 3K8      Canada      11/17/2022            $1,150.00 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                         Page 2 of 15
                                                           Case 23-90085 Document 900 SOFA
                                                                                       Filed     in TXSB on 06/16/23 Page 32 of 57
                                                                                           3 ATTACHMENT
                                                                                                            Certain payments or transfers to creditors within 90 days before filing this case




   ID                                 Creditor's Name                                             Address 1                                  Address 2           Address 3            City       State     ZIP      Country    Payment Date        Payment Amount Reason for Payment or Transfer
 2.151 BioIVT                                                                 P O Box 770                                                                                      Hicksville        NY    11802-0770                 1/11/2023                 $599.39 Vendors
 2.152 Biolatam Consulting LTDA                                               AV de Americas 1981 casa 76                               Barra de Tijuca                        Rio de Janeiro RJ       22631      Brazil          12/14/22;              $40,938.00 Vendors; wire
                                                                                                                                                                                                                                    1/18/23
 2.153 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                 11/17/2022               $24,928.52 Vendors
 2.154 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                 11/30/2022                $6,184.85 Vendors
 2.155 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                  12/1/2022                $2,958.05 Vendors
 2.156 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                  12/8/2022                $6,594.32 Vendors
 2.157 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                 12/15/2022                   $60.91 Vendors
 2.158 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                 12/21/2022               $18,077.91 Vendors
 2.159 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                   1/5/2023               $20,641.98 Vendors
 2.160 BioLegend Inc.                                                         P.O.Box 102100                                                                                   Pasadena         CA    91189-2100                  1/11/2023                $6,380.53 Vendors
 2.161 BioLife Solutions                                                      3303 Monte Villa Parkway, Suite 310                                                              Bothell          WA    98021                       12/1/2022                $5,638.44 Vendors
 2.162 bioMerieux, Inc                                                        PO Box 500308                                                                                    St. Louis        MO    63150-0308                 11/17/2022                $5,282.72 Vendors
 2.163 bioMerieux, Inc                                                        PO Box 500308                                                                                    St. Louis        MO    63150-0308                 12/21/2022               $10,356.58 Vendors
 2.164 Biomyx Inc.                                                            10054 Mesa Ridge Court                                    Suite 112                              San Diego        CA    92121                      11/17/2022                  $206.76 Vendors
 2.165 Biomyx Inc.                                                            10054 Mesa Ridge Court                                    Suite 112                              San Diego        CA    92121                       12/8/2022                   $55.95 Vendors
 2.166 Biomyx Inc.                                                            10054 Mesa Ridge Court                                    Suite 112                              San Diego        CA    92121                      12/21/2022                  $296.15 Vendors
 2.167 Biomyx Inc.                                                            10054 Mesa Ridge Court                                    Suite 112                              San Diego        CA    92121                        1/5/2023                   $55.95 Vendors
 2.168 Biomyx Inc.                                                            10054 Mesa Ridge Court                                    Suite 112                              San Diego        CA    92121                       1/11/2023                  $193.78 Vendors
 2.169 BIO-RAD Laboratories,Inc                                               PO Box 849740                                                                                    Los Angeles      CA    90084-9740                 11/17/2022               $15,249.41 Vendors
 2.170 BIO-RAD Laboratories,Inc                                               PO Box 849740                                                                                    Los Angeles      CA    90084-9740                  12/1/2022                $1,038.26 Vendors
 2.171 BIO-RAD Laboratories,Inc                                               PO Box 849740                                                                                    Los Angeles      CA    90084-9740                  12/8/2022                  $666.10 Vendors
 2.172 BIO-RAD Laboratories,Inc                                               PO Box 849740                                                                                    Los Angeles      CA    90084-9740                 12/21/2022                  $627.75 Vendors
 2.173 Bioserv                                                                                                                                                                                                                 12/1/22; 1/4/23;          $700,000.00 Transfer to Bioserv
                                                                                                                                                                                                                                2/1/23; 2/7/23
 2.174                                                                        1400 L St NW, Lobby 2, PO Box 3472                                                               Washington, DC   WA                                12/8/2022               $18,000.00 Vendors
         Biotechnology Innovation Organization
                                                                                                                                                                               20005-9997
 2.175 BioTimes Inc.                                                          15375 Barranca Pkwy H-106                                                                        Irvine           CA    92618                        1/31/2023                 $317.86 Vendors
 2.176 BlueCloud Communications                                               1420 Kettner Blvd Suite 100                                                                      Sand Diego       CA    92101                        12/9/2022                 $671.76 Vendors
 2.177 BlueCloud Communications                                               1420 Kettner Blvd Suite 100                                                                      Sand Diego       CA    92101                         1/6/2023                 $676.87 Vendors
 2.178 BlueCloud Communications                                               1420 Kettner Blvd Suite 100                                                                      Sand Diego       CA    92101                         2/6/2023                 $676.87 Vendors
 2.179 BlueEdge Consulting LLC                                                600 Eagleview Blvd                                        Suite 300                              Exton            PA    19341                        12/1/2022                  $61.14 Vendors
 2.180 Boster                                                                 3942 B Valley Ave.                                                                               Pleasanton       CA    94566                        1/24/2023                 $505.00 Vendors
 2.181 Brent Hetherington DBA Premedics Systems LLC                           555 Church St E Ste 202                                                                          Brentwood        TN    37027                        1/23/2023               $1,380.00 Vendors
 2.182 Brinkmann Instruments, Inc Dba Metrohm USA Inc.                        PO BOX 405562                                                                                    ATLANTA          GA    30384-5562                  11/21/2022                 $740.80 Vendors
 2.183 Brinkmann Instruments, Inc Dba Metrohm USA Inc.                        PO BOX 405562                                                                                    ATLANTA          GA    30384-5562                  11/29/2022                 $221.99 Vendors
 2.184 Brinkmann Instruments, Inc Dba Metrohm USA Inc.                        PO BOX 405562                                                                                    ATLANTA          GA    30384-5562                   1/25/2023               $1,827.79 Vendors
 2.185 Broadpharm                                                             6625 TOP GUN STREET                                       SUITE 103                              SAN DIEGO        CA    92121                        1/5/2023                 $208.18 Vendors
 2.186 Broadridge                                                             P.O. Box 416423                                                                                  Boston           MA    02241-6423                   1/24/2023             $117,764.72 Vendors
 2.187 Bum Hwi Park dba FINHAP LLC                                            5380 Peachtree Industrial Blvd. Ste. 200                                                         Norcross         GA    30071                         1/9/2023               $8,796.72 Vendors
 2.188 Bum Hwi Park dba FINHAP LLC                                            5380 Peachtree Industrial Blvd. Ste. 200                                                         Norcross         GA    30071                         2/1/2023               $2,199.18 Vendors
 2.189 California Department of Public Health                                 MS 7602                                                   P. O. Box 997435                       Sacramento       CA    95899-7435                  12/22/2022                  $15.00 Vendors
 2.190 California Department of Tax and Fee                                   Return Procesing Branch                                   P.O.Box 942879                         Scaramneto       CA    94279-6001                  11/16/2022               $1,419.59 Vendors
 2.191 California Department of Tax and Fee                                   Return Procesing Branch                                   P.O.Box 942879                         Scaramneto       CA    94279-6001                  12/19/2022                 $890.56 Vendors
 2.192 Cambridge Healthtech Publishing                                        250 First Ave, Ste 300                                                                           Needham          MA    2494                         1/18/2023               $4,648.00 Vendors
 2.193 Camino Santa Fe II Venture, LLC dba Camino Santa Fe II Property, LLC   PO BOX 780592                                                                                    Philadelphia     PA    19178-0592                   12/1/2022              $37,021.61 Vendors
 2.194 Camino Santa Fe II Venture, LLC dba Camino Santa Fe II Property, LLC   PO BOX 780592                                                                                    Philadelphia     PA    19178-0592                    1/1/2023              $36,311.67 Vendors
 2.195 Camino Santa Fe II Venture, LLC dba Camino Santa Fe II Property, LLC   PO BOX 780592                                                                                    Philadelphia     PA    19178-0592                    2/1/2023              $36,311.87 Vendors
 2.196 Central Intellectual Property & Law                                    Korean Bldg.5F, 68, Jong-ro 5 gil                                                                Jongno-gu              3151       Korea,            11/21/22;              $34,052.06 Vendors; wire
                                                                                                                                                                                                                 Republic of   12/9/22; 1/18/23;
                                                                                                                                                                                                                                     1/31/23
 2.197 CFGI Holdings,LLC dba Pine Hill Group, LLC and CFGI, LLC               PO Box 791561                                                                                    Baltimore        MD    21279                       12/22/2022              $54,317.99 Vendors
 2.198 Charles K Carter                                                       1345 Encinitas Blvd, #412                                                                        Encinitas        CA    92024                       12/14/2022               $7,260.12 Vendors
 2.199 Charles K Carter                                                       1345 Encinitas Blvd, #412                                                                        Encinitas        CA    92024                         1/5/2023               $7,260.12 Vendors
 2.200 Charles K Carter                                                       1345 Encinitas Blvd, #412                                                                        Encinitas        CA    92024                        1/18/2023               $7,260.12 Vendors
 2.201 Charles River Laboratories                                             GPO Box 27812                                                                                    New York         NY    10087-7812                  11/16/2022             $432,385.20 Vendors
 2.202 Charles River Laboratories                                             GPO Box 27812                                                                                    New York         NY    10087-7812                   1/5/2023               $18,499.75 Vendors
 2.203 Charles River Laboratories                                             GPO Box 27812                                                                                    New York         NY    10087-7812                   1/5/2023               $10,050.00 Vendors
 2.204 Charles River Laboratories Cell Solutions, Inc                         GPO Box 27812                                                                                    New York         NY    10087-7812                   1/5/2023                $4,257.63 Vendors
 2.205 Charles River Laboratories Cell Solutions, Inc                         GPO Box 27812                                                                                    New York         NY    10087-7812                  1/11/2023                $3,497.77 Vendors
 2.206 Chemglass Life Sciences                                                3800 N. Mill Road                                                                                Vineland         NJ    8360                        12/20/2022                 $122.96 Vendors
 2.207 ChemoMetec Inc                                                         PO BOX 392774                                                                                    Pittsburgh       PA    15251-9774                  12/14/2022                 $322.00 Vendors
 2.208 ChemoMetec Inc                                                         PO BOX 392774                                                                                    Pittsburgh       PA    15251-9774                  12/20/2022               $9,980.00 Vendors
 2.209 Confidential Party 4                                                   Address on File                                                                                                                                     11/17/2022                 $741.43 Terminated employee
 2.210 Chondrex, Inc                                                          16928 Woodinville Redmond Rd NE                           Suite B-101                            Woodinville      WA    98072                         1/6/2023               $2,853.00 Vendors
 2.211 Chondrex, Inc                                                          16928 Woodinville Redmond Rd NE                           Suite B-101                            Woodinville      WA    98072                        1/11/2023               $6,664.00 Vendors
 2.212 Cincinnati Test Systems                                                10100 Progress Way                                                                               Harrison         OH    45030                       12/20/2022               $4,610.00 Vendors
 2.213 Cintas Corporation                                                     P.O. Box 29059                                                                                   Phoenix          AZ    85038-9059                  11/17/2022                 $468.68 Vendors
 2.214 Cintas Corporation                                                     P.O. Box 29059                                                                                   Phoenix          AZ    85038-9059                  12/22/2022                 $202.16 Vendors
 2.215 Cintas Corporation                                                     P.O. Box 29059                                                                                   Phoenix          AZ    85038-9059                    1/5/2023                 $810.90 Vendors
 2.216 City of Norcross                                                       65 Lawrenceville St                                                                              Norcross         GA    30071                        12/7/2022                $624.90 Vendors
 2.217 City of Norcross                                                       65 Lawrenceville St                                                                              Norcross         GA    30071                         1/5/2023                $120.00 Vendors
 2.218 City of San Diego                                                      PO Box 129030                                                                                    San Diego        CA    92112-9030                  12/22/2022                 $651.00 Vendors
 2.219 City of San Diego                                                      PO Box 129030                                                                                    San Diego        CA    92112-9030                    2/8/2023               $1,313.50 Vendors
 2.220                                                                        Public Utilities Department                               Customer Care                          San Diego        CA    92112-9020                   12/5/2022               $1,050.99 Vendors
       City Treasurer
                                                                                                                                        Center
 2.221                                                                        Public Utilities Department                               Customer Care                          San Diego        CA    92112-9020                   1/9/2023                  $541.74 Vendors
         City Treasurer
                                                                                                                                        Center
 2.222 CMC Pharmaceuticals, Inc                                               30625 Solon Road Unit G                                                                          Solon            OH    44139                      12/15/2022               $56,184.83 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                     Page 3 of 15
                                                      Case 23-90085 Document 900 SOFA
                                                                                  Filed     in TXSB on 06/16/23 Page 33 of 57
                                                                                      3 ATTACHMENT
                                                                                          Certain payments or transfers to creditors within 90 days before filing this case




   ID                             Creditor's Name                                  Address 1                               Address 2           Address 3            City      State     ZIP        Country   Payment Date       Payment Amount Reason for Payment or Transfer
 2.223 CMC Pharmaceuticals, Inc                               30625 Solon Road Unit G                                                                        Solon            OH    44139                     12/20/2022              $47,675.05 Vendors
 2.224 Cogent Communications, Inc                             PO Box 791087                                                                                  Baltimore        MD    21279                     12/14/2022                $1,560.00 Vendors
 2.225 COLA, Inc.                                             9881 Broken Land Parkway, Suite 200                                                            Columbia         MD    21046                      1/18/2023                $1,966.00 Vendors
 2.226 Computer Packages INC.                                 11 N. Washington ST., Suite 300                                                                Rockville        MD    20850                      12/1/2022                 $591.00 Vendors
 2.227                                                        PO Box 3700                                                                                    Rancho           CA    91729-3700                11/16/2022                 $423.00 Vendors
       Concentra Medical Centers
                                                                                                                                                             Cucamonga
 2.228                                                        PO Box 3700                                                                                    Rancho           CA    91729-3700                  12/9/2022                 $964.50 Vendors
         Concentra Medical Centers
                                                                                                                                                             Cucamonga
 2.229                                                        PO Box 3700                                                                                    Rancho           CA    91729-3700                 12/14/2022                 $411.50 Vendors
         Concentra Medical Centers
                                                                                                                                                             Cucamonga
 2.230 Concortis                                                                                                                                                                                                11/17/22;             $500,000.00 Transfer to Concortis
                                                                                                                                                                                                                12/19/22;
                                                                                                                                                                                                                  1/18/23
 2.231 Concur Technologies Inc                                62157 Collections Center Drive                                                                 Chicago          IL    60693                        1/5/2023               $6,255.87 Vendors
 2.232 Confarma France SAS                                    ZI, rue du Canal d'Alsace                                                                      Hombourg         N/A   F-68490    France           12/9/2022               $4,674.61 Vendors; wire
 2.233 Consilio Holdings, Inc.                                1828 L St., NW                                          Suite 1070                             Washington       DC    20036                      12/22/2022              $25,383.80 Vendors
 2.234 CONTINENTAL STOCK TRANSFER & TRUST COMPANY             1 STATE ST, 30TH FL                                                                            New York         NY    10004                       1/23/2023              $12,500.00 Vendors; wire
 2.235 Controlled Contamination Services, LLC                 PO Box 790379                                                                                  St Louis         MO    63179-0379                  12/9/2022               $7,435.00 Vendors
 2.236 Controlled Environment Certification Services, Inc.    P O Box 644063                                                                                 PITTSBURGH       PA    15264-4063                 11/16/2022               $1,900.00 Vendors
 2.237 COOLEY LLP Scilex                                      3 Embarcadero Center, 20th Floor                                                               San Francisco    CA    94111-4004                  12/1/2022               $2,734.85 Vendors
 2.238 COOLEY LLP Scilex                                      3 Embarcadero Center, 20th Floor                                                               San Francisco    CA    94111-4004                  12/9/2022               $2,781.27 Vendors
 2.239 COOLEY LLP Scilex                                      3 Embarcadero Center, 20th Floor                                                               San Francisco    CA    94111-4004                 12/20/2022              $16,352.60 Vendors
 2.240 Cornerstone Research, Inc.                             699 Boylston Street                                                                            Boston           MA    02116                      11/15/2022             $180,522.39 Vendors
 2.241 CorpTax, Inc.                                          2100 E Lake Cook Road, Suite 800                                                               Buffalo Grove    IL    60089                        1/5/2023               $5,931.25 Vendors
 2.242 County of San Diego-Dept of Environmental Health       Dept.of Environmental Health                            P.O. Box 129261                        San Diego        CA    92112-9261                   2/2/2023               $4,325.00 Vendors
 2.243 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                 11/15/2022               $1,662.03 Vendors
 2.244 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                 11/16/2022               $1,025.00 Vendors
 2.245 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                  12/6/2022                 $512.39 Vendors
 2.246 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                 12/12/2022               $1,373.00 Vendors
 2.247 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                 12/16/2022               $1,025.00 Vendors
 2.248 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                 12/16/2022               $1,662.03 Vendors
 2.249 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                   1/5/2023                 $512.28 Vendors
 2.250 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                   1/9/2023               $1,373.00 Vendors
 2.251 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                  1/17/2023               $1,662.03 Vendors
 2.252 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                  1/17/2023               $1,025.00 Vendors
 2.253 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                   2/6/2023                 $501.65 Vendors
 2.254 Cox Communications San Diego                           P.O.Box 53214                                                                                  Phoenix          AZ    85072-3214                   2/9/2023               $1,373.00 Vendors
 2.255 CPAN INC                                               4847 Barlows Landing Cv.                                                                       San Diego        CA    92130                       12/9/2022              $55,000.00 Vendors
 2.256 CPAN INC                                               4847 Barlows Landing Cv.                                                                       San Diego        CA    92130                      12/14/2022              $37,975.00 Vendors
 2.257 Creative Biolabs Inc.                                  45-1 Ramsey Road                                                                               Shirley          NY    11967                       12/1/2022              $20,800.00 Vendors
 2.258 Cryoport Sytems Inc.                                   PO BOX 205955                                                                                  DALLAS           TX    75320-5955                 11/16/2022               $1,391.40 Vendors
 2.259 Cryoport Sytems Inc.                                   PO BOX 205955                                                                                  DALLAS           TX    75320-5955                 12/14/2022              $56,979.35 Vendors
 2.260 Cryoport Sytems Inc.                                   PO BOX 205955                                                                                  DALLAS           TX    75320-5955                 12/22/2022              $10,814.40 Vendors
 2.261 Cryoport Sytems Inc.                                   PO BOX 205955                                                                                  DALLAS           TX    75320-5955                   1/5/2023               $1,800.00 Vendors
 2.262 Cryoport Sytems Inc.                                   PO BOX 205955                                                                                  DALLAS           TX    75320-5955                   1/5/2023              $15,833.84 Vendors
 2.263 CS Disco, Inc                                          3700 N. Capital of Texas Highway                        Suite 150                              Austin           TX    78746                       12/1/2022               $6,000.88 Vendors
 2.264 CS Disco, Inc                                          3700 N. Capital of Texas Highway                        Suite 150                              Austin           TX    78746                      12/21/2022              $20,368.10 Vendors
 2.265 CS Disco, Inc                                          3700 N. Capital of Texas Highway                        Suite 150                              Austin           TX    78746                      12/22/2022              $26,080.77 Vendors
 2.266 CS Disco, Inc                                          3700 N. Capital of Texas Highway                        Suite 150                              Austin           TX    78746                       1/24/2023              $21,972.72 Vendors
 2.267 CSC Corporate Service Company                          P.O. Box 7410023                                                                               Chicago          IL    60674-5023                 11/15/2022               $1,377.95 Vendors
 2.268 Cube Biotech Inc                                       987 Old Eagle School Road, Ste 709                                                             Wayne            PA    19087                       12/9/2022               $7,926.80 Vendors
 2.269 Dassault Systemes Americas Corp                        PO BOX 415728                                                                                  Boston           MA    02241-5728                   1/5/2023                 $185.12 Vendors
 2.270 Dell Inc.                                              One Dell Way, Mail Stop 8129                                                                   RountRock        TX    78682                       12/1/2022                 $385.81 Vendors
 2.271 Dell Inc.                                              One Dell Way, Mail Stop 8129                                                                   RountRock        TX    78682                       12/9/2022              $23,846.38 Vendors
 2.272 Deloitte Tax LLP                                       PO Box 844736                                                                                  Dallas           TX    75284-4736                   1/5/2023              $42,353.00 Vendors
 2.273 Dickson / Unigage Inc dba The Dickson Com              930 S. Westwood Ave.                                                                           Addison          IL    60101                      12/14/2022               $1,251.64 Vendors
 2.274 Digital Media Innovations. LLC (Formerly Intrado)      c/o Intrado Corporation                                 P.O. Box 74007143                      Chicago          IL    60674-7143                  12/8/2022               $4,000.00 Vendors
 2.275 Digital Media Innovations. LLC (Formerly Intrado)      c/o Intrado Corporation                                 P.O. Box 74007143                      Chicago          IL    60674-7143                 12/15/2022              $10,584.00 Vendors
 2.276 Donnelley Financial Scilex                                                                                                                                                                                1/5/2023             $405,363.00 Vendors
 2.277 Dorman Eugene Followwill                               1105 North 11th Street                                                                         Boise            ID    83702                       1/18/2023              $46,125.00 Vendors; wire
 2.278 Dr.Shlomo Cohen & Co-Law Office                        B.S.R Tower 3                                           5 Kineret Street                                              5126237      Israel      12/9/22; 1/13/23          $10,662.35 Vendors; wire
 2.279 DS Services of America, Inc. dba Crystal Springs       P.O. Box 660579                                                                                Dallas           TX    75266                      12/22/2022                  $55.82 Vendors
 2.280 E-Control Systems, Inc.                                15301 Ventura Boulevard                                 Bldg. D, Suite 320                     Sherman Oaks     CA    91403                      12/14/2022              $16,008.61 Vendors
 2.281 Eliot Zaiken dba Technology Device Enterprises         245 N Highland Ave NE Suite 230-461                                                            Atlanta          GA    30307                      12/20/2022              $11,232.00 Vendors
 2.282 Eliot Zaiken dba Technology Device Enterprises         245 N Highland Ave NE Suite 230-461                                                            Atlanta          GA    30307                       1/11/2023               $8,960.00 Vendors
 2.283 Elite Relocation Services LLC                          2350 Orchard View Lane                                                                         Escondido        CA    92027                      12/14/2022               $1,500.00 Vendors
 2.284 Confidential Party 5                                   Address on File                                                                                                                                   1/13/2023               $1,973.27 Terminated employee
 2.285 Ellab Inc                                              303 E 17TH Ave                                          Ste 10                                 Denver           CO    80203                        1/5/2023               $1,810.21 Vendors
 2.286 Emas Pharma Limited                                    Knowl Piece, Wilbury Way                                                                       Hitchin, SG4 0TY                    United         12/14/22;             $254,862.84 Vendors; wire
                                                                                                                                                                                                 Kingdom          1/18/23
 2.287 Embark Consulting Group LLC                            345 North Street                                                                               Medfield         MA    02052                      12/22/2022              $10,400.00 Vendors
 2.288 EMD Millipore Corporation-                             25760 Network Place                                                                            Chicago          IL    60673                      12/22/2022              $14,108.87 Vendors
 2.289 EMD Millpore Corporation-                              25802 Network Place                                                                            Chicago          IL    60673-1258                 12/22/2022               $1,800.08 Vendors
 2.290 Entertainment Creative Group Production                120 Interstate North Parkway SE Suite 226                                                      Atlanta          GA    30339                       1/27/2023               $7,230.00 Vendors
 2.291 EPL Pathology Archives, Inc.                           PO Box 645841                                                                                  Pittsburgh       PA    15264-5256                 11/16/2022               $1,717.24 Vendors
 2.292 Ernst & Young U.S. LLP                                 P.O Box 846793                                                                                 Los Angeles      CA    90084-6793                   1/5/2023             $400,000.00 Vendors
 2.293 Eton Bioscience, Inc.                                  5820 Oberlin Dr.                                        Suite #108                             San Diego        CA    92121                      12/20/2022                  $42.00 Vendors
 2.294 Eurogentec North America,Inc.                          34801 Campus Dr.                                                                               Fremont.         CA    94555                      11/16/2022              $14,163.77 Vendors
 2.295 EVIDENT SCIENTIFIC, INC.                               48 WOERD AVENUE                                                                                WALTHAM          MA    02453                      11/16/2022              $10,238.36 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                   Page 4 of 15
                                                              Case 23-90085 Document 900 SOFA
                                                                                          Filed     in TXSB on 06/16/23 Page 34 of 57
                                                                                              3 ATTACHMENT
                                                                                                                  Certain payments or transfers to creditors within 90 days before filing this case




   ID                              Creditor's Name                                                       Address 1                                 Address 2           Address 3            City      State     ZIP        Country   Payment Date       Payment Amount Reason for Payment or Transfer
 2.296 Expert Holdings, LLC Dba IMS Consulting and Expert Services, LLC            PO BOX 208312                                                                                     Dallas           TX    75320-8312                 12/1/2022             $126,627.50 Vendors
 2.297                                                                             Accounts Receivable                                        11175 Flintkote Ave                    San Diego        CA    92121                      1/5/2023                 $9,265.50 Vendors
       Explora BioLabs, Inc.
                                                                                                                                              Suite B
 2.298 Faber Daeufer & Itrato PC                                                   890 Winter Street, Suite 315                                                                      Waltham          MA   02451                       12/12/2022              $26,332.50 Vendors
 2.299 Faber Daeufer & Itrato PC                                                   890 Winter Street, Suite 315                                                                      Waltham          MA   02451                       12/21/2022               $2,597.50 Vendors
 2.300 Faber Daeufer & Itrato PC                                                   890 Winter Street, Suite 315                                                                      Waltham          MA   02451                        1/12/2023              $14,863.75 Vendors
 2.301 Faber Daeufer & Itrato PC                                                   890 Winter Street, Suite 315                                                                      Waltham          MA   02451                        1/24/2023               $8,493.75 Vendors
 2.302 Factory PR LLC                                                              263 Eleventh Ave                                           Floor 6                                New York         NY   10001                        12/21/2022              $2,915.70 Vendors
 2.303 Factory PR LLC                                                              263 Eleventh Ave                                           Floor 6                                New York         NY   10001                         11/21/22;             $70,000.00 Vendors
                                                                                                                                                                                                                                         12/22/22
 2.304 Farmers Insurance Exchange                                                  P.O. Box 4665                                                                                     Carol Stream     IL   60197                       12/15/2022               $1,316.84 Vendors
 2.305 FB Rice Pty Ltd                                                             GPO Box 1794                                               Melbourne                              VIC                   3001          Australia        12/9/22;             $12,709.00 Vendors; wire
                                                                                                                                                                                                                                         12/13/22;
                                                                                                                                                                                                                                     1/13/23; 1/31/23
 2.306 Fedex                                                                       PO Box 7221                                                                                       Pasadena         CA   91109-7321                  11/17/2022               $5,228.97 Vendors
 2.307 Fedex                                                                       PO Box 7221                                                                                       Pasadena         CA   91109-7321                   12/9/2022               $2,377.51 Vendors
 2.308 Fedex                                                                       PO Box 7221                                                                                       Pasadena         CA   91109-7321                  12/22/2022               $9,947.23 Vendors
 2.309 Fedex                                                                       PO Box 7221                                                                                       Pasadena         CA   91109-7321                    1/5/2023               $2,684.46 Vendors
 2.310 Fedex                                                                       PO Box 7221                                                                                       Pasadena         CA   91109-7321                    1/5/2023               $3,870.58 Vendors
 2.311 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                        11/17/2022                $133.91 Vendors
 2.312 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                         12/1/2022                $185.35 Vendors
 2.313 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                         12/9/2022                 $23.32 Vendors
 2.314 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                          1/5/2023                $304.06 Vendors
 2.315 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                         1/11/2023                 $78.61 Vendors
 2.316 FedEX                                                                       P.O. Box 660481                                                                                   Dallas           TX   75266                         1/18/2023                $323.94 Vendors
 2.317 Fedex Freight                                                               DEPT LA PO BOX 21415                                                                              Pasadena         CA   91184-1415                   12/22/2022              $1,840.20 Vendors
 2.318 Fenwal Inc                                                                  26762 Network Place                                                                               Chicago          IL   60673-1267                   12/9/2022               $4,560.00 Vendors
 2.319 Fenwal Inc                                                                  26762 Network Place                                                                               Chicago          IL   60673-1267                  11/23/2022               $3,600.00 Vendors
 2.320 FIRST Insurance Funding                                                     PO Box 7000                                                                                       Carol Stream     IL   60197-7000                  12/28/2022             $547,895.04 Vendors
 2.321 FIRST Insurance Funding                                                     PO Box 7000                                                                                       Carol Stream     IL   60197-7000                   1/25/2023             $547,895.04 Vendors
 2.322 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                   11/17/2022             $83,119.28 Vendors
 2.323 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                   11/30/2022             $64,175.35 Vendors
 2.324 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                    12/8/2022             $70,021.05 Vendors
 2.325 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                   12/15/2022             $27,403.47 Vendors
 2.326 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                   12/20/2022              $5,162.96 Vendors
 2.327 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                   12/22/2022             $60,700.36 Vendors
 2.328 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                     1/5/2023             $92,888.86 Vendors
 2.329 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                    1/12/2023             $63,268.29 Vendors
 2.330 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                    1/18/2023             $45,353.66 Vendors
 2.331 Fisher Scientific                                                           PO Box 50129                                                                                      Los Angeles      CA   90074-0129                    1/26/2023             $54,260.99 Vendors
 2.332 FlexBiosys Inc                                                              291 US Highway 22 East                                     Suite 32                               Lebanon          NJ   08833                         12/1/2022              $4,250.00 Vendors
 2.333 Fluoptics                                                                   185 Alewife Brook Pkwy #210                                                                       Cambridge        MA   02138                         1/6/2023               $3,000.00 Vendors
 2.334 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                        11/17/2022             $41,630.18 Vendors
 2.335 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                         12/1/2022              $9,757.29 Vendors
 2.336 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                         12/8/2022              $1,397.34 Vendors
 2.337 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                        12/21/2022             $38,078.70 Vendors
 2.338 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                          1/5/2023                $120.79 Vendors
 2.339 FMC Facility Solutions, LLC dba City Wide Facility Solutions of San Diego   4849 Ronson Court, Ste 104                                                                        San Diego        CA   92111                         1/11/2023                $669.44 Vendors
 2.340 Focus Ventures LLC DBA Focus Toxicology Consulting                          4204 Shurell, Pkwy                                                                                Medina           OH   44256                        11/16/2022              $2,648.00 Vendors
 2.341 Focus Ventures LLC DBA Focus Toxicology Consulting                          4204 Shurell, Pkwy                                                                                Medina           OH   44256                        12/14/2022              $2,240.00 Vendors
 2.342 Foley & Lardner LLP                                                         90 Park Avenue                                                                                    New York         NY   10016-1314                  12/21/2022               $3,895.00 Vendors
 2.343 Fonality Inc                                                                5340 Legacy Drive                                          Ste. #155                              Plano            TX   75024                         1/26/2023              $4,125.83 Vendors
 2.344 FujiFilm Irvine Scientific, Inc                                             1830 E. Warner Ave                                                                                Santa Ana        CA   92705-5505                   12/9/2022                 $729.98 Vendors
 2.345 FujiFilm Irvine Scientific, Inc                                             1830 E. Warner Ave                                                                                Santa Ana        CA   92705-5505                     1/5/2023              $3,987.37 Vendors
 2.346 Furniture Environments                                                      6196 Sunset Crest Way                                                                             San Diego        CA   92121                         12/1/2022             $27,203.14 Vendors
 2.347 Confidential Party 6                                                        Address on File                                                                                                                                      11/21/2022              $1,865.36 Terminated employee
 2.348 Confidential Party 6                                                        Address on File                                                                                                                                       12/6/2022              $1,590.82 Terminated employee
 2.349 Gas South, LLC                                                              P.O. Box 530552                                                                                   Atlanta          GA   30353                        11/30/2022                 $78.53 Vendors
 2.350 Gas South, LLC                                                              P.O. Box 530552                                                                                   Atlanta          GA   30353                        12/23/2022                $101.16 Vendors
 2.351 Gas South, LLC                                                              P.O. Box 530552                                                                                   Atlanta          GA   30353                         1/23/2023                $145.20 Vendors
 2.352 Gene Tex                                                                    2456 Alton Pkwy                                                                                   Irvine           CA   92606                         12/1/2022                $330.39 Vendors
 2.353 GeneGoCell Inc                                                              10251 Vista Sorrento Pkwy Ste 240                                                                 San Diego        CA   92121                          1/5/2023              $1,000.00 Vendors
 2.354 Gener LLC                                                                   500 Mercury Drive                                                                                 Sunnyvale        CA   94085                        11/16/2022             $28,188.75 Vendors
 2.355 Gener LLC                                                                   500 Mercury Drive                                                                                 Sunnyvale        CA   94085                         1/13/2023             $74,248.45 Vendors
 2.356 Genesee Scientific                                                          900 Vernon Way, Ste.101                                                                           El Cajon         CA   92020                        11/16/2022             $15,110.38 Vendors
 2.357 Genesee Scientific                                                          900 Vernon Way, Ste.101                                                                           El Cajon         CA   92020                        12/9/2022                 $483.91 Vendors
 2.358 Genesee Scientific                                                          900 Vernon Way, Ste.101                                                                           El Cajon         CA   92020                        12/22/2022             $17,258.13 Vendors
 2.359 Genesee Scientific                                                          900 Vernon Way, Ste.101                                                                           El Cajon         CA   92020                         1/5/2023                 $880.95 Vendors
 2.360 Genesee Scientific                                                          900 Vernon Way, Ste.101                                                                           El Cajon         CA   92020                        1/10/2023              $82,941.70 Vendors
 2.361 GenScript USA Inc.                                                          860 Centennial Ave.                                                                               Piscataway       NJ   08854                        12/22/2022             $45,240.39 Vendors
 2.362 GenScript USA Inc.                                                          860 Centennial Ave.                                                                               Piscataway       NJ   08854                          1/5/2023              $5,685.69 Vendors
 2.363 GenTarget,Inc.                                                              7930 Arjons Drive, Suite B                                                                        San Diego        CA   92126                        12/22/2022              $1,810.20 Vendors
 2.364 Georgia Natural Gas                                                         PO Box 71245                                               United States                          Charlotte        NC   28272-1245                  11/30/2022                  $54.13 Vendors
 2.365 Georgia Natural Gas                                                         PO Box 71245                                               United States                          Charlotte        NC   28272-1245                  12/22/2022                  $73.68 Vendors
 2.366 Georgia Natural Gas                                                         PO Box 71245                                               United States                          Charlotte        NC   28272-1245                   1/24/2023                  $82.53 Vendors
 2.367 Georgia Power                                                               96 Annex                                                                                          Atlanta          GA   30396-0001                   11/29/2022                 $45.32 Vendors
 2.368 Georgia Power                                                               96 Annex                                                                                          Atlanta          GA   30396-0001                   12/29/2022                 $38.03 Vendors
 2.369 Georgia Power                                                               96 Annex                                                                                          Atlanta          GA   30396-0001                    1/24/2023                $153.07 Vendors
 2.370 Georgia Power                                                               96 Annex                                                                                          Atlanta          GA   30396-0001                    1/30/2023                 $38.86 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                           Page 5 of 15
                                                           Case 23-90085 Document 900 SOFA
                                                                                       Filed     in TXSB on 06/16/23 Page 35 of 57
                                                                                           3 ATTACHMENT
                                                                                                  Certain payments or transfers to creditors within 90 days before filing this case




   ID                             Creditor's Name                                           Address 1                              Address 2           Address 3           City        State     ZIP       Country      Payment Date       Payment Amount Reason for Payment or Transfer
 2.371 GL Technologies,LLC                                            4204 Sorrento Valley Blvd Ste L                                                                San Diego        CA     92121                       12/20/2022                  $121.00 Vendors
 2.372 GL Technologies,LLC                                            4204 Sorrento Valley Blvd Ste L                                                                San Diego        CA     92121                       12/22/2022                  $429.00 Vendors
 2.373                                                                29833 Network Place                                                                            Chicago          IL     60673 -                     11/16/2022                $2,420.39 Vendors
       Global Equipment Company Inc dba Global Industrial Equipment
                                                                                                                                                                                             1298
 2.374 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                   11/16/2022              $11,593.26 Vendors
 2.375 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                   11/18/2022              $10,796.44 Vendors
 2.376 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                    12/9/2022              $11,799.73 Vendors
 2.377 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                   12/20/2022               $1,485.00 Vendors
 2.378 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                     1/6/2023              $14,640.84 Vendors
 2.379 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                    1/11/2023              $20,133.56 Vendors
 2.380 Global Life Sciences Solutions USA LLC                         PO BOX 643065                                                                                  Pittsburgh       PA     15264-3065                    1/11/2023               $2,428.83 Vendors
 2.381 Global Power Group Inc.                                        12060 Woodside Ave                                                                             Lakeside         CA     92040                        11/16/2022                 $428.50 Vendors
 2.382 Global Power Group Inc.                                        12060 Woodside Ave                                                                             Lakeside         CA     92040                        12/20/2022               $1,106.49 Vendors
 2.383 GLP Services LLC                                               8296 Commerce Parkway Suite #1                                                                 Chippewa         WI     54729                        1/11/2023                $3,035.00 Vendors
 2.384 GLP Services LLC                                               8296 Commerce Parkway Suite #1                                                                 Chippewa         WI     54729                        1/23/2023                $6,885.00 Vendors
 2.385 Grayline Medical Inc.                                          14791 Carmenita Road                                                                           Norwalk          CA     90650                        12/9/2022                  $214.83 Vendors
 2.386 H.M. Royal, Inc.                                               P.O. Box 28                                                                                    Trenton          NJ     08601                         2/8/2023                  $882.20 Vendors
 2.387 HANGZHOU TIGERMED CONSULTING CO., LTD.                         Room2001-2010,F20, No.19 Jugong Road                    Binjiang District                      Hangzhou                             China           11/21/2022              $65,172.00 Vendors; wire
 2.388 Harney Westwood & Riegels LLP                                  3rd Floor, Harbour Place                                103 South Church                       Grand Cayman                         Cayman           2/3/2023               $69,936.61 Vendors; wire
                                                                                                                              Street                                 KY1-1002                             Islands
 2.389 Haupt Pharma Wolfratshausen GmbH                               (Aenova)                                                Pfaffenrieder Strasse                  Wolfratshausen         82515         Germany       12/8/22; 1/19/23          $10,339.32 Vendors; wire
                                                                                                                              5
 2.390 Hayssam Hamade dba Diagnostic Healthcare, LLC                  11877 Douglas Drive, Suite 102-155                                                             Alpharetta       GA    30005                          12/8/2022               $4,200.00 Vendors
 2.391 HCP Life Science REIT (Directors Place)                        PO Box 51091                                                                                   Los Angeles      CA    90074-1142                     12/1/2022             $811,059.89 Vendors
 2.392 HCP Life Science REIT (Directors Place)                        PO Box 51091                                                                                   Los Angeles      CA    90074-1142                     12/1/2022               $4,286.28 Vendors
 2.393 HCP Life Science REIT (Directors Place)                        PO Box 51091                                                                                   Los Angeles      CA    90074-1142                      1/1/2023             $815,346.17 Vendors
 2.394 HCP Life Science REIT (Directors Place)                        PO Box 51091                                                                                   Los Angeles      CA    90074-1142                      1/9/2023              $13,726.00 Vendors
 2.395 HCP Life Science REIT (Directors Place)                        PO Box 51091                                                                                   Los Angeles      CA    90074-1142                      2/1/2023             $828,873.17 Vendors
 2.396 HealthPeak Properties, Inc. (Judical)                          P.O. BOX 59902                                                                                 Los Angeles      CA    90074-9902                     12/1/2022             $191,153.36 Vendors
 2.397 HealthPeak Properties, Inc. (Judical)                          P.O. BOX 59902                                                                                 Los Angeles      CA    90074-9902                      1/1/2023             $191,153.36 Vendors
 2.398 HealthPeak Properties, Inc. (Judical)                          P.O. BOX 59902                                                                                 Los Angeles      CA    90074-9902                      1/9/2023               $1,830.67 Vendors
 2.399 HealthPeak Properties, Inc. (Judical)                          P.O. BOX 59902                                                                                 Los Angeles      CA    90074-9902                      2/1/2023             $192,984.03 Vendors
 2.400 Henri Melameka Pesi Safi                                       3 Avenue Pota Galo, Binza Pigeon, Ngaliema                                                     Kinshasa                             Congo,           1/23/2023               $4,150.00 Vendors; wire
                                                                                                                                                                                                          Democratic
                                                                                                                                                                                                          Republic of
 2.401 Herrmann Ultrasonics, Inc.                                     1261 Hardt Circle                                                                              Bartlett         IL    60103                         11/17/2022              $41,904.50 Vendors
 2.402 Histowiz Inc                                                   760 Parkside Ave Room 121                                                                      Brooklyn         NY    11226                         11/17/2022               $3,810.00 Vendors
 2.403 HMC Communications Inc. dba: Answer                            PO Box 8682, RPO CSC                                                                           Halifax          NS                  Canada           12/13/22;                 $614.30 Vendors; wire
                                                                                                                                                                                                                            1/13/23
 2.404 HRMS Solutions, Inc.                                           941 Grant Pl                                                                                   Boulder          CO    80302                                                  $4,132.50 Vendors
 2.405 HRMS Solutions, Inc.                                           941 Grant Pl                                                                                   Boulder          CO    80302                         11/17/2022               $3,800.00 Vendors
 2.406 HRMS Solutions, Inc.                                           941 Grant Pl                                                                                   Boulder          CO    80302                         12/22/2022               $2,422.50 Vendors
 2.407 HRMS Solutions, Inc.                                           941 Grant Pl                                                                                   Boulder          CO    80302                          1/18/2023               $3,800.00 Vendors
 2.408 HTL Biosolutions, Inc.                                         4010 Adolfo Road Suite B                                                                       Camarillo        CA    93012                         11/30/2022               $4,950.00 Vendors
 2.409 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                         11/30/2022              $77,900.00 Vendors
 2.410 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                          12/6/2022              $75,000.00 Vendors
 2.411 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                         12/22/2022              $59,500.00 Vendors
 2.412 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                           1/5/2023              $18,025.00 Vendors
 2.413 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                          1/12/2023              $59,500.00 Vendors
 2.414 Human Gene Exploration Technologies LLC (Hugenx)               530 Technology Dr., Suite 100                                                                  Irvine           CA    92618                       12/8/22; 1/11/23          $19,625.00 Vendors
 2.415 ICON Laboratory Services, Inc                                  Attn: Acct Receivable Dept.                             PO Box 28935                           New York         NY    10087-8935                      2/8/2023               $3,720.00 Vendors
 2.416 Illumina, Inc.                                                 12864 Collection Center Dr                                                                     Chicago          IL    60693-0128                     12/8/2022              $13,104.00 Vendors
 2.417 Illumina, Inc.                                                 12864 Collection Center Dr                                                                     Chicago          IL    60693-0128                    12/22/2022               $4,968.60 Vendors
 2.418 imprint, Inc.                                                  25303 Network Place                                                                            Chicago          IL    60673                          1/18/2023                 $412.53 Vendors
 2.419 Inform LLC                                                     212 Monroe drive                                                                               Mountain View    CA    94040                         12/30/2022              $20,625.00 Vendors
 2.420 Inglett & Stubbs, LLC                                          P.O. Box 531127                                                                                Atlanta          GA    30353                          1/11/2023               $2,315.11 Vendors
 2.421 Innovative Research, Inc.                                      46430 Peary Ct.                                                                                Novi             MI    48377                          1/26/2023               $1,224.00 Vendors
 2.422 Innovive LLC                                                   10019 Waples Court                                                                             San Diego        CA    92121                          1/11/2023                 $772.09 Vendors
 2.423 Insight Clinical Consulting, LLC                               1828 Sheridan Way                                                                              San Marcos       CA    92078                         12/22/2022               $3,237.50 Vendors
 2.424 Integra Biosciences Corp.                                      22 Friars Drive                                                                                Hudson           NH    03051                         11/30/2022               $1,032.29 Vendors
 2.425 Integra Biosciences Corp.                                      22 Friars Drive                                                                                Hudson           NH    03051                          1/12/2023                 $171.00 Vendors
 2.426 Integrated DNA Technologies, Inc.                              PO Box 74007330                                                                                Chicago          IL    60674-7330                    11/17/2022               $3,003.03 Vendors
 2.427 Integrated DNA Technologies, Inc.                              PO Box 74007330                                                                                Chicago          IL    60674-7330                     12/8/2022               $8,056.75 Vendors
 2.428 Integrated DNA Technologies, Inc.                              PO Box 74007330                                                                                Chicago          IL    60674-7330                      1/5/2023              $10,196.83 Vendors
 2.429 Integrated DNA Technologies, Inc.                              PO Box 74007330                                                                                Chicago          IL    60674-7330                     1/11/2023              $19,000.40 Vendors
 2.430 Interactive Technology Services LLC                            11380 Southbridge Parkway Suite 234                                                            Alpharetta       GA    30022                         11/30/2022               $4,500.00 Vendors
 2.431 Intertek Testing Services N.A. Inc.                            PO Box 405176                                                                                  Atlanta          GA    30384                          12/7/2022               $8,400.00 Vendors
 2.432 Invitria dba Ventria Bioscience                                12635 East Montview Boulevard                           Suite 330                              Aurora           CO    80045                         11/17/2022                 $690.24 Vendors
 2.433 InvivoGen                                                      10515 Vista Sorrento Pkwy                                                                      San Diego        CA    92121                         11/17/2022                 $480.78 Vendors
 2.434 InvivoGen                                                      10515 Vista Sorrento Pkwy                                                                      San Diego        CA    92121                         12/15/2022                 $558.36 Vendors
 2.435 Iron Mountain                                                  PO Box 601002                                                                                  Pasadena         CA    91189-1002                    11/17/2022                 $408.86 Vendors
 2.436 Iron Mountain                                                  PO Box 601002                                                                                  Pasadena         CA    91189-1002                    12/22/2022                 $823.20 Vendors
 2.437 Iron Mountain                                                  PO Box 601002                                                                                  Pasadena         CA    91189-1002                     1/26/2023                 $408.86 Vendors
 2.438 Itin Scale Co., Inc.                                           4802 Glenwood Road                                                                             Brooklyn         NY    11234                         11/17/2022              $18,398.51 Vendors
 2.439 Jackson & Blanc                                                7929 Arjons Drive                                                                              San Diego        CA    92126                         11/17/2022               $4,863.85 Vendors
 2.440 Jackson & Blanc                                                7929 Arjons Drive                                                                              San Diego        CA    92126                         12/22/2022              $11,547.50 Vendors
 2.441 Jackson & Blanc                                                7929 Arjons Drive                                                                              San Diego        CA    92126                           1/5/2023              $28,699.35 Vendors
 2.442 Jackson & Blanc                                                7929 Arjons Drive                                                                              San Diego        CA    92126                          1/18/2023               $8,500.81 Vendors
 2.443 Jackson ImmunoResearch Laboratories                            872 W.Baltimore Pike                                                                           West Grove       PA    19390                          12/9/2022                 $189.00 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                           Page 6 of 15
                                                            Case 23-90085 Document 900 SOFA
                                                                                        Filed     in TXSB on 06/16/23 Page 36 of 57
                                                                                            3 ATTACHMENT
                                                                                                               Certain payments or transfers to creditors within 90 days before filing this case




   ID                             Creditor's Name                                                       Address 1                               Address 2           Address 3            City        State     ZIP         Country    Payment Date       Payment Amount Reason for Payment or Transfer
 2.444 Jackson ImmunoResearch Laboratories                                        872 W.Baltimore Pike                                                                            West Grove         PA    19390                        1/26/2023                  $224.64 Vendors
 2.445 Jackson Walker LLP                                                         2323 Ross Avenue, Suite 600                                                                     Dallas             TX    75201                        2/10/2023             $250,000.00 Vendors; wire
 2.446 JB Pacific Inc                                                             11633 Sorrento Valley Rd.#103                                                                   San Diego          CA    92121                       11/17/2022              $24,972.29 Vendors
 2.447 JB Pacific Inc                                                             11633 Sorrento Valley Rd.#103                                                                   San Diego          CA    92121                       12/22/2022              $10,770.00 Vendors
 2.448 JB Pacific Inc                                                             11633 Sorrento Valley Rd.#103                                                                   San Diego          CA    92121                        1/26/2023              $24,620.00 Vendors
 2.449 JenKem Technology USA Inc.                                                 4105 W. Spring Creek Pkwy, #606B                                                                Plano              TX    75024                        12/8/2022              $37,750.00 Vendors
 2.450 Confidential Party 7                                                       Address on File                                                                                                                                       1/19/2023                $2,429.97 Terminated employee
 2.451 John Roger Broderson                                                       2699 Smoketree Way                                                                              Atlanta            GA     30345-1569                 11/17/2022                $1,500.00 Vendors
 2.452 John Roger Broderson                                                       2699 Smoketree Way                                                                              Atlanta            GA     30345-1569                 12/20/2022                $1,500.00 Vendors
 2.453 John Roger Broderson                                                       2699 Smoketree Way                                                                              Atlanta            GA     30345-1569                  1/23/2023                $1,500.00 Vendors
 2.454 Johnston Carmichael                                                        Finance, Commerce House                                  South Street                           Elgin                     IV30 1JE   United           12/8/2022                $8,770.29 Vendors; wire
                                                                                                                                                                                                                       Kingdom
 2.455 Confidential Party 8                                                       Address on File                                                                                                                                       1/16/2023                $4,212.09 Terminated employee
 2.456 Confidential Party 9                                                       Address on File                                                                                                                                      11/28/2022                $3,075.60 Terminated employee
 2.457 Confidential Party 10                                                      Address on File                                                                                                                                      11/30/2022                $4,800.00 Vendors
 2.458 Confidential Party 10                                                      Address on File                                                                                                                                       1/12/2023               $14,900.00 Vendors
 2.459 Juneko Elaine Grilley Olson                                                152 Roads End                                                                                   Pittsboro          NC     27312                      11/17/2022                  $625.00 Vendors
 2.460 JunHe, LLP                                                                 2100 Geng Road, Ste. 102                                                                        Palo Alto          CA     94303                      11/15/2022               $59,085.93 Vendors
 2.461 JunHe, LLP                                                                 2100 Geng Road, Ste. 102                                                                        Palo Alto          CA     94303                       12/1/2022               $23,777.76 Vendors
 2.462 JunHe, LLP                                                                 2100 Geng Road, Ste. 102                                                                        Palo Alto          CA     94303                      12/12/2022               $11,247.04 Vendors
 2.463 K.E.Y Security, Inc. dba Security San Diego                                4619 Viewridge Avenue                       Suite A                                             San Diego          CA     92123                       12/6/2022              $110,818.80 Vendors
 2.464 K.E.Y Security, Inc. dba Security San Diego                                4619 Viewridge Avenue                       Suite A                                             San Diego          CA     92123                       1/11/2023               $55,181.30 Vendors
 2.465 KAISER MANUFACTURING INC                                                   223 Marie Ave E                                                                                 West St. Paul      MN     55118-4007                  12/1/2022                $8,060.00 Vendors
 2.466 Confidential Party 11                                                      Address on File                                                                                                                                       2/1/2023                 $3,237.06 Terminated employee
 2.467 KAN AND KRISHME                                                            KNK HOUSE, B-483, MEERA BAGH, PASCHIM VIHAR PASCHIM VIHAR                                       New Delhi                 110063       India          11/21/22;                $5,039.00 Vendors; wire
                                                                                                                                                                                                                                         12/13/22
 2.468 Kent Scientific Corporation                                                1116 Litchfield Street                                                                          Torrington         CT     6790                        1/5/2023                 $4,775.00 Vendors
 2.469 Kent Scientific Corporation                                                1116 Litchfield Street                                                                          Torrington         CT     6790                       1/11/2023                  $577.00 Vendors
 2.470 Confidential Party 12                                                      Address on File                                                                                                                                      12/30/2022               $20,625.00 Vendors
 2.471 King & Spalding LLP                                                        P.O. Box 116133                                                                                 Atlanta              GA   30368-6133                  12/1/2022                  $393.00 Vendors
 2.472 Kingfisher International Inc                                               165 Monstar Street, Unit 8                                                                      Stouffville, Ontario ON                Canada        12/14/2022               $24,865.00 Vendors; wire

 2.473 Koenig Oeisner Taylor Schoenfeld& Gaddis                                   999 Eighteenth Street                                    Suite 1740                             Denver             CO     80202                       12/12/2022              $15,171.50 Vendors
 2.474 Koenig Oeisner Taylor Schoenfeld& Gaddis                                   999 Eighteenth Street                                    Suite 1740                             Denver             CO     80202                       12/22/2022              $16,048.00 Vendors
 2.475 Konica Minolta Business Solutions USA , Inc                                100 Williams Drive                                                                              Ramsey             NJ     07446                       12/15/2022               $3,097.49 Vendors
 2.476 Konica Minolta Business Solutions USA , Inc                                100 Williams Drive                                                                              Ramsey             NJ     07446                       1/11/2023                $1,772.70 Vendors
 2.477 Konica Minolta Premier Finance (Wells Fargo vendor Financial Services LLC) PO BOX 030310                                                                                   Los Angeles        CA     90030-0310                   12/1/2022                 $735.94 Vendors
 2.478 Konica Minolta Premier Finance (Wells Fargo vendor Financial Services LLC) PO BOX 030310                                                                                   Los Angeles        CA     90030-0310                  12/20/2022                 $723.01 Vendors
 2.479 KPS Life LLC                                                               10 Valley Stream Parkway, Suite 302                                                             Malvern            PA     19355                       12/20/2022              $29,646.33 Vendors
 2.480 KPS Life LLC                                                               10 Valley Stream Parkway, Suite 302                                                             Malvern            PA     19355                         1/5/2023              $32,114.00 Vendors
 2.481 Confidential Party 13                                                      Address on File                                                                                                                                       12/20/2022               $1,769.92 Vendors
 2.482 Confidential Party 13                                                      Address on File                                                                                                                                        1/5/2023                $3,281.88 Vendors
 2.483 Labcon North America                                                       3700 Lakeville Hwy Ste 200                                                                      Petaluma           CA     94954                       12/20/2022               $4,206.09 Vendors
 2.484 LabConnect, LLC                                                            2304 Silverdale Drive, Suite 100                                                                Johnson City       TN     37601                       12/20/2022               $2,268.00 Vendors
 2.485 Laboratory Equipment Company                                               2506 Technology Drive                                                                           Hayward            CA     94545                       12/15/2022                 $312.48 Vendors
 2.486 Labrepco LLC                                                               101 Witmer Road                                          Suite 700                              Horsham            PA     19044                      12/20/2022                 $659.79 Vendors
 2.487 Labtest.com, Inc dba Lifepoint Informatics                                 65 Harristown Road, Suite 305                                                                   Glen Rock          NJ     07452                        1/5/2023                  $824.00 Vendors
 2.488 LasX                                                                       4444 Centerville Road                                    Suite 170                              White Bear Lake    MN     55127                       11/17/2022               $5,570.00 Vendors
 2.489 LasX                                                                       4444 Centerville Road                                    Suite 170                              White Bear Lake    MN     55127                        1/11/2023              $36,352.50 Vendors
 2.490 LasX                                                                       4444 Centerville Road                                    Suite 170                              White Bear Lake    MN     55127                        1/23/2023               $6,000.00 Vendors
 2.491 Latham & Watkins LLP                                                       P.O. Box 894256                                                                                 Los Angeles        CA     90189-4256                   12/15/22;           $4,009,952.57 Vendors; wire
                                                                                                                                                                                                                                     12/19/22; 2/1/23;
                                                                                                                                                                                                                                     2/10/23; 12/7/22

 2.492 Law Office of Peter D. Chu                                                 4615 Convoy Street                                                                              San Diego          CA     92111                      12/12/2022               $19,120.00 Vendors
 2.493 Law Office of Peter D. Chu                                                 4615 Convoy Street                                                                              San Diego          CA     92111                       1/12/2023                $9,820.00 Vendors
 2.494 Law Offices of Erin J Lee, P.C.                                            500 LA TERRAZA BLVD. SUITE 150                                                                  ESCONDIDO          CA     92025                      11/15/2022                $5,775.00 Vendors
 2.495 Law Offices of Erin J Lee, P.C.                                            500 LA TERRAZA BLVD. SUITE 150                                                                  ESCONDIDO          CA     92025                      12/22/2022                  $367.86 Vendors
 2.496 Leaf & Cole, LLP                                                           2810 Camino Del Rio South                                Ste 200                                San Diego          CA     92108                      12/15/2022                $7,600.00 Vendors
 2.497 Lee and Li Attorneys-at-Law                                                8F, No. 555, Sec. 4, Zhongxiao E. Rd.                                                           Taipei                            11072 Taiwan        11/21/22;                $7,138.00 Vendors; wire
                                                                                                                                                                                                                                     12/7/22; 1/13/23
 2.498 Lemax LLC                                                                  David Lemus                                              11004 South Glen                       Potomac            MD     20854                      12/30/2022               $30,000.00 Vendors
                                                                                                                                           Road
 2.499 LFI Inc.                                                                   One Industrial Drive South                                                                      Smithfield         RI     02917                       12/1/2022                $7,549.00 Vendors
 2.500 Licks Advogados aka Licks Attorneys                                        Via Binário do Porto, 299, 9º Andar, Aqwa Corporate                                             Rio de Janeiro     RJ     20220-364    Brazil        12/21/2022                $4,000.68 Vendors
 2.501 Licks Advogados aka Licks Attorneys                                        Via Binário do Porto, 299, 9º Andar, Aqwa Corporate                                             Rio de Janeiro     RJ     20220-364    Brazil        12/22/2022                $6,031.24 Vendors
 2.502 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                      11/16/2022               $20,621.57 Vendors
 2.503 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                      11/18/2022               $24,537.48 Vendors
 2.504 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                       12/6/2022               $10,029.95 Vendors
 2.505 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                       12/9/2022               $19,797.10 Vendors
 2.506 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                      12/20/2022               $33,360.56 Vendors
 2.507 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                      12/21/2022               $34,849.81 Vendors
 2.508 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                        1/6/2023              $241,328.81 Vendors
 2.509 Life Technologies Corp.                                                    12088 Collection Center Dr.                                                                     Chicago            IL     60693                       1/11/2023              $130,708.16 Vendors
 2.510 Life Technologies Corporation.-                                            1726 Hyclone Dr                                                                                 Logan              UT     84321                      11/18/2022              $101,688.50 Vendors
 2.511 Life Technologies Corporation.-                                            1726 Hyclone Dr                                                                                 Logan              UT     84321                       12/9/2022                  $779.69 Vendors
 2.512 Life Technologies Corporation.-                                            1726 Hyclone Dr                                                                                 Logan              UT     84321                      12/20/2022                $4,355.01 Vendors
 2.513 Life Technologies Corporation.-                                            1726 Hyclone Dr                                                                                 Logan              UT     84321                      1/11/2023                $16,687.50 Vendors
 2.514 Life Technologies Corporation.-                                            1726 Hyclone Dr                                                                                 Logan              UT     84321                      1/11/2023                  $214.42 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                        Page 7 of 15
                                                              Case 23-90085 Document 900 SOFA
                                                                                          Filed     in TXSB on 06/16/23 Page 37 of 57
                                                                                              3 ATTACHMENT
                                                                                                          Certain payments or transfers to creditors within 90 days before filing this case




   ID                                Creditor's Name                                             Address 1                                 Address 2           Address 3              City    State     ZIP       Country   Payment Date       Payment Amount Reason for Payment or Transfer
 2.515 Linical Accelovance America, Inc.                                     789 SW Federal Highway, Suite 212                                                               Stuart           FL    34994                      11/18/22;            $322,119.65 Vendors; wire
                                                                                                                                                                                                                                12/9/22
 2.516 Littler Mendelson PC                                                  333 Bush Street, 34th Floor                                                                     San Francisco    CA    94104                     11/15/2022               $9,021.21 Vendors
 2.517 Littler Mendelson PC                                                  333 Bush Street, 34th Floor                                                                     San Francisco    CA    94104                      12/1/2022               $2,330.84 Vendors
 2.518 Littler Mendelson PC                                                  333 Bush Street, 34th Floor                                                                     San Francisco    CA    94104                     12/21/2022              $16,864.49 Vendors
 2.519 Littler Mendelson PC                                                  333 Bush Street, 34th Floor                                                                     San Francisco    CA    94104                      1/12/2023               $6,338.90 Vendors
 2.520 Lizbeth R MATU CHI                                                    Sm 201 M 26 L 2 Av. Leona Vicario No.1491 A,             Cancun                                 Quintana Roo           77539      Mexico      12/2/22; 12/7/22;           $2,250.00 Vendors; wire
                                                                                                                                                                                                                                1/31/23
 2.521 LLJ Sorrento Industrial LLC                                           750 B Street, Suite 3020                                                                        San Diego        CA    92101                      12/1/2022            $111,789.74 Vendors
 2.522 LLJ Sorrento Industrial LLC                                           750 B Street, Suite 3020                                                                        San Diego        CA    92101                       1/1/2023            $111,789.74 Vendors
 2.523 LLJ Sorrento Industrial LLC                                           750 B Street, Suite 3020                                                                        San Diego        CA    92101                       2/1/2023            $111,789.74 Vendors
 2.524 LLOYD Pest Control Co., Inc.                                          1331 Morena Blvd #300                                                                           San Diego        CA    92110-1598                12/9/2022                 $946.00 Vendors
 2.525 LLOYD Pest Control Co., Inc.                                          1331 Morena Blvd #300                                                                           San Diego        CA    92110-1598               12/15/2022                 $230.00 Vendors
 2.526 LLOYD Pest Control Co., Inc.                                          1331 Morena Blvd #300                                                                           San Diego        CA    92110-1598               12/20/2022                 $946.00 Vendors
 2.527 Lonza Walkersville Inc.                                               12261 Collection Center Drive                                                                   Chicago          IL    60693                      12/9/2022               $6,573.84 Vendors
 2.528 Lonza Walkersville Inc.                                               12261 Collection Center Drive                                                                   Chicago          IL    60693                       1/5/2023              $79,316.87 Vendors
 2.529 M Advisory Partners, LP                                               1700 Broadway, 19th Floor                                                                       New York         NY    10019                      2/10/2023            $250,000.00 Vendors; wire
 2.530 Macherey-Nagel Inc.                                                   924 Marcon Blvd Ste 102                                                                         Allentown        PA    18109                     11/21/2022                 $785.84 Vendors
 2.531 Macherey-Nagel Inc.                                                   924 Marcon Blvd Ste 102                                                                         Allentown        PA    18109                     11/29/2022                  $61.30 Vendors
 2.532 Macherey-Nagel Inc.                                                   924 Marcon Blvd Ste 102                                                                         Allentown        PA    18109                      12/5/2022                 $704.49 Vendors
 2.533 Macherey-Nagel Inc.                                                   924 Marcon Blvd Ste 102                                                                         Allentown        PA    18109                     12/12/2022               $1,423.59 Vendors
 2.534 Marco Rubber & Plastic, LLC                                           35 Woodworkers Way                                                                              Seabrook         NH    03874                      1/11/2023               $4,362.34 Vendors
 2.535 Marsh & McLennan Agency                                               Lockbox 740663                                                                                  Los Angeles      CA    90074                     11/21/2022               $2,426.60 Vendors
 2.536 Marsh & McLennan Agency                                               Lockbox 740663                                                                                  Los Angeles      CA    90074                      12/1/2022           $1,757,066.51 Vendors; wire
 2.537 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                11/15/2022                 $621.15 Vendors
 2.538 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                11/21/2022                 $392.37 Vendors
 2.539 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                11/29/2022                 $240.72 Vendors
 2.540 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                 12/5/2022                 $160.92 Vendors
 2.541 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                12/12/2022                 $158.88 Vendors
 2.542 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                12/22/2022                 $851.61 Vendors
 2.543 Marshall's Industrial Hardware, Inc.                                  8423 Production Ave.                                                                            San Diego        CA    92121-2202                 1/11/2023                 $385.06 Vendors
 2.544 Confidential Party 14                                                 Address on File                                                                                                                                  11/21/2022               $5,700.00 Vendors
 2.545 Confidential Party 14                                                 Address on File                                                                                                                                  12/22/2022               $5,850.00 Vendors
 2.546 Massachusetts Department of Revenue                                   PO BOX 7089                                                                                     BOSTON           MA    02241-7089                11/21/2022               $3,613.28 Vendors
 2.547 Massachusetts Department of Revenue                                   PO BOX 7089                                                                                     BOSTON           MA    02241-7089                11/15/2022                 $394.00 Vendors
 2.548 Massachusetts Department of Revenue                                   PO BOX 7089                                                                                     BOSTON           MA    02241-7089                12/15/2022                  $13.87 Vendors
 2.549 Maxair Mechanical                                                     814 Livingston Court                                                                            Marietta         GA    30067                     1/11/2023                  $333.20 Vendors
 2.550 Maxair, Inc dba CMS Controls                                          814 Livingston Court                                                                            Marietta         GA    30067                     12/1/2022               $16,610.00 Vendors
 2.551 McKesson                                                              PO BOX 51020                                                                                    Los Angeles      CA    90051                     11/21/2022                 $281.38 Vendors
 2.552 McKesson                                                              PO BOX 51020                                                                                    Los Angeles      CA    90051                      1/11/2023                 $251.50 Vendors
 2.553 McMaster-Carr Supply Co.                                              P.O. Box 7690                                                                                   Chicago          IL    60680-7690                12/5/2022                $1,277.29 Vendors
 2.554 McMaster-Carr Supply Co.                                              P.O. Box 7690                                                                                   Chicago          IL    60680-7690               12/20/2022                $1,207.41 Vendors
 2.555 McMaster-Carr Supply Co.                                              P.O. Box 7690                                                                                   Chicago          IL    60680-7690                 1/6/2023                   $66.94 Vendors
 2.556 McNeill Baur, PLLC                                                    Two Bala Plaza                                           Suite 300, #507                        Bala Cynwyd      PA    19004                     11/15/2022                 $251.90 Vendors
 2.557 McNeill Baur, PLLC                                                    Two Bala Plaza                                           Suite 300, #507                        Bala Cynwyd      PA    19004                      12/1/2022                 $239.60 Vendors
 2.558 McNeill Baur, PLLC                                                    Two Bala Plaza                                           Suite 300, #507                        Bala Cynwyd      PA    19004                     12/22/2022              $66,882.85 Vendors
 2.559 McNeill Baur, PLLC                                                    Two Bala Plaza                                           Suite 300, #507                        Bala Cynwyd      PA    19004                      1/12/2023              $76,155.11 Vendors
 2.560 Med Supply Partners                                                   3715 Atlanta Industrial Pkwy, ste B                                                             Atlanta          GA    30331                     11/17/2022                 $225.73 Vendors
 2.561 Medidata Solutions, Inc                                               PO Box 28563                                                                                    New York         NY    10087-8563               11/29/2022               $17,158.16 Vendors
 2.562 Meso Scale Diagnostics,LLC                                            Accounts Receivable                                      P.O.BOX 75112                          Baltimore        MD    21275-5112                11/21/2022               $2,547.61 Vendors
 2.563 Metlife                                                               Dept CH 10579                                                                                   Palatine         IL    60055-0579                 12/7/2022              $35,031.74 Vendors
 2.564 Metlife                                                               Dept CH 10579                                                                                   Palatine         IL    60055-0579                12/30/2022              $35,539.19 Vendors
 2.565 Metlife                                                               Dept CH 10579                                                                                   Palatine         IL    60055-0579                  2/1/2023              $35,456.16 Vendors
 2.566 MetLife                                                               PO Box 783895                                                                                   Philadelphia     PA    19178-3895                11/15/2022              $13,397.89 Vendors
 2.567 MetLife                                                               PO Box 783895                                                                                   Philadelphia     PA    19178-3895                 12/7/2022              $13,236.59 Vendors
 2.568 MetLife                                                               PO Box 783895                                                                                   Philadelphia     PA    19178-3895                 12/7/2022              $13,055.21 Vendors
 2.569 Mettler- Toledo Rainin LLC                                            PO Box 100802                                                                                   Pasadena         CA    91189-0802                11/29/2022               $3,331.63 Vendors
 2.570 Mettler- Toledo Rainin LLC                                            PO Box 100802                                                                                   Pasadena         CA    91189-0802                12/12/2022                 $424.27 Vendors
 2.571 Mettler-Toledo, LLC                                                   PO BOX 100682                                                                                   PASADENA         CA    91189-0682                 12/5/2022               $1,554.00 Vendors
 2.572 Micro Precision Calibration, Inc dba Micro Precision Test Equipment   22835 Industrial Place                                                                          Grass Valley     CA    95949                     11/15/2022               $1,523.00 Vendors
 2.573 Micro Precision Calibration, Inc dba Micro Precision Test Equipment   22835 Industrial Place                                                                          Grass Valley     CA    95949                     11/21/2022                 $310.00 Vendors
 2.574 Micro Precision Calibration, Inc dba Micro Precision Test Equipment   22835 Industrial Place                                                                          Grass Valley     CA    95949                     11/29/2022                 $186.00 Vendors
 2.575 Micro Precision Calibration, Inc dba Micro Precision Test Equipment   22835 Industrial Place                                                                          Grass Valley     CA    95949                      12/5/2022                 $174.00 Vendors
 2.576 Microbiologics, Inc                                                   200 Cooper Ave N                                                                                ST. Cloud        MN    56303                     12/22/2022               $3,107.09 Vendors
 2.577 MicroConstants Inc. dba: Bioagilytix Labs                             9050 Camino Santa Fe                                                                            San Diego        CA    92121                     11/15/2022              $21,864.70 Vendors
 2.578 MicroConstants Inc. dba: Bioagilytix Labs                             9050 Camino Santa Fe                                                                            San Diego        CA    92121                     11/29/2022               $1,048.60 Vendors
 2.579 MicroConstants Inc. dba: Bioagilytix Labs                             9050 Camino Santa Fe                                                                            San Diego        CA    92121                     12/12/2022              $53,795.00 Vendors
 2.580 MicroConstants Inc. dba: Bioagilytix Labs                             9050 Camino Santa Fe                                                                            San Diego        CA    92121                     12/21/2022               $1,260.00 Vendors
 2.581 MicroConstants Inc. dba: Bioagilytix Labs                             9050 Camino Santa Fe                                                                            San Diego        CA    92121                     12/21/2022                 $170.82 Vendors
 2.582 Micronit Microtechnologies BV                                         Colosseum 15                                                                                    Enschede               7521 PV,   Netherlands     11/16/22;             $332,202.19 Vendors; wire
                                                                                                                                                                                                                               11/22/22;
                                                                                                                                                                                                                                12/1/22
 2.583 Microspec Corporation                                                 327 Jaffrey Road                                                                                Peterborough     NH    3458                       1/11/2023               $4,870.32 Vendors
 2.584 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                     11/15/2022               $6,718.03 Vendors
 2.585 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                     11/21/2022              $11,130.68 Vendors
 2.586 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                     11/29/2022               $1,368.84 Vendors
 2.587 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                      12/5/2022              $22,467.47 Vendors
 2.588 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                     12/12/2022               $5,837.92 Vendors
 2.589 Miltenyi Biotec, Inc.                                                 Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                     12/21/2022               $4,234.83 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                   Page 8 of 15
                                                      Case 23-90085 Document 900 SOFA
                                                                                  Filed     in TXSB on 06/16/23 Page 38 of 57
                                                                                      3 ATTACHMENT
                                                                                           Certain payments or transfers to creditors within 90 days before filing this case




   ID                               Creditor's Name                                   Address 1                             Address 2           Address 3           City       State     ZIP       Country    Payment Date      Payment Amount Reason for Payment or Transfer
 2.590 Miltenyi Biotec, Inc.                                  Dept #33955                                              P.O. Box 39000                         San Francisco    CA    94139                      12/22/2022            $11,535.90 Vendors
 2.591                                                        Address on File                                                                                                                                    12/13/22;            $12,450.00 Vendors; wire
       Confidential Party 15                                                                                                                                                                                 1/13/23; 1/31/23
 2.592 Confidential Party 16                                  Address on File                                                                                                                                    12/1/2022              $2,852.49 Terminated employee
 2.593 Minitab, LLC                                           1829 Pine Hall Road                                                                             State College    PA    16801                       1/27/2023              $3,560.00 Vendors
 2.594 ML Strategies, LLC                                     701 Pennsylvania Avenue, NW                              Suite 900                              Washington       DC    20004                        1/6/2023             $15,000.00 Vendors
 2.595 MLC CAD Systems LLC                                    4625 W William Cannon Dr                                 Building 5                             Austin           TX    78749                      11/17/2022             $11,640.55 Vendors
 2.596 Mobile Mini                                            4646 E Van Buren St. Ste. 400                                                                   Phoenix          AZ    85008                      12/21/2022              $2,362.64 Vendors
 2.597 Morningside Translations, LLC                          450 7th Avenue, Suite 1001                                                                      New York         NY    10123                      12/22/2022              $8,168.95 Vendors
 2.598 Confidential Party 17                                  Address on File                                                                                                                                     1/3/2023              $4,823.70 Terminated employee
 2.599 Myonex, LLC                                            100 Progress Drive                                                                              Horsham          PA    19044                     11/21/2022               $1,581.51 Vendors
 2.600 Myonex, LLC                                            100 Progress Drive                                                                              Horsham          PA    19044                     11/29/2022              $19,176.00 Vendors
 2.601 Myonex, LLC                                            100 Progress Drive                                                                              Horsham          PA    19044                      12/1/2022              $41,650.54 Vendors
 2.602 Myonex, LLC                                            100 Progress Drive                                                                              Horsham          PA    19044                      12/6/2022                 $467.23 Vendors
 2.603 Myonex, LLC                                            100 Progress Drive                                                                              Horsham          PA    19044                      1/11/2023             $157,632.42 Vendors
 2.604 Nalco Water, An Ecolab Company                         PO BOX 730005                                                                                   Dallas           TX    75373-4677                   2/8/2023                $450.00 Vendors
 2.605 NAMSA-dba American Preclinical Services LLC            8945 Evergreen Blvd.                                                                            Minneapolis      MN    55433                      11/17/2022             $40,187.13 Vendors
 2.606 Nature Technology Corp                                 4701 Innovation Drive                                    Ste 103                                Lincoln          NE    68521                      11/21/2022              $2,342.80 Vendors
 2.607 Nelson Labs-A Sotera Health Company                    29471 Network Place                                                                             Chicago          IL    60673-1294                11/15/2022               $4,609.00 Vendors
 2.608 Nelson Labs-A Sotera Health Company                    29471 Network Place                                                                             Chicago          IL    60673-1294                11/29/2022              $10,570.00 Vendors
 2.609 Nelson Labs-A Sotera Health Company                    29471 Network Place                                                                             Chicago          IL    60673-1294                 12/5/2022                 $438.00 Vendors
 2.610 Nelson Labs-A Sotera Health Company                    29471 Network Place                                                                             Chicago          IL    60673-1294                12/21/2022               $2,402.75 Vendors
 2.611 Nelson Worldwide, LLC                                  P.O Box 734135                                                                                  Chicago          IL    60673-4135                12/20/2022              $44,947.44 Vendors
 2.612 Nelson Worldwide, LLC                                  P.O Box 734135                                                                                  Chicago          IL    60673-4135                 1/11/2023              $26,200.00 Vendors
 2.613 New England Biolabs                                    P.O. Box 3933                                                                                   Boston           MA    02241-3933                  12/5/2022                $645.42 Vendors
 2.614 New England Biolabs                                    P.O. Box 3933                                                                                   Boston           MA    02241-3933                 12/12/2022             $67,492.01 Vendors
 2.615 Newark Corporation dba Newark Element                  33190 Collection Center Drive                                                                   Chicago          IL    60693-0331                   2/2/2023              $3,161.00 Vendors
 2.616 Nexair, LLC                                            PO Box 125                                                                                      Memphis          TN    38101-0125                 11/17/2022              $6,958.30 Vendors
 2.617 Nexair, LLC                                            PO Box 125                                                                                      Memphis          TN    38101-0125                 11/17/2022                $916.69 Vendors
 2.618 Nexair, LLC                                            PO Box 125                                                                                      Memphis          TN    38101-0125                 11/30/2022                $578.16 Vendors
 2.619 Nexair, LLC                                            PO Box 125                                                                                      Memphis          TN    38101-0125                  1/23/2023              $2,131.83 Vendors
 2.620 Confidential Party 18                                  Address on File                                                                                                                                    1/3/2023               $2,374.95 Terminated employee
 2.621 North American Science Associates (NAMSA)              PO BOX 710970                                                                                   Cincinnati       OH    45271                       1/11/2023             $19,092.50 Vendors
 2.622 North American Science Associates (NAMSA)              PO BOX 710970                                                                                   Cincinnati       OH    45271                       1/23/2023             $26,429.00 Vendors
 2.623 Novus Biologicals                                      10771 E Easter Ave                                                                              Centennial       CO    80112                      1/25/2023               $4,598.78 Vendors
 2.624 NuMega Resonance Labs, Inc                             11526 Sorrento Valley Rd,                                Suite B-2                              San Diego        CA    92121                     12/22/2022                $192.00 Vendors
 2.625 Obducat Europe GmbH                                    Robert-Gerwig-Str. 9                                                                            Radolfzell                          Germany    1/13/23; 1/18/23           $9,038.30 Vendors; wire
 2.626 Occupational Services,Inc.                             6397 Nancy Ridge Drive                                                                          San Diego        CA    92121                      11/21/2022                $740.00 Vendors
 2.627 Olivares Y Compania, S.C.                              P.O. Box 460628                                                                                 Houston          TX    77056-8628                 12/1/2022              $15,635.93 Vendors
 2.628 Olivares Y Compania, S.C.                              P.O. Box 460628                                                                                 Houston          TX    77056-8628                12/12/2022               $8,721.26 Vendors
 2.629 Olivares Y Compania, S.C.                              P.O. Box 460628                                                                                 Houston          TX    77056-8628                12/21/2022               $3,850.34 Vendors
 2.630 Olivares Y Compania, S.C.                              P.O. Box 460628                                                                                 Houston          TX    77056-8628                12/22/2022               $5,520.19 Vendors
 2.631 Confidential Party 19                                  Address on File                                                                                                                                   11/15/2022             $13,440.00 Vendors
 2.632 Confidential Party 19                                  Address on File                                                                                                                                   12/12/2022             $12,160.00 Vendors
 2.633 Confidential Party 19                                  Address on File                                                                                                                                   1/11/2023              $10,880.00 Vendors
 2.634 OmniComm                                               P O BOX 101210                                                                                  Ft Lauderdale    FL    33310                      11/15/2022              $7,864.00 Vendors
 2.635 OmniComm                                               P O BOX 101210                                                                                  Ft Lauderdale    FL    33310                      11/21/2022              $5,648.00 Vendors
 2.636 OmniComm                                               P O BOX 101210                                                                                  Ft Lauderdale    FL    33310                      11/29/2022              $2,216.00 Vendors
 2.637 OmniComm                                               P O BOX 101210                                                                                  Ft Lauderdale    FL    33310                      12/12/2022             $10,080.00 Vendors
 2.638 OmniComm                                               P O BOX 101210                                                                                  Ft Lauderdale    FL    33310                      12/21/2022              $5,648.00 Vendors
 2.639 On-Site Health & Safety                                PO Box #6                                                                                       Rodeo            CA    94572                     11/21/2022                 $599.00 Vendors
 2.640                                                        Bank of America Lockbox Services                         15612 Collections                      Chicago          IL    60693                      12/5/2022               $4,098.60 Vendors
       Oracle America, Inc.
                                                                                                                       Center Drive
 2.641 Origen Biomedical ,Inc                                 7000 Burleson Rd                                         Building D                             Austin           TX    78744-3202                 12/5/2022               $2,668.00 Vendors
 2.642 Origen Biomedical ,Inc                                 7000 Burleson Rd                                         Building D                             Austin           TX    78744-3202                 1/25/2023               $1,427.00 Vendors
 2.643                                                        680 Engineering Drive                                    Suite 150                              Peachtree        GA    30092                      1/5/2023               $39,581.00 Vendors
       P Therapeutics, LLC
                                                                                                                                                              Corners
 2.644 Pacific Pathology Inc.                                 9292 Chesapeake Drive                                                                           San Diego        CA    92123                     12/21/2022               $1,304.40 Vendors
 2.645 Pacific Pathology Inc.                                 9292 Chesapeake Drive                                                                           San Diego        CA    92123                      1/11/2023               $2,460.00 Vendors
 2.646 Pacific Refrigeration,Inc                              1440 Broadway,                                                                                  El Cajon         CA    92021                     12/21/2022               $1,029.48 Vendors
 2.647 Pacific Rim Mechanical                                 9125 Recho Road                                                                                 San Diego        CA    92121                     12/9/2022               $10,008.00 Vendors
 2.648 Pacific Rim Mechanical                                 9125 Recho Road                                                                                 San Diego        CA    92121                     1/11/2023                  $530.00 Vendors
 2.649 Pacific Rim Mechanical                                 9125 Recho Road                                                                                 San Diego        CA    92121                      2/2/2023                  $275.00 Vendors
 2.650 Pacific Stock Transfer Company                         6725 Via Austi Parkway, Suite 300                                                               Las Vegas        NV    89119                      12/6/2022                 $400.00 Vendors
 2.651 Pacific Stock Transfer Company                         6725 Via Austi Parkway, Suite 300                                                               Las Vegas        NV    89119                      12/9/2022                 $200.00 Vendors
 2.652 Pacific Stock Transfer Company                         6725 Via Austi Parkway, Suite 300                                                               Las Vegas        NV    89119                     12/12/2022               $1,350.00 Vendors
 2.653 Pacific Stock Transfer Company                         6725 Via Austi Parkway, Suite 300                                                               Las Vegas        NV    89119                     12/21/2022                 $100.00 Vendors
 2.654 Pacific Stock Transfer Company                         6725 Via Austi Parkway, Suite 300                                                               Las Vegas        NV    89119                      1/10/2023               $3,050.00 Vendors; wire
 2.655 Packaging Compliance Labs, LLC                         4334 Brockton Dr. SE Suite E                                                                    Kentwood         MI    49512                     12/15/2022                 $947.00 Vendors
 2.656 Packaging Compliance Labs, LLC                         4334 Brockton Dr. SE Suite E                                                                    Kentwood         MI    49512                       2/8/2023                 $947.00 Vendors
 2.657 Pall Corporation                                       P.O Box 419501                                                                                  Boston           MA    02241-9501                 12/9/2022              $10,150.07 Vendors
 2.658 Palo Alto Networks, Inc.                               3000 Tannery Way                                                                                Santa Clara      CA    95054                     12/1/2022                $1,677.00 Vendors
 2.659 Palo Alto Networks, Inc.                               3000 Tannery Way                                                                                Santa Clara      CA    95054                     12/21/2022              $12,825.00 Vendors
 2.660 Pantomics, Inc                                         1049 Union Avenue, Ste D                                                                        Fairfield        CA    94533                      12/9/2022               $2,616.17 Vendors
 2.661 Parker Boiler Co.                                      5930 Bandini Blvd                                                                               Los Angeles      CA    90040                     11/18/2022               $1,225.75 Vendors
 2.662 Parron Hall Office Interiors                           9655 Granite Ridge Dr., Suite 100                                                               San Diego        CA    92123-2697                1/27/2023                $2,890.97 Vendors
 2.663 Parron Hall Office Interiors                           9655 Granite Ridge Dr., Suite 100                                                               San Diego        CA    92123-2697                1/27/2023                $1,381.90 Vendors
 2.664 PAUL HASTINGS LLP                                      PO Box 894803                                                                                   Los Angeles      CA    90189-4803                 1/18/2023               $7,961.63 Vendors; wire
 2.665 PBL Assay Science                                      131 Ethel Road West                                      Suite 6                                Piscataway       NJ    8854                      12/20/2022               $1,690.00 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                    Page 9 of 15
                                                              Case 23-90085 Document 900 SOFA
                                                                                          Filed     in TXSB on 06/16/23 Page 39 of 57
                                                                                              3 ATTACHMENT
                                                                                                       Certain payments or transfers to creditors within 90 days before filing this case




   ID                                Creditor's Name                                                Address 1                          Address 2            Address 3             City      State     ZIP     Country    Payment Date      Payment Amount Reason for Payment or Transfer
 2.666 PCI Pharma Services Canada, Inc                                        Accounts Receivable                                  PO Box 57708                           Toronto          ON     20849      Canada     1/23/23, 1/31/23           $2,120.21 Vendors; wire
 2.667 PHC Corporation of North America                                       27412 Network Place                                                                         Chicago          IL     60673-1274               1/11/2023                 $516.72 Vendors
 2.668 Pipette.com                                                            10360 Sorrento Valley Road                           Suite E                                San Diego        CA     92121                    11/18/2022                $612.00 Vendors
 2.669 Pipette.com                                                            10360 Sorrento Valley Road                           Suite E                                San Diego        CA     92121                     12/9/2022                $905.00 Vendors
 2.670 Pipette.com                                                            10360 Sorrento Valley Road                           Suite E                                San Diego        CA     92121                    12/20/2022                $836.00 Vendors
 2.671 Pipette.com                                                            10360 Sorrento Valley Road                           Suite E                                San Diego        CA     92121                     1/11/2023                $713.00 Vendors
 2.672 Pitney Bowes                                                           PO Box 371896                                                                               Pittsburgh       PA     15250-7896               11/16/2022                $133.09 Vendors
 2.673 Pitney Bowes                                                           PO Box 371896                                                                               Pittsburgh       PA     15250-7896                12/1/2022                $255.79 Vendors
 2.674 Polysciences, Inc.                                                     400 Valley Road                                                                             Warrington       PA     18976                      1/6/2023              $4,216.50 Vendors
 2.675 Portfolio Media,Inc                                                    P.O.Box 9570                                                                                New York         NY     10087-4570               12/1/2022               $9,450.00 Vendors
 2.676 Precision Bioservices, Inc.                                            P O Box 75742                                                                               Baltimore        MD     21275-5742               12/15/2022                 $76.86 Vendors
 2.677 Precision Nanosystems US Inc.                                          50-655 West Kent Ave. N                                                                     Vancouver        BC     V6P 6T7    Canada        11/18/2022            $12,152.60 Vendors
 2.678 Precision Oncology Acqusition Co. Inc. (DBA: Precision for Medicine)   200 Route 31 North, Suite 102                                                               Flemington       NJ     08822                     1/5/2023            $246,029.73 Vendors
 2.679 Priority RN Nursing Services, APC                                      3109 Camino Del Arco                                                                        Carlsbad         CA     92009                    11/18/2022              $7,279.36 Vendors
 2.680 Priority RN Nursing Services, APC                                      3109 Camino Del Arco                                                                        Carlsbad         CA     92009                     12/9/2022              $3,639.68 Vendors
 2.681 Priority RN Nursing Services, APC                                      3109 Camino Del Arco                                                                        Carlsbad         CA     92009                      1/6/2023              $7,279.36 Vendors
 2.682 Priority RN Nursing Services, APC                                      3109 Camino Del Arco                                                                        Carlsbad         CA     92009                     1/11/2023              $5,971.35 Vendors
 2.683 Priority RN Nursing Services, APC                                      3109 Camino Del Arco                                                                        Carlsbad         CA     92009                     1/13/2023              $9,724.77 Vendors
 2.684 Prism Plastics Products, Inc dba Westfall Technik                      1544 Highway 65 North                                PO BOX 446                             New Richmond     WI     54017                    11/30/2022            $27,840.34 Vendors
 2.685 Prism Plastics Products, Inc dba Westfall Technik                      1544 Highway 65 North                                PO BOX 446                             New Richmond     WI     54017                     1/27/2023            $15,388.50 Vendors
 2.686 Pro Mach, Inc dba Serpa Packaging Solutions LLC                        7020 W Sunnyview                                                                            Visalia          CA     93231                    12/20/2022                 $31.15 Vendors
 2.687 Pro Mach, Inc dba Serpa Packaging Solutions LLC                        7020 W Sunnyview                                                                            Visalia          CA     93231                      1/6/2023            $76,226.03 Vendors
 2.688 Pro Mach, Inc dba Serpa Packaging Solutions LLC                        7020 W Sunnyview                                                                            Visalia          CA     93231                     1/11/2023                 $18.69 Vendors
 2.689 Procopio                                                               P O BOX 515137                                                                              Los Angeles      CA     90051-5137               12/12/2022              $9,996.93 Vendors
 2.690 Procopio                                                               P O BOX 515137                                                                              Los Angeles      CA     90051-5137               12/22/2022            $22,271.96 Vendors
 2.691 Promega Corporation                                                    PO Box 689768                                                                               Chicago          IL     60695-9768               12/6/2022               $2,303.70 Vendors
 2.692 Promega Corporation                                                    PO Box 689768                                                                               Chicago          IL     60695-9768                1/6/2023               $2,295.08 Vendors
 2.693 Promega Corporation                                                    PO Box 689768                                                                               Chicago          IL     60695-9768               1/11/2023               $1,054.45 Vendors
 2.694 ProPharma Services Corp                                                3195 E. Yarrow Circle                                                                       Superior         CO     80027                    11/18/2022              $6,395.00 Vendors
 2.695 ProSci Inc.                                                            12170 Flint Place                                                                           Poway            CA     92064                    12/20/2022              $2,177.64 Vendors
 2.696 ProSciento Inc.                                                        855 3rd Avenue                                       Suite 3340                             Chula Vista      CA     91911                     12/1/2022            $80,823.68 Vendors
 2.697 ProSciento Inc.                                                        855 3rd Avenue                                       Suite 3340                             Chula Vista      CA     91911                    12/15/2022              $1,582.70 Vendors
 2.698 ProSciento Inc.                                                        855 3rd Avenue                                       Suite 3340                             Chula Vista      CA     91911                    12/20/2022            $87,568.82 Vendors
 2.699 ProteinSimple                                                          P.O. BOX 1150                                                                               Minneapolis      MN     55480-1150                1/23/2023              $1,508.50 Vendors
 2.700 ProTek Partners, LLC                                                   11601 Shadow Creek Pkwy Ste 111-507                                                         Pearland         TX     77584                    12/20/2022              $1,029.00 Vendors
 2.701 ProTek Partners, LLC                                                   11601 Shadow Creek Pkwy Ste 111-507                                                         Pearland         TX     77584                      1/6/2023              $2,058.00 Vendors
 2.702 ProTek Partners, LLC                                                   11601 Shadow Creek Pkwy Ste 111-507                                                         Pearland         TX     77584                     1/11/2023                $882.00 Vendors
 2.703 Protiviti Inc.                                                         2613 Camino Ramon                                                                           San Ramon        CA     94583                    12/12/2022            $37,622.00 Vendors
 2.704 Protiviti Inc.                                                         2613 Camino Ramon                                                                           San Ramon        CA     94583                     1/12/2023            $53,554.63 Vendors
 2.705 Proto Labs, Inc                                                        5540 Pioneer Creek Drive                                                                    Maple Plain      MN     55359                    12/20/2022            $11,405.62 Vendors
 2.706 Proto Labs, Inc                                                        5540 Pioneer Creek Drive                                                                    Maple Plain      MN     55359                     1/11/2023              $5,146.35 Vendors
 2.707 Proto Labs, Inc                                                        5540 Pioneer Creek Drive                                                                    Maple Plain      MN     55359                     1/23/2023                $215.59 Vendors
 2.708 Prototype Solutions Group                                              1621 Indianhead Drive                                                                       Menomonie        WI     54751                    11/17/2022              $2,396.00 Vendors
 2.709 Prototype Solutions Group                                              1621 Indianhead Drive                                                                       Menomonie        WI     54751                    11/30/2022              $2,412.00 Vendors
 2.710 Prototype Solutions Group                                              1621 Indianhead Drive                                                                       Menomonie        WI     54751                     1/11/2023                $730.00 Vendors
 2.711 Proven Solutions, LLC dba Proven Recruiting                            P.O Box 743628                                                                              Los Angeles      CA     90074-3628                12/8/2022            $33,750.00 Vendors
 2.712 Proven Solutions, LLC dba Proven Recruiting                            P.O Box 743628                                                                              Los Angeles      CA     90074-3628                 1/6/2023            $53,750.00 Vendors
 2.713 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210               11/18/2022                $393.92 Vendors
 2.714 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                12/6/2022                 $75.00 Vendors
 2.715 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                12/9/2022                $565.72 Vendors
 2.716 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210               12/20/2022                $494.61 Vendors
 2.717 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210               12/21/2022                $253.69 Vendors
 2.718 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                 1/6/2023                 $75.00 Vendors
 2.719 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                1/11/2023                $926.51 Vendors
 2.720 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                1/20/2023              $3,215.97 Vendors
 2.721 Prudential Cleanroom Services                                          P O Box 11210                                                                               Santa Ana        CA     92711-1210                12/6/2022                $300.00 Vendors
 2.722 Pyxant Labs Inc                                                        4720 Forge Rd, Suite 108                                                                    Colorado Springs CO     80907                    11/18/2022                $614.00 Vendors
 2.723 Pyxant Labs Inc                                                        4720 Forge Rd, Suite 108                                                                    Colorado Springs CO     80907                    12/20/2022                $307.00 Vendors
 2.724 Pyxant Labs Inc                                                        4720 Forge Rd, Suite 108                                                                    Colorado Springs CO     80907                    11/16/2022                $300.00 Vendors
 2.725 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132               11/18/2022            $16,017.55 Vendors
 2.726 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132                12/6/2022                $739.75 Vendors
 2.727 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132                12/9/2022                $824.10 Vendors
 2.728 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132               12/20/2022              $3,633.33 Vendors
 2.729 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132               12/21/2022              $3,408.16 Vendors
 2.730 Qiagen LLC                                                             PO Box 5132                                                                                 Carol Stream     IL     60197-5132                1/11/2023              $5,890.19 Vendors
 2.731 Confidential Party 20                                                  Address on File                                                                                                                              12/13/2022              $2,547.09 Terminated employee
 2.732 Quality and Compliance Consulting, Inc                                 6124 Hazelhurst Place, Unit 6A                                                              North Hollywood   CA   91606                      12/6/2022              $5,635.00 Vendors
 2.733 Quality and Compliance Consulting, Inc                                 6124 Hazelhurst Place, Unit 6A                                                              North Hollywood   CA   91606                       1/6/2023            $11,614.82 Vendors
 2.734 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                11/17/2022            $71,076.26 Vendors
 2.735 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                11/30/2022            $22,701.29 Vendors
 2.736 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                 12/8/2022            $87,579.00 Vendors
 2.737 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                12/15/2022            $21,192.16 Vendors
 2.738 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                12/22/2022            $60,400.96 Vendors
 2.739 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                  1/5/2023            $73,060.76 Vendors
 2.740 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                 1/12/2023              $5,399.78 Vendors
 2.741 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                 1/18/2023            $20,618.59 Vendors
 2.742 Quartzy Inc.                                                           Dept 3895                                            P.O. Box 123895                        Dallas            TX   75312-3895                 1/26/2023            $60,025.38 Vendors
 2.743 Quench USA, Inc.                                                       PO BOX 735777                                                                               Dallas            TX   75373-5777                 1/25/2023                $711.00 Vendors
 2.744 R&D Laboratory Equipment                                               10028 Leavesly Trail                                                                        Santee            CA   92071                      12/9/2022                $665.00 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                Page 10 of 15
                                                            Case 23-90085 Document 900 SOFA
                                                                                        Filed     in TXSB on 06/16/23 Page 40 of 57
                                                                                            3 ATTACHMENT
                                                                                                        Certain payments or transfers to creditors within 90 days before filing this case




   ID                                   Creditor's Name                                        Address 1                                 Address 2           Address 3           City          State     ZIP      Country   Payment Date   Payment Amount Reason for Payment or Transfer
 2.745                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN    55413-2647              11/16/2022               $3.49 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.746                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647               12/1/2022             $8,944.74 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.747                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647               12/20/2022            $1,794.06 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.748                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647               1/11/2023             $3,120.47 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.749                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647               1/25/2023             $2,201.35 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.750                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647                2/2/2023              $755.34 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.751                                                                   Accounts Receivable                                        614 McKinley Place                     Minneapolis         MN   55413-2647                2/8/2023              $287.70 Vendors
         R&D Systems, Inc.
                                                                                                                                    NE
 2.752 R.S.Hughes CO.                                                    1155 Allgood Road NE, Suite #5                                                                    Marietta            GA   30062                     1/11/2023            $3,965.87 Vendors
 2.753 Confidential Party 21                                             Address on File                                                                                                                                     12/20/2022              $250.00 Vendors
 2.754 Confidential Party 22                                             Address on File                                                                                                                                     11/29/2022            $3,125.13 Terminated employee
 2.755 Reaction Biology Corp.                                            One Great Valley Parkway                                   Suite 2                                Malvern             PA   19355                     1/20/2023            $4,634.10 Vendors
 2.756 Reaction Biology Corp.                                            One Great Valley Parkway                                   Suite 2                                Malvern             PA   19355                     1/25/2023            $2,616.30 Vendors
 2.757 Regulatory Professionals, Inc.                                    8000 Jarvis Ave.Suite 100                                                                         Newark              CA   94560                      1/6/2023            $6,389.73 Vendors
 2.758 Regulatory Professionals, Inc.                                    8000 Jarvis Ave.Suite 100                                                                         Newark              CA   94560                     1/11/2023            $1,459.94 Vendors
 2.759                                                                   18617 S Broadwick St                                                                              Rancho              CA   90220                    11/18/2022             $488.64 Vendors
       Repligen
                                                                                                                                                                           Dominguez
 2.760 Reprints Desk Inc.                                                Dept CH 16507                                                                                     Palatine            IL   60055-6507               11/18/2022              $295.30 Vendors
 2.761 Reprints Desk Inc.                                                Dept CH 16507                                                                                     Palatine            IL   60055-6507               12/20/2022              $678.40 Vendors
 2.762 Republic Services #                                               P O Box 78829                                                                                     Phoenix             AZ   85062-8829                12/6/2022            $2,160.71 Vendors
 2.763 Republic Services #                                               P O Box 78829                                                                                     Phoenix             AZ   85062-8829                12/9/2022            $2,895.48 Vendors
 2.764 Republic Services #                                               P O Box 78829                                                                                     Phoenix             AZ   85062-8829                1/11/2023            $5,776.80 Vendors
 2.765 Research Diets, Inc.                                              20 Jules Lane                                                                                     New Brunswick       NJ   08901                     1/11/2023            $2,350.00 Vendors
 2.766 ResearchDx, Inc dba Pacific Diagnostics, dba Custom Diagnostics   5 Mason                                                                                           Irvine              CA   92618                    12/14/2022           $10,000.00 Vendors
 2.767 Reveal Biosciences, LLC                                           6760 Top Gun St, Ste 110                                                                          San Diego           CA   92121                    12/20/2022              $448.00 Vendors
 2.768 Reveal Biosciences, LLC                                           6760 Top Gun St, Ste 110                                                                          San Diego           CA   92121                     1/11/2023            $1,140.00 Vendors
 2.769 Confidential Party 23                                             Address on File                                                                                                                                     11/17/2022            $6,149.39 Vendors
 2.770 Roche Diagnostics Corporation                                     Mail Code 5508                                             PO Box 71209                           Charlotte           NC   28272-1209               12/20/2022           $36,714.64 Vendors
 2.771 Roto Rooter Services Company                                      6356A Corley Road                                                                                 Norcross            GA   30071                     1/23/2023            $1,585.99 Vendors
 2.772 Roylance Stability Storage                                        Bo'ness Road                                               Motherwell                             Lanarkshire              ML1 5UH    United         1/13/2023              $477.85 Vendors; wire
                                                                                                                                                                                                               Kingdom
 2.773 RSM US LLP                                                        5155 Paysphere Circle                                                                             Chicago             IL   60674                    12/14/2022           $73,410.77 Vendors
 2.774 RSM US LLP                                                        5155 Paysphere Circle                                                                             Chicago             IL   60674                    12/20/2022            $1,732.50 Vendors
 2.775 RSM US LLP                                                        5155 Paysphere Circle                                                                             Chicago             IL   60674                    12/21/2022            $2,223.38 Vendors
 2.776 RSM US LLP                                                        5155 Paysphere Circle                                                                             Chicago             IL   60674                     1/11/2023            $7,709.63 Vendors
 2.777 Rutan & Tucker, LLP                                               611 Anton Blvd.Suite 1400                                  PO Box 1950                            Costa Mesa          CA   92626                    12/12/2022              $946.05 Vendors
 2.778 Rutan & Tucker, LLP                                               611 Anton Blvd.Suite 1400                                  PO Box 1950                            Costa Mesa          CA   92626                     1/12/2023           $12,387.19 Vendors
 2.779 Ryan Polcin dba TwinCityDesign LLC                                760 150th Ave                                                                                     New Richmond        WI   54017                    11/17/2022            $1,200.00 Vendors
 2.780 Ryan Polcin dba TwinCityDesign LLC                                760 150th Ave                                                                                     New Richmond        WI   54017                    12/20/2022              $250.00 Vendors
 2.781 S Legacy Key LLC                                                  8800 Dunwoody Place                                                                               Atlanta             GA   30350                      1/9/2023            $1,588.00 Vendors
 2.782 S Legacy Key LLC                                                  8800 Dunwoody Place                                                                               Atlanta             GA   30350                      2/2/2023            $1,696.00 Vendors
 2.783 S Legacy Key LLC                                                  8800 Dunwoody Place                                                                               Atlanta             GA   30350                      2/6/2023              $148.49 Vendors
 2.784                                                                   408 N. Canal Street, Suite A                                                                      South San           CA   94080                     12/7/2022              $999.00 Vendors
       Saleae, Inc.
                                                                                                                                                                           Francisco
 2.785 Same Day Express Delivery, Inc                                    PO Box 26333                                                                                      San Diego           CA   92196-0333               11/16/2022              $566.93 Vendors
 2.786 Same Day Express Delivery, Inc                                    PO Box 26333                                                                                      San Diego           CA   92196-0333                12/6/2022              $533.78 Vendors
 2.787 Same Day Express Delivery, Inc                                    PO Box 26333                                                                                      San Diego           CA   92196-0333               12/20/2022              $483.08 Vendors
 2.788 Same Day Express Delivery, Inc                                    PO Box 26333                                                                                      San Diego           CA   92196-0333                1/11/2023            $1,307.10 Vendors
 2.789                                                                   File 2440                                                  1801 W Olympic                         Pasadena            CA   91199-2440               11/16/2022             $470.00 Vendors
       San Diego Blood Bank
                                                                                                                                    Blvd
 2.790                                                                   File 2440                                                  1801 W Olympic                         Pasadena            CA   91199-2440               12/20/2022             $470.00 Vendors
         San Diego Blood Bank
                                                                                                                                    Blvd
 2.791 San Diego Blood Bank                                              P.O. Box 1084                                                                                     Arlington Heights   IL   60006-1084                1/11/2023             $235.00 Vendors
 2.792 San Diego County Treasurer-Tax Collector                          P.O. Box 129009                                                                                   San Diego           CA   92112                    12/15/2022            $7,341.55 Vendors
 2.793 San Diego County Treasurer-Tax Collector                          P.O. Box 129009                                                                                   San Diego           CA   92112                    12/15/2022          $377,014.75 Vendors
 2.794 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/15/2022           $14,799.74 Vendors
 2.795 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/15/2022              $533.62 Vendors
 2.796 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/15/2022              $683.06 Vendors
 2.797 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/15/2022           $58,982.93 Vendors
 2.798 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/16/2022           $97,819.06 Vendors
 2.799 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/20/2022           $56,879.81 Vendors
 2.800 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/21/2022              $580.15 Vendors
 2.801 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/21/2022              $775.04 Vendors
 2.802 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/21/2022            $7,114.53 Vendors
 2.803 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               11/21/2022              $351.99 Vendors
 2.804 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/15/2022           $32,009.27 Vendors
 2.805 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/15/2022           $46,568.49 Vendors
 2.806 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/15/2022           $84,939.41 Vendors
 2.807 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/16/2022           $13,452.28 Vendors
 2.808 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/21/2022            $5,672.13 Vendors
 2.809 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/21/2022              $307.44 Vendors
 2.810 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/21/2022              $532.10 Vendors
 2.811 San Diego Gas & Electric                                          PO Box 25111                                                                                      Santa Ana           CA   92799-5111               12/21/2022              $697.64 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                 Page 11 of 15
                                                          Case 23-90085 Document 900 SOFA
                                                                                      Filed     in TXSB on 06/16/23 Page 41 of 57
                                                                                          3 ATTACHMENT
                                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   ID                               Creditor's Name                                     Address 1                              Address 2           Address 3             City      State     ZIP     Country     Payment Date       Payment Amount Reason for Payment or Transfer
 2.812 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/17/2023              $12,536.16 Vendors
 2.813 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/17/2023              $45,789.51 Vendors
 2.814 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/17/2023              $48,081.01 Vendors
 2.815 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/17/2023              $83,048.27 Vendors
 2.816 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/17/2023                  $170.05 Vendors
 2.817 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/23/2023                  $633.68 Vendors
 2.818 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/23/2023                $5,508.53 Vendors
 2.819 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/23/2023                  $268.50 Vendors
 2.820 San Diego Gas & Electric                                   PO Box 25111                                                                                   Santa Ana         CA    92799-5111                1/23/2023                  $491.63 Vendors
 2.821 San Diego Machinery Movers,Inc                             12302 Kerran Street                                                                            Poway             CA    92064                     1/20/2023                $3,342.00 Vendors
 2.822 Sandhill Research, LLC                                     615 Crescent Executive Court, Suite 120                                                        Lake Mary         FL    32746                    12/21/2022              $74,804.00 Vendors
 2.823 Sandhill Research, LLC                                     615 Crescent Executive Court, Suite 120                                                        Lake Mary         FL    32746                     1/23/2023                $8,250.00 Vendors
 2.824 Sanguine Biosciences, Inc.                                 5000 Van Nuys Blvd, Suite 205                                                                  Sherman Oaks      CA    91403                    12/21/2022              $28,353.00 Vendors
 2.825 Sartorius Stedim North America Inc.                        565 Johnson Avenue                                                                             Bohemia           NY    11716                    12/21/2022                  $496.86 Vendors
 2.826 SAS Institute Inc                                          P O Box 406922                                                                                 Atlanta           GA    30384-6922                1/11/2023              $93,840.00 Vendors
 2.827 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157               11/30/2022                 $162.85 Vendors
 2.828 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157               11/30/2022                 $249.96 Vendors
 2.829 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157               12/23/2022                 $304.20 Vendors
 2.830 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157               12/23/2022                 $181.79 Vendors
 2.831 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157                1/26/2023                 $222.83 Vendors
 2.832 SCANA Energy                                               PO Box 100157                                                                                  Columbia          SC    29202-3157                1/26/2023                 $387.99 Vendors
 2.833                                                            49 Spadina Ave, Suite 200                                                                      Toronto, ON,            M5V 2JI    Canada         1/18/2023                $1,896.00 Vendors
       Science Suit Inc. dba BioRender
                                                                                                                                                                 Canada
 2.834 Scientific Notebook Company                                P.O. Box 238                                                                                   Stevensville      MI   49127                       12/9/2022                 $226.47 Vendors
 2.835 SciQuus, Inc.                                              P. O Box 270356                                                                                San Diego         CA   92198                      12/20/2022               $1,118.75 Vendors
 2.836 SciQuus, Inc.                                              P. O Box 270356                                                                                San Diego         CA   92198                       1/5/2023               $92,538.37 Vendors
 2.837 Script IP Limited                                          Turnpike House, 1B Bridge St                                                                   Frome                  BA11 1BB     United         12/9/2022              $50,887.87 Vendors; wire
                                                                                                                                                                                                     Kingdom
 2.838 Security and Exchange Commission                           100 F St NE                                                                                    Washington        DC   20549                       11/28/22,               $4,000.00 Vendors; wire
                                                                                                                                                                                                                 1/10/23,1/13/23,
                                                                                                                                                                                                                     12/16/22
 2.839 Senergene Solutions LLC                                    2 Morrison Road                                                                                Princeton         NJ   08540                       1/20/2023               $5,875.00 Vendors
 2.840 Senergene Solutions LLC                                    2 Morrison Road                                                                                Princeton         NJ   08540                        2/1/2023               $5,800.00 Vendors
 2.841 Sensirion AG                                               Laubisruetistrasse 50                                                                          Staefa                 CH-8712    Switzerland      12/9/2022              $14,189.83 Vendors; wire
 2.842 SGS North America Inc                                      P.O. Box 2502                                                                                  Carol Stream      IL   60132-2502                  12/1/2022               $1,547.00 Vendors
 2.843 Shanghai Innostar Bio-tech Co., Ltd.                       199 Guoshoujing Road                                    Pilot Free Trade                       Shanghai               201203     China            12/9/2022              $13,110.40 Vendors; wire
                                                                                                                          Zone
 2.844 Sharpe Refrigeration, Inc.                                 7848 Silverton Ave, Ste C                                                                      San Diego         CA   92126                       12/6/2022                 $340.00 Vendors
 2.845 Sharpe Refrigeration, Inc.                                 7848 Silverton Ave, Ste C                                                                      San Diego         CA   92126                      12/21/2022                 $722.60 Vendors
 2.846 Sharpe Refrigeration, Inc.                                 7848 Silverton Ave, Ste C                                                                      San Diego         CA   92126                        1/6/2023               $1,042.19 Vendors
 2.847 Sharpe Refrigeration, Inc.                                 7848 Silverton Ave, Ste C                                                                      San Diego         CA   92126                       1/11/2023                 $410.91 Vendors
 2.848 Sherpa Clinical Packaging, LLC (DBA PCI Pharma Services)   6166 Nancy Ridge Drive                                                                         San Diego         CA   92121                       12/9/2022              $37,592.55 Vendors
 2.849 Sherpa Clinical Packaging, LLC (DBA PCI Pharma Services)   6166 Nancy Ridge Drive                                                                         San Diego         CA   92121                      12/14/2022              $22,075.79 Vendors
 2.850 Sherpa Clinical Packaging, LLC (DBA PCI Pharma Services)   6166 Nancy Ridge Drive                                                                         San Diego         CA   92121                      12/20/2022               $1,854.55 Vendors
 2.851 Sherpa Clinical Packaging, LLC (DBA PCI Pharma Services)   6166 Nancy Ridge Drive                                                                         San Diego         CA   92121                        1/5/2023              $16,622.60 Vendors
 2.852 Shimadzu Scientific Instruments,Inc                        BOX 200511                                                                                     Pittsburgh        PA   15251-0511                 11/16/2022               $1,610.79 Vendors
 2.853 Shred-it, C/O Stericycle, Inc.                             28883 Network Place                                                                            Chicago           IL   60673-1288                 11/16/2022               $1,396.26 Vendors
 2.854 Shred-it, C/O Stericycle, Inc.                             28883 Network Place                                                                            Chicago           IL   60673-1288                 12/20/2022               $1,934.28 Vendors
 2.855 Shusaku Yamamoto Company                                   P.O. Box 31001-1267                                                                            Pasadena          CA   91110-1267                  12/1/2022              $18,873.00 Vendors
 2.856 Shusaku Yamamoto Company                                   P.O. Box 31001-1267                                                                            Pasadena          CA   91110-1267                 12/22/2022              $21,976.00 Vendors
 2.857 Siemens Industry ,Inc                                      C/O Citibank(Bldg Tech)                                 P O Box 2134                           Carol Stream      IL   60132-2134                  1/11/2023                 $228.95 Vendors
 2.858 Sierra Circuits, Inc.                                      1108 West Evelyn Avenue                                                                        Sunnyvale         CA   94086                       1/11/2023               $7,352.80 Vendors
 2.859 Confidential Party 24                                      Address on File                                                                                                                                   1/26/2023               $1,881.69 Terminated employee
 2.860 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/20/2023                 $475.61 Vendors
 2.861 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                 11/18/2022               $7,508.78 Vendors
 2.862 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  12/6/2022               $4,500.34 Vendors
 2.863 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  12/9/2022               $3,961.40 Vendors
 2.864 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                 12/20/2022               $1,566.48 Vendors
 2.865 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                 12/21/2022                 $436.54 Vendors
 2.866 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                   1/6/2023               $1,460.17 Vendors
 2.867 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/11/2023               $2,864.24 Vendors
 2.868 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/11/2023               $2,805.19 Vendors
 2.869 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/11/2023                 $193.01 Vendors
 2.870 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/23/2023               $1,229.60 Vendors
 2.871 Sigma-Aldrich Inc.                                         PO Box 535182                                                                                  Atlanta           GA   30353-5182                  1/27/2023                 $715.86 Vendors
 2.872 Signosis, Inc.                                             1700 Wyatt Drive, Suite 10-12                                                                  Santa Clara       CA   95054                       12/1/2022               $1,652.51 Vendors
 2.873 Silex Microsystems                                         P O BOX 595                                                                                    175 26 Jarfalla                     Sweden        12/19/2022              $68,445.00 Vendors; wire
 2.874 Sino Biological Inc.                                       P.O. Box 591                                                                                   Southeastern      PA   19399                      12/20/2022               $6,295.61 Vendors
 2.875 Sino Biological Inc.                                       P.O. Box 591                                                                                   Southeastern      PA   19399                      12/20/2022                 $940.46 Vendors
 2.876 Sino Biological Inc.                                       P.O. Box 591                                                                                   Southeastern      PA   19399                        1/6/2023               $6,552.92 Vendors
 2.877 Sino Biological Inc.                                       P.O. Box 591                                                                                   Southeastern      PA   19399                       1/11/2023               $2,796.13 Vendors
 2.878 SIX SIGMA HVAC SERVICES, INC.                              3429 POMONA BLVD.,                                      SUITE J                                POMONA            CA   91792                       1/13/2023              $52,827.50 Vendors
 2.879 Skelland Communications                                    P.O.Box 1623                                                                                   La Mesa           CA   91944                       12/9/2022                 $588.00 Vendors
 2.880 Skelland Communications                                    P.O.Box 1623                                                                                   La Mesa           CA   91944                       1/6/2023               $23,744.50 Vendors
 2.881 SMARTPHARM THERAPEUTICS INC                                                                                                                                                                                  11/15/22;             $230,000.00 Transfer to SmartPharm
                                                                                                                                                                                                                     12/23/22
 2.882 Smartsign                                                  DEPT CH 18136                                                                                  PALATINE          IL   60055-8136                  1/20/2023                $307.00 Vendors
 2.883 Smartsign                                                  DEPT CH 18136                                                                                  PALATINE          IL   60055-8136                  1/20/2023                $758.29 Vendors
 2.884 SMC Group International, Inc.                              20250 Acacia St, STE 240                                                                       Newport Beach     CA   92660                      12/19/2022              $21,700.00 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                       Page 12 of 15
                                                                Case 23-90085 Document 900 SOFA
                                                                                            Filed     in TXSB on 06/16/23 Page 42 of 57
                                                                                                3 ATTACHMENT
                                                                                                       Certain payments or transfers to creditors within 90 days before filing this case




   ID                                Creditor's Name                                              Address 1                             Address 2           Address 3            City       State     ZIP       Country      Payment Date   Payment Amount Reason for Payment or Transfer
 2.885 Solidcold Corporation                                               13971 Ramona Ave Ste F                                                                         Chino            CA     91710                        12/9/2022            $2,635.00 Vendors
 2.886 Solidcold Corporation                                               13971 Ramona Ave Ste F                                                                         Chino            CA     91710                        1/11/2023            $1,140.00 Vendors
 2.887 Solv Health, Inc.                                                   1423 Broadway Suite, 312                                                                       Oakland          CA     94612                         1/5/2023            $1,100.00 Vendors
 2.888 Sorrento Valley Holdings, LLC                                       5318 East 2nd Street, #519                                                                     Long Beach       CA     90803                        12/1/2022          $28,876.36 Vendors
 2.889 Sorrento Valley Holdings, LLC                                       5318 East 2nd Street, #519                                                                     Long Beach       CA     90803                         1/1/2023          $29,399.77 Vendors
 2.890 Sorrento Valley Holdings, LLC                                       5318 East 2nd Street, #519                                                                     Long Beach       CA     90803                         2/1/2023          $29,399.77 Vendors
 2.891 South Coast Copy Systems, Inc                                       PO BOX 660831                                                                                  Dallas           TX     75266-0831                   12/1/2022            $1,260.33 Vendors
 2.892 South Coast Copy Systems, Inc                                       PO BOX 660831                                                                                  Dallas           TX     75266-0831                  12/21/2022            $1,181.61 Vendors
 2.893 South Coast Copy Systems, Inc                                       PO BOX 660831                                                                                  Dallas           TX     75266-0831                   1/11/2023            $1,249.06 Vendors
 2.894 SPARKLING KLEEN BY CHIPMUNKS UNLTD LLC                              903 Fernwood Rd                                                                                Woodstock        GA     30189                        12/6/2022              $500.00 Vendors
 2.895 SPARKLING KLEEN BY CHIPMUNKS UNLTD LLC                              903 Fernwood Rd                                                                                Woodstock        GA     30189                         1/5/2023              $500.00 Vendors
 2.896 SPARKLING KLEEN BY CHIPMUNKS UNLTD LLC                              903 Fernwood Rd                                                                                Woodstock        GA     30189                        1/31/2023              $500.00 Vendors
 2.897 Spherotech Inc                                                      27845 Irma Lee Circle, Unit 101                                                                Lake Forest      IL     60045                        12/1/2022              $557.73 Vendors
 2.898 Spherotech Inc                                                      27845 Irma Lee Circle, Unit 101                                                                Lake Forest      IL     60045                         2/2/2023            $3,359.47 Vendors
 2.899 Spruson & Ferguson (Asia) Pte Ltd                                   10878 5505 N Cumberland Ave                             Suite 307                              Chicago          IL     60656-1471                  11/15/2022              $480.00 Vendors
 2.900 Spruson & Ferguson (Asia) Pte Ltd                                   10878 5505 N Cumberland Ave                             Suite 307                              Chicago          IL     60656-1471                   12/1/2022            $4,239.64 Vendors
 2.901 Spruson & Ferguson (Asia) Pte Ltd                                   10878 5505 N Cumberland Ave                             Suite 307                              Chicago          IL     60656-1471                  12/21/2022            $1,980.96 Vendors
 2.902 Spruson & Ferguson (Asia) Pte Ltd                                   10878 5505 N Cumberland Ave                             Suite 307                              Chicago          IL     60656-1471                  12/22/2022              $510.00 Vendors
 2.903 Stanford Sign & Awning                                              2556 Faivre St.                                                                                Chula Vista      CA     91911                         2/1/2023            $3,675.00 Vendors
 2.904                                                                     Division of Corporations                                Post Office Box 5509                   Binghamton       NY     13902-5509                   12/5/2022          $40,000.00 Vendors
       State of Delaware
 2.905 Statista Inc                                                        55 Broad Street                                         30th Floor                             New York         NY    10004                        11/16/2022            $8,904.00 Vendors
 2.906 Statmetrics, LLC                                                    3423 Corte Panorama                                                                            Carlsbad         CA    92009                        11/16/2022            $5,062.50 Vendors
 2.907 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                    12/6/2022            $1,281.41 Vendors
 2.908 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                    12/9/2022              $873.82 Vendors
 2.909 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                   12/20/2022           $11,953.99 Vendors
 2.910 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                   12/21/2022            $4,258.51 Vendors
 2.911 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                     1/6/2023           $34,358.54 Vendors
 2.912 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                    1/11/2023            $1,571.96 Vendors
 2.913 StemCell Technologies Inc.                                          ATTN LBX NO.200590                                                                             Pittsburgh       PA    15251-0590                    1/11/2023            $9,827.37 Vendors
 2.914 StemExpress LLC                                                     1743 Creekside Suite 200                                                                       Folsom           CA    95630                        11/18/2022            $1,920.00 Vendors
 2.915 StemExpress LLC                                                     1743 Creekside Suite 200                                                                       Folsom           CA    95630                         12/9/2022            $1,583.00 Vendors
 2.916 StemExpress LLC                                                     1743 Creekside Suite 200                                                                       Folsom           CA    95630                        12/21/2022              $576.00 Vendors
 2.917 StemExpress LLC                                                     1743 Creekside Suite 200                                                                       Folsom           CA    95630                         1/11/2023              $957.00 Vendors
 2.918 Stericycle, Inc.                                                    28883 Network Place                                                                            Chicago          IL    60673-1288                    1/23/2023              $121.12 Vendors
 2.919 STERIS Corporation                                                  P.O Box 644063                                                                                 Pittsburgh       PA    15264-4063                   12/20/2022            $7,226.77 Vendors
 2.920 STERIS Corporation                                                  P.O Box 644063                                                                                 Pittsburgh       PA    15264-4063                    1/23/2023           $10,138.05 Vendors
 2.921 Stern IR, Inc.                                                      1270 Avenue of the Americas, 19th Floor                                                        New York         NY    10020                          1/6/2023            $5,499.39 Vendors
 2.922 STI - ChemGenes Corporation                                         P.O.BOX 847331                                                                                 Boston           MA    02284-7331                   12/20/2022              $917.48 Vendors
 2.923 STI - Comcast Business                                              PO Box 71211                                                                                   Charlotte        NC    28272-1211                    12/6/2022              $174.45 Vendors
 2.924 STI - Comcast Business                                              PO Box 71211                                                                                   Charlotte        NC    28272-1211                   12/28/2022              $274.23 Vendors
 2.925 STI - Comcast Business                                              PO Box 71211                                                                                   Charlotte        NC    28272-1211                     1/9/2023              $174.45 Vendors
 2.926 STI - Comcast Business                                              PO Box 71211                                                                                   Charlotte        NC    28272-1211                    1/30/2023              $278.59 Vendors
 2.927 STI - Comcast Business                                              PO Box 71211                                                                                   Charlotte        NC    28272-1211                     2/6/2023              $174.45 Vendors
 2.928 STI -Applied Technical Services, Inc.                               1049 Triad Court                                                                               Marietta         GA    30062                         1/11/2023              $387.40 Vendors
 2.929 STI -Applied Technical Services, Inc.                               1049 Triad Court                                                                               Marietta         GA    30062                         1/27/2023            $1,591.60 Vendors
 2.930 Stonington Global LLC                                               800 Stonington Road                                                                            Silver Spring    MD    20902                        11/16/2022           $64,801.53 Vendors
 2.931 Stonington Global LLC                                               800 Stonington Road                                                                            Silver Spring    MD    20902                        12/20/2022           $60,000.00 Vendors
 2.932 Stout Risius Ross, LLC                                              P.O. Box 71770                                                                                 Chicago          IL    60694-1770                   12/20/2022           $10,375.00 Vendors
 2.933                                                                     Sardinera Office Center                                 Costa De Oro C-3,      Dorado          Dorado                 00646      Puerto Rico       12/20/2022           $12,750.00 Vendors
       Strategic Consultants International, LLC dba ProQuality Network
                                                                                                                                   STE 2
 2.934                                                                     Sardinera Office Center                                 Costa De Oro C-3,      Dorado          Dorado                 00646         Puerto Rico     1/6/2023            $13,500.00 Vendors
         Strategic Consultants International, LLC dba ProQuality Network
                                                                                                                                   STE 2
 2.935 Streck, Inc                                                         PO BOX 45625                                                                                   OMAHA            NE    68145                        12/20/2022              $642.38 Vendors
 2.936 Streck, Inc                                                         PO BOX 45625                                                                                   OMAHA            NE    68145                         2/6/2023               $642.71 Vendors
 2.937 Suez WTS Analytical Instruments,Inc                                 13256 Collections Center Drive                                                                 Chicago          IL    60693                        12/20/2022            $6,222.67 Vendors
 2.938 Suez WTS Analytical Instruments,Inc                                 13256 Collections Center Drive                                                                 Chicago          IL    60693                         1/11/2023            $1,471.20 Vendors
 2.939 Suez WTS Analytical Instruments,Inc                                 13256 Collections Center Drive                                                                 Chicago          IL    60693                         1/11/2023            $8,386.00 Vendors
 2.940 Summit Electrical Inc.                                              8810 Recho Road, Ste B                                                                         San Diego        CA    92121                        11/18/2022            $1,468.00 Vendors
 2.941 Summit Electrical Inc.                                              8810 Recho Road, Ste B                                                                         San Diego        CA    92121                        12/6/2022              $815.00 Vendors
 2.942 Summit Electrical Inc.                                              8810 Recho Road, Ste B                                                                         San Diego        CA    92121                         12/9/2022            $3,981.00 Vendors
 2.943 Summit Electrical Inc.                                              8810 Recho Road, Ste B                                                                         San Diego        CA    92121                          1/6/2023            $9,470.00 Vendors
 2.944 Sussex Research Laboratories Inc                                    100 Sussex Drive                                        Suite 1120B                            Ottawa           ON    K1A 0R6    Canada            11/21/2022            $4,295.00 Vendors; wire
 2.945 Synthego Corporation                                                Dept. LA 24911                                                                                 Pasadena         CA    91185-4911                   12/21/2022            $1,493.16 Vendors
 2.946 System Biosciences,LLC                                              P.O.BOX 390                                                                                    Palo Alto        CA    94302                          2/8/2023              $791.32 Vendors
 2.947 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                   11/16/2022            $3,261.49 Vendors
 2.948 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                   11/18/2022            $3,114.38 Vendors
 2.949 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                   12/21/2022            $1,380.28 Vendors
 2.950 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                     1/6/2023              $223.05 Vendors
 2.951 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                    1/11/2023            $1,501.53 Vendors
 2.952 Takara Bio USA,Inc                                                  PO Box 45794                                                                                   San Francisco    CA    94145-0794                    1/11/2023            $2,165.44 Vendors
 2.953 Tammy Reilly                                                        6430 Lunita Rd                                                                                 Malibu           CA    90265                        12/30/2022           $21,604.26 Vendors
 2.954 Taylor Research Inc                                                 PO BOX 741531                                                                                  San Diego        CA    92174                         12/1/2022           $12,000.00 Vendors
 2.955 TDC Northridge, LLC                                                 P.O. BOX 830469, MSC# 503                                                                      Birmingham       AL    35283                         12/1/2022           $11,957.13 Vendors
 2.956 TDC Northridge, LLC                                                 P.O. BOX 830469, MSC# 503                                                                      Birmingham       AL    35283                        12/20/2022              $379.55 Vendors
 2.957 TDC Northridge, LLC                                                 P.O. BOX 830469, MSC# 503                                                                      Birmingham       AL    35283                          1/1/2023           $12,250.13 Vendors
 2.958 TDC Northridge, LLC                                                 P.O. BOX 830469, MSC# 503                                                                      Birmingham       AL    35283                         1/11/2023              $469.86 Vendors
 2.959 TDC Northridge, LLC                                                 P.O. BOX 830469, MSC# 503                                                                      Birmingham       AL    35283                          2/1/2023            $1,102.65 Vendors
 2.960 Tecan US, Inc.                                                      PO BOx 602740                                                                                  Charlotte        NC    28260-2740                   1/11/2023             $2,866.74 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                Page 13 of 15
                                                                   Case 23-90085 Document 900 SOFA
                                                                                               Filed     in TXSB on 06/16/23 Page 43 of 57
                                                                                                   3 ATTACHMENT
                                                                                                               Certain payments or transfers to creditors within 90 days before filing this case




   ID                                Creditor's Name                                                    Address 1                               Address 2           Address 3             City      State     ZIP      Country   Payment Date      Payment Amount Reason for Payment or Transfer
 2.961 Technical Safety Services, Inc.                                            Dept. CH 17717                                                                                  PALATINE         IL     60055-7717              11/16/2022             $11,648.00 Vendors
 2.962 Technical Safety Services, Inc.                                            Dept. CH 17717                                                                                  PALATINE         IL     60055-7717               12/9/2022               $1,404.00 Vendors
 2.963 Technical Safety Services, Inc.                                            Dept. CH 17717                                                                                  PALATINE         IL     60055-7717              12/20/2022               $1,760.00 Vendors
 2.964 Technical Safety Services, Inc.                                            Dept. CH 17717                                                                                  PALATINE         IL     60055-7717              12/21/2022             $12,730.00 Vendors
 2.965 Teknova                                                                    2451 Bert Drive                                                                                 Hollister        CA     95023                   11/16/2022                 $399.04 Vendors
 2.966 Teknova                                                                    2451 Bert Drive                                                                                 Hollister        CA     95023                   11/18/2022                 $557.53 Vendors
 2.967 Teknova                                                                    2451 Bert Drive                                                                                 Hollister        CA     95023                    12/9/2022                 $148.99 Vendors
 2.968 Teknova                                                                    2451 Bert Drive                                                                                 Hollister        CA     95023                   12/21/2022                 $301.79 Vendors
 2.969 Teknova                                                                    2451 Bert Drive                                                                                 Hollister        CA     95023                    1/11/2023                  $90.55 Vendors
 2.970 The Executive Corporation dba The Executive Advertising                    181 E. Main St, Ste 4                                                                           Hendersonville   TN     37075                    1/17/2023               $1,138.43 Vendors
 2.971 The Jackson Laboratory                                                     90260 Collection Center Drive                                                                   Chicago          IL     60693                   11/16/2022             $22,748.16 Vendors
 2.972 The Jackson Laboratory                                                     90260 Collection Center Drive                                                                   Chicago          IL     60693                   11/18/2022             $10,207.15 Vendors
 2.973 The Jackson Laboratory                                                     90260 Collection Center Drive                                                                   Chicago          IL     60693                    12/9/2022               $5,185.56 Vendors
 2.974 The Jackson Laboratory                                                     90260 Collection Center Drive                                                                   Chicago          IL     60693                     1/6/2023               $5,096.97 Vendors
 2.975                                                                            Office of Patent Counsel                                 10550 N. Torrey                        La Jolla         CA     92037                   11/15/2022               $4,267.78 Vendors
       The Scripps Research Institute Office of Patent Counsel
                                                                                                                                           Pines Road
 2.976                                                                            Office of Patent Counsel                                 10550 N. Torrey                        La Jolla         CA    92037                    12/12/2022              $15,290.67 Vendors
         The Scripps Research Institute Office of Patent Counsel
                                                                                                                                           Pines Road
  2.977 Confidential Party 25                                                     Address on File                                                                                                                                   12/6/2022              $1,800.00 Vendors
  2.978 Confidential Party 25                                                     Address on File                                                                                                                                    1/5/2023              $1,800.00 Vendors
  2.979 Thomas Scientific                                                         1654 High Hill Road at I-295, Box 99                                                            Swedesboro       NJ    08085-0099                11/18/2022                 $90.50 Vendors
  2.980 Thomas Scientific                                                         1654 High Hill Road at I-295, Box 99                                                            Swedesboro       NJ    08085-0099                 12/6/2022              $5,360.57 Vendors
  2.981 Thomas Scientific                                                         1654 High Hill Road at I-295, Box 99                                                            Swedesboro       NJ    08085-0099                12/20/2022                $499.78 Vendors
  2.982 Thomson Reuters-West Dba West Publishing Corporation                      PO BOX 6292                                                                                     Carol Stream     IL    60197-6292              1/6/23; 1/12/23           $1,924.00 Vendors
  2.983 Confidential Party 26                                                     Address on File                                                                                                                                  12/21/2022                $400.00 Vendors
  2.984 Toni L Ireland DBA Ireland & Co.                                          3327 Buena Vista Street                                                                         San Diego        CA    92109                      12/8/2022              $5,446.25 Vendors
  2.985 Toppan Merrill LLC                                                        PO Box 74007295                                                                                 Chicago          IL    60674                      1/12/2023             $20,000.00 Vendors
  2.986 Toppan Merrill LLC                                                        PO Box 74007295                                                                                 Chicago          IL    60674                     12/21/2022              $2,424.00 Vendors
  2.987 Toshiba Financial Services                                                P O Box 030310                                                                                  Los Angeles      CA    90030-0310                12/20/2022              $2,745.07 Vendors
  2.988 Trilink Biotechnologies                                                   PO Box 889189                                                                                   Los Angeles      CA    90088-9189                12/21/2022             $14,547.64 Vendors
  2.989 Trilink Biotechnologies                                                   PO Box 889189                                                                                   Los Angeles      CA    90088-9189                  1/6/2023             $26,634.25 Vendors
  2.990 Trusted Tech Team, Inc.                                                   18004 Skypark Circle Suite 120                                                                  Irvine           CA    92614                     11/16/2022             $10,987.91 Vendors
  2.991 Trusted Tech Team, Inc.                                                   18004 Skypark Circle Suite 120                                                                  Irvine           CA    92614                     11/18/2022                $114.00 Vendors
  2.992 Trusted Tech Team, Inc.                                                   18004 Skypark Circle Suite 120                                                                  Irvine           CA    92614                      12/6/2022                $869.65 Vendors
  2.993 Trusted Tech Team, Inc.                                                   18004 Skypark Circle Suite 120                                                                  Irvine           CA    92614                     12/20/2022             $11,426.80 Vendors
  2.994 Trustees of Boston University                                             53 Bay State Road                                                                               Boston           MA    02215                      12/1/2022              $2,090.00 Vendors
  2.995 Trustees of Boston University                                             53 Bay State Road                                                                               Boston           MA    02215                       1/1/2023              $2,090.00 Vendors
  2.996 Trustees of Boston University                                             53 Bay State Road                                                                               Boston           MA    02215                       2/1/2023              $2,090.00 Vendors
  2.997 UKG Inc.                                                                  PO Box 930953                                                                                   Atlanta          GA    31193-0953                11/21/2022              $3,534.62 Vendors
  2.998 UKG Inc.                                                                  PO Box 930953                                                                                   Atlanta          GA    31193-0953                12/12/2022             $76,814.50 Vendors
  2.999 Uline                                                                     PO Box 88741                                                                                    Chicago          IL    60680-1741                 12/1/2022              $1,924.93 Vendors
 2.1000 Uline                                                                     PO Box 88741                                                                                    Chicago          IL    60680-1741                 1/11/2023                $844.48 Vendors
 2.1001 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     11/15/2022                 $77.00 Vendors
 2.1002 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     11/21/2022                $115.50 Vendors
 2.1003 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     11/29/2022                $186.50 Vendors
 2.1004 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                      12/5/2022                $114.00 Vendors
 2.1005 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     12/12/2022                 $77.00 Vendors
 2.1006 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     12/21/2022                 $77.00 Vendors
 2.1007 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                     12/22/2022                $192.50 Vendors
 2.1008 UniFirst Corporation                                                      4041 Market St                                                                                  San Diego        CA    92102                      1/11/2023                 $38.50 Vendors
 2.1009 United Behavioral Health. dba: OPTUM                                      PO Box: 885897                                                                                  Los Angeles      CA    90088-5897                11/15/2022              $1,037.07 Vendors
 2.1010 United Behavioral Health. dba: OPTUM                                      PO Box: 885897                                                                                  Los Angeles      CA    90088-5897                12/30/2022              $1,053.77 Vendors
 2.1011 United Behavioral Health. dba: OPTUM                                      PO Box: 885897                                                                                  Los Angeles      CA    90088-5897                  2/1/2023              $1,050.43 Vendors
 2.1012 United Site Services of California, Inc                                   PO.Box 660475                                                                                   Dallas           TX    75266-0475                12/12/2022              $2,010.40 Vendors
 2.1013 United Site Services of California, Inc                                   PO.Box 660475                                                                                   Dallas           TX    75266-0475                12/22/2022              $4,020.80 Vendors
 2.1014 Universal Protection Service, LP dba Allied Universal Security Services   P.O. Box 31001-2374                                                                             Pasadena         CA    91110-2374                11/17/2022              $1,055.80 Vendors
 2.1015 Universal Protection Service, LP dba Allied Universal Security Services   P.O. Box 31001-2374                                                                             Pasadena         CA    91110-2374                12/15/2022                 $55.64 Vendors
 2.1016 Universal Protection Service, LP dba Allied Universal Security Services   P.O. Box 31001-2374                                                                             Pasadena         CA    91110-2374                12/21/2022              $1,000.16 Vendors
 2.1017 Universal Protection Service, LP dba Allied Universal Security Services   P.O. Box 31001-2374                                                                             Pasadena         CA    91110-2374                  1/5/2023                $536.57 Vendors
 2.1018 UPS Freight                                                               28013 Network Place                                                                             Chicago          IL    60673-1280                11/17/2022                $193.45 Vendors
 2.1019 UPS Freight                                                               28013 Network Place                                                                             Chicago          IL    60673-1280                 12/1/2022              $1,912.40 Vendors
 2.1020 USA Scientific                                                            PO BOX 13387                                                                                    Newark           NJ    07101-3387                11/21/2022                $269.46 Vendors
 2.1021 VanTek Intellectual Property LLP                                          101-1001 West Broadway                                                                          Vancouver        BC    V6H 4E4    Canada         12/12/2022              $1,966.01 Vendors
 2.1022 Veeva Systems,Inc.                                                        PO Box 740434                                                                                   Los Angeles      CA    90074-0434                 12/5/2022                $115.00 Vendors
 2.1023 Veritext, LLC                                                             PO Box 71303                                                                                    Chicago          IL    60694-1303                11/15/2022              $3,678.00 Vendors
 2.1024 Veritext, LLC                                                             PO Box 71303                                                                                    Chicago          IL    60694-1303                12/22/2022             $12,059.19 Vendors
 2.1025 Veterinary & Biomedical R.C. Inc.                                         Research Center, Inc.                                    1290 CR M, Ste. A                      Oakland          NE    68045                     11/15/2022              $5,110.00 Vendors
 2.1026 Vibeke Strand dba Loftis/Strand Consulting Inc                            306 Ramona Road                                                                                 Portola Valley   CA    94028                       1/6/2023                $700.00 Vendors
 2.1027 Viral Science, Inc.                                                       324 N. Jackson St.                                                                              Moscow,          ID    83843                      12/5/2022              $1,375.00 Vendors
 2.1028 Virttu Biologics                                                                                                                                                                                            Scotland        12/9/2022             $14,967.76 Transfer to Virttu
 2.1029 VITALAXIS INC                                                             8000 Virginia Manor Rd Ste. 170                                                                 Beltsville       MD    20705                       1/5/2023              $9,368.56 Vendors
 2.1030 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                11/18/2022              $8,025.89 Vendors
 2.1031 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                 12/6/2022              $4,215.79 Vendors
 2.1032 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                 12/9/2022                $885.39 Vendors
 2.1033 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                12/20/2022             $16,223.59 Vendors
 2.1034 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                12/21/2022              $6,221.45 Vendors
 2.1035 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                  1/6/2023            $119,162.55 Vendors
 2.1036 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                 1/11/2023              $8,109.79 Vendors
 2.1037 VWR International (Avantor)                                               P.O. Box 640169                                                                                 Pittsburgh       PA    15264-0169                 1/11/2023              $6,000.09 Vendors




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                                        Page 14 of 15
                                                           Case 23-90085 Document 900 SOFA
                                                                                       Filed     in TXSB on 06/16/23 Page 44 of 57
                                                                                           3 ATTACHMENT
                                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   ID                                 Creditor's Name                                   Address 1                              Address 2           Address 3             City       State     ZIP       Country   Payment Date   Payment Amount Reason for Payment or Transfer
 2.1038 WASTE MANAGEMENT                                           P.O. Box 541065                                                                               Los Angeles        CA    90054-1065                12/7/2022              $368.39 Vendors
 2.1039 WASTE MANAGEMENT                                           P.O. Box 541065                                                                               Los Angeles        CA    90054-1065                 1/6/2023              $364.37 Vendors
 2.1040 Water Works,Inc.                                           5474 Complex Street , #502                                                                    San Diego          CA    92123                    11/29/2022            $2,532.47 Vendors
 2.1041 Water Works,Inc.                                           5474 Complex Street , #502                                                                    San Diego          CA    92123                    12/22/2022          $53,260.79 Vendors
 2.1042 West Pharmaceutical Services, Inc.                         PO Box 642477                                                                                 Pittsburgh         PA    15264-2477               12/12/2022            $2,787.50 Vendors
 2.1043 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420               11/16/2022          $11,360.05 Vendors
 2.1044 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420               11/18/2022            $4,172.79 Vendors
 2.1045 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420                12/6/2022            $3,858.27 Vendors
 2.1046 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420                12/9/2022              $885.30 Vendors
 2.1047 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420               12/20/2022            $5,937.23 Vendors
 2.1048 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420               12/21/2022            $2,580.33 Vendors
 2.1049 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420                 1/6/2023            $5,095.45 Vendors
 2.1050 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420                1/11/2023          $12,947.76 Vendors
 2.1051 WestAir Gases & Equipment Inc                              PO Box 101420                                                                                 Pasadena           CA    91189-1420                1/11/2023            $2,044.07 Vendors
 2.1052 Wilson Wolf Manufacturing Corporation                      PO Box 856731                                                                                 Minneapolis        MN    55485-6731               11/29/2022          $34,072.39 Vendors
 2.1053 Wissing's Inc DBA TPS Printing                             9906 Mesa Rim Rd                                                                              San Diego          CA    92121                    12/20/2022            $7,499.40 Vendors
 2.1054 Witte, Weller & Partner Patentanwalte mbB                  Koenigstrasse 5                                                                               70173 Stuttgart,                                   1/17/2023              $304.18 Vendors; wire
                                                                                                                                                                 Germany
 2.1055 World Courier Inc.                                         P.O.Box 842325                                                                                Boston             MA   02284-2325                11/17/2022              $917.72 Vendors
 2.1056 World Courier Inc.                                         P.O.Box 842325                                                                                Boston             MA   02284-2325                12/15/2022               $38.39 Vendors
 2.1057 World Courier Inc.                                         P.O.Box 842325                                                                                Boston             MA   02284-2325                 1/5/2023               $539.54 Vendors
 2.1058 WSHP FC Holdings LLC dba Discovery Life Sciences           800 Hudson Way                                         Suite 1700                             Huntsville         AL   35806                     11/16/2022            $5,605.00 Vendors
 2.1059 WuXi AppTec Inc                                            2540 Executive Drive                                                                          St Paul            MN   55120                     11/17/2022            $1,375.00 Vendors
 2.1060 WuXi AppTec Inc                                            2540 Executive Drive                                                                          St Paul            MN   55120                      1/11/2023           $12,075.00 Vendors
 2.1061 WuXi AppTec Inc                                            2540 Executive Drive                                                                          St Paul            MN   55120                      1/23/2023              $475.00 Vendors
 2.1062 Confidential Party 27                                      Address on File                                                                                                                                 11/29/2022            $2,062.97 Terminated employee
 2.1063 Ximedica LLC                                               55 Dupont Drive                                                                               Providence         RI   2907                      11/17/2022           $63,894.61 Vendors
 2.1064 Ximedica LLC                                               55 Dupont Drive                                                                               Providence         RI   2907                       1/11/2023           $51,639.26 Vendors
 2.1065 Ximedica LLC                                               55 Dupont Drive                                                                               Providence         RI   2907                       1/23/2023           $33,601.45 Vendors
 2.1066 Yaboumba                                                   10 boulevard de Picpus 75012 PARIS 75012 Paris 12                                             Paris                          75012 France        1/19/2023            $7,699.50 Vendors; wire

 2.1067 Confidential Party 28                                      Address on File                                                                                                                                 12/30/2022           $40,243.15 Vendors
 2.1068 ZHEJIANG ACEA PHARMACEUTICAL CO LTD                                                                                                                                                            China        2/6/2023           $500,000.00 Transfer to ACEA
 2.1069 Confidential Party 29                                      Address on File                                                                                                                                 11/30/2022            $5,537.97 Terminated employee




In re: Sorrento Therapeutics, Inc.
Case No.: 23-90085 (DRJ)                                                                                                       Page 15 of 15
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 45 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                      Amount of Money
                                                                                                                                       or Description
                                                                                                  Relationship to the                   and Value of     Reason for Providing the
    Recipient's Name                     Address 1         City     State        ZIP Country            Debtor              Dates         Property                 Value
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.            Subsidiary             3/2/2022     $1,100,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary            4/6/2022     $1,200,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           4/18/2022      $300,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           5/24/2022     $1,500,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           6/29/2022     $1,500,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           7/29/2022     $1,200,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           8/31/2022     $1,100,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary          10/13/2022     $2,000,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           11/8/2022     $1,600,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary          12/21/2022     $1,000,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary          12/23/2022     $1,100,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary            2/7/2023      $500,000.00 Intercompany Service
                                                                                                                                                        Agreement
ACEA Therapeutics, Inc.          4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary            2/7/2023      $500,000.00 Intercompany Service
                                                                                                                                                        Agreement
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           2/23/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            3/2/2022      $100,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           3/17/2022      $100,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            4/4/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           4/27/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           5/17/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            6/1/2022      $200,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           6/29/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           7/18/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 1 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 46 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                      Amount of Money
                                                                                                                                       or Description
                                                                                                  Relationship to the                   and Value of     Reason for Providing the
     Recipient's Name                   Address 1          City     State        ZIP Country            Debtor              Dates         Property                 Value
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.            Subsidiary            7/29/2022      $200,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           8/17/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           8/30/2022      $400,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           9/16/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           10/3/2022      $200,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary          10/18/2022      $200,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           11/2/2022      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary           12/1/2022      $100,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            1/4/2023      $300,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            2/1/2023      $100,000.00 Funding for BioServ
                                                                                                                                                        Operations
BioServ Corporation              5340 Eastgate Mall     San Diego CA            92121 U.S.             Subsidiary            2/7/2023      $200,000.00 Funding for BioServ
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           2/16/2022      $100,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary            4/4/2022      $200,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           4/15/2022     $2,600,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           4/29/2022      $200,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           5/17/2022      $200,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           6/14/2022      $100,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary            7/5/2022     $3,100,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           9/16/2022      $200,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary          11/17/2022      $300,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary          12/19/2022      $100,000.00 Funding for Concortis
                                                                                                                                                        Operations
Concortis Biosystems, Corp.      4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary           1/18/2023      $100,000.00 Funding for Concortis
                                                                                                                                                        Operations


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 2 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 47 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                          Amount of Money
                                                                                                                                           or Description
                                                                                                  Relationship to the                       and Value of     Reason for Providing the
     Recipient's Name                   Address 1          City        State      ZIP   Country         Debtor                  Dates         Property                Value
David Lemus (Lemax LLC)          Address on file                                                    Board Director               4/5/2022        $30,000.00 Board Compensation

David Lemus (Lemax LLC)          Address on file                                                     Board Director             6/30/2022        $30,000.00 Board Compensation

David Lemus (Lemax LLC)          Address on file                                                     Board Director             9/30/2022        $30,000.00 Board Compensation

David Lemus (Lemax LLC)          Address on file                                                     Board Director        12/30/2022            $30,000.00 Board Compensation

Dorman Followwill                Address on file                                                     Board Director             4/12/2022        $46,125.00 Board Compensation

Dorman Followwill                Address on file                                                     Board Director             6/29/2022        $46,125.00 Board Compensation

Dorman Followwill                Address on file                                                     Board Director             9/23/2022        $46,125.00 Board Compensation

Dorman Followwill                Address on file                                                     Board Director             1/18/2023        $46,125.00 Board Compensation

Dorman Followwill                Address on file                                                     Board Director             1/19/2023         $1,761.00 Scilex Share Dividend

Elina Labs LLC                   4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary               7/14/2022        $38,750.00 Upfront Payment for
                                                                                                                                                            Acquisition
Elina Labs LLC                   4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary               7/21/2022         $9,041.67 Upfront Payment for
                                                                                                                                                            Acquisition
Elina Labs LLC                   4955 Directors Place   San Diego CA            92121 U.S.             Subsidiary                8/8/2022         $5,166.68 Upfront Payment for
                                                                                                                                                            Acquisition
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business            6/3/2022        $50,000.00 Bonus
                                                                                                   & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business           6/17/2022          $500.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business            7/5/2022          $500.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business           7/20/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business            8/5/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business           8/19/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business            9/2/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business           9/20/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business           10/5/2022         $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.        EVP, Chief Business      10/20/2022             $1,000.00 Employer 401(k)
                                                                                                   & Financial Officer                                      Contribution


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 3 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 48 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                      Amount of Money
                                                                                                                                       or Description
                                                                                             Relationship to the                        and Value of     Reason for Providing the
      Recipient's Name                   Address 1         City     State        ZIP Country       Debtor                   Dates         Property                 Value
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business            11/4/2022         $1,000.00 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business           11/18/2022         $1,000.00 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business            12/5/2022         $1,000.00 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business             1/6/2023         $1,000.00 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business            1/20/2023          $923.04 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business             2/3/2023          $963.44 Employer 401(k)
                                                                                              & Financial Officer                                       Contribution
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business             6/3/2022        $10,416.66 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                6/17/2022    $12,000.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                 7/5/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                7/20/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                 8/5/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                8/19/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                 9/2/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                9/20/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                10/5/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business           10/20/2022        $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                11/4/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business           11/18/2022        $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                12/5/2022    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business           12/20/2022        $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                 1/6/2023    $12,500.00 Gross Salary
                                                                                              & Financial Officer
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                1/20/2023    $11,538.46 Gross Salary
                                                                                              & Financial Officer


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 4 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 49 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                          Amount of Money
                                                                                                                                           or Description
                                                                                             Relationship to the                            and Value of     Reason for Providing the
      Recipient's Name                   Address 1         City     State        ZIP Country       Debtor                       Dates         Property                Value
Elizabeth Czerepak               4955 Directors Place   San Diego CA            92121 U.S.   EVP, Chief Business                 2/3/2023        $11,538.46 Gross Salary
                                                                                              & Financial Officer
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.    Chairman & CEO                    2/18/2022         $1,789.01 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               3/4/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              3/18/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               4/5/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              4/20/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               5/5/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              5/20/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               6/3/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              6/17/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               7/5/2022         $2,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              7/20/2022         $1,000.00 Employer 401(k)
                                                                                                                                                            Contribution
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              9/20/2022      ($12,832.50) Employer 401(k)
                                                                                                                                                            Contribution Reduction
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              4/20/2022          $375.00 Employer HSA Contribution

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               7/5/2022          $375.00 Employer HSA Contribution

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              10/5/2022          $375.00 Employer HSA Contribution

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               8/5/2022        $27,673.76 Expense Reimbursement

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               1/6/2023        $17,389.67 Expense Reimbursement

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              2/18/2022        $44,725.25 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               3/4/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              3/18/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               4/5/2022        $62,500.00 Gross Salary



In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 5 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 50 of 57
                                                                       SOFA 4 ATTACHMENT (REVISED)
                                                        Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                          Amount of Money
                                                                                                                                           or Description
                                                                                                  Relationship to the                       and Value of     Reason for Providing the
     Recipient's Name                    Address 1         City     State        ZIP Country            Debtor                  Dates         Property                Value
Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.         Chairman & CEO               4/20/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               5/5/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              5/20/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               6/3/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              6/17/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               7/5/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              7/20/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               8/5/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              8/19/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               9/2/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              9/20/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              10/5/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO         10/20/2022            $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              11/4/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO         11/18/2022            $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              12/5/2022        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO         12/20/2022            $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               1/6/2023        $62,500.00 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              1/20/2023        $57,690.09 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO               2/3/2023        $57,690.09 Gross Salary

Henry Ji                         4955 Directors Place   San Diego CA            92121 U.S.          Chairman & CEO              1/19/2023     $3,541,359.26 Scilex Share Dividend

Jaisim Shah (Inform LLC)         Address on file                                                     Board Director              4/5/2022        $20,625.00 Board Compensation



In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                             Page 6 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 51 of 57
                                                                          SOFA 4 ATTACHMENT (REVISED)
                                                           Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                             Amount of Money
                                                                                                                                              or Description
                                                                                                     Relationship to the                       and Value of     Reason for Providing the
      Recipient's Name                  Address 1             City        State      ZIP   Country         Debtor                  Dates         Property                Value
Jaisim Shah (Inform LLC)         Address on file                                                       Board Director              6/30/2022        $20,625.00 Board Compensation

Jaisim Shah (Inform LLC)         Address on file                                                        Board Director             9/30/2022        $20,625.00 Board Compensation

Jaisim Shah (Inform LLC)         Address on file                                                        Board Director        12/30/2022            $20,625.00 Board Compensation

Jaisim Shah (Inform LLC)         Address on file                                                        Board Director             1/29/2023       $661,155.71 Scilex Share Dividend

Kim Janda                        Address on file                                                        Board Director              4/5/2022        $20,625.00 Board Compensation

Kim Janda                        Address on file                                                        Board Director             6/30/2022        $20,625.00 Board Compensation

Kim Janda                        Address on file                                                        Board Director             9/30/2022        $20,625.00 Board Compensation

Kim Janda                        Address on file                                                        Board Director        12/30/2022            $20,625.00 Board Compensation

Levena Suzhou Biopharma          Room 301, B8, No.218      Suzhou      Jiangsu           P.R.             Subsidiary          10/14/2022          $562,500.00 Intercompany Service
Co., Ltd.                        Xinghu Street                                           China                                                                 Agreement
Levena Suzhou Biopharma          Room 301, B8, No.218      Suzhou      Jiangsu           P.R.             Subsidiary               11/8/2022     $1,000,000.00 Intercompany Service
Co., Ltd.                        Xinghu Street                                           China                                                                 Agreement
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               2/14/2022    $10,000,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               2/15/2022    $25,000,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               3/18/2022     $3,500,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               3/23/2022      $500,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               3/30/2022    $23,000,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary                6/2/2022    $15,000,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scilex Holding Company           960 San Antonio Road      Palo Alto   CA          94303 U.S.             Subsidiary               9/28/2022    $34,000,000.00 Funding for Scilex
                                                                                                                                                               Operations / Debt Payment
Scintilla Pharmaceuticals, Inc. 7 Switchbud Place, Suite   The       TX            77380 U.S.             Subsidiary               2/10/2023        $60,000.00 Funding for Scintilla Account
                                192-513                    Woodlands
Semnur Pharmaceuticals, Inc. 960 San Antonio Road          Palo Alto CA            94303 U.S.             Subsidiary               2/18/2022       $500,000.00 Funding for Semnur
                                                                                                                                                               Operations
Semnur Pharmaceuticals, Inc. 960 San Antonio Road          Palo Alto   CA          94303 U.S.             Subsidiary                3/4/2022       $500,000.00 Funding for Semnur
                                                                                                                                                               Operations
Semnur Pharmaceuticals, Inc. 960 San Antonio Road          Palo Alto   CA          94303 U.S.             Subsidiary               4/18/2022       $300,000.00 Funding for Semnur
                                                                                                                                                               Operations
Semnur Pharmaceuticals, Inc. 960 San Antonio Road          Palo Alto   CA          94303 U.S.             Subsidiary               5/24/2022       $250,000.00 Funding for Semnur
                                                                                                                                                               Operations


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                                Page 7 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 52 of 57
                                                                         SOFA 4 ATTACHMENT (REVISED)
                                                          Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                        Amount of Money
                                                                                                                                         or Description
                                                                                                    Relationship to the                   and Value of     Reason for Providing the
    Recipient's Name                Address 1                City       State      ZIP Country            Debtor              Dates         Property                 Value
Semnur Pharmaceuticals, Inc. 960 San Antonio Road         Palo Alto   CA          94303 U.S.            Subsidiary            6/23/2022      $250,000.00 Funding for Semnur
                                                                                                                                                          Operations
Semnur Pharmaceuticals, Inc. 960 San Antonio Road         Palo Alto   CA          94303 U.S.             Subsidiary           7/14/2022      $200,000.00 Funding for Semnur
                                                                                                                                                          Operations
Semnur Pharmaceuticals, Inc. 960 San Antonio Road         Palo Alto   CA          94303 U.S.             Subsidiary           9/14/2022      $400,000.00 Funding for Semnur
                                                                                                                                                          Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary           7/18/2022      $300,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary           8/17/2022      $200,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary          10/18/2022      $200,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary           12/1/2022      $100,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary           1/18/2023      $100,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
SmartPharm Therapeutics,         4955 Directors Place     San Diego CA            92121 U.S.             Subsidiary           2/10/2023        $30,000.00 Funding for SmartPharm
Inc.                                                                                                                                                      Operations
Sorrento Therapeutics            Campos Elíseos 400-701   Ciudad de CP            11000 Mexico           Subsidiary           10/6/2022      $262,010.60 Loan to Sorrento Mexico
Mexico, S. de R.L. de C.V.                                México
Tammy Reilly                     Address on file                                                       Board Director             4/14/2022    $20,625.00 Board Compensation

Tammy Reilly                     Address on file                                                       Board Director             6/30/2022     $9,979.84 Board Compensation

Tammy Reilly                     Address on file                                                       Board Director             11/1/2022    $20,625.00 Board Compensation

Tammy Reilly                     Address on file                                                       Board Director              4/3/2022       $797.26 Expense Reimbursement

Virttu Biologics Limited         Bo Ness Road Newhouse                                    U.K.           Subsidiary               12/9/2022    $12,000.00 Funding for Virttu
                                 Lanarkshire ML1 5UH                                                                                                      Operations
Yue Alexander Wu                 Address on file                                                       Board Director              4/5/2022    $37,500.00 Board Compensation

Yue Alexander Wu                 Address on file                                                       Board Director             6/30/2022    $37,500.00 Board Compensation

Yue Alexander Wu                 Address on file                                                       Board Director             9/30/2022    $37,500.00 Board Compensation

Yue Alexander Wu                 Address on file                                                       Board Director        12/30/2022        $37,500.00 Board Compensation

Yue Alexander Wu                 Address on file                                                       Board Director        12/30/2022         $2,743.15 Expense Reimbursement

Zhejiang ACEA                    No. 78, Baiyun Middle    Quzhou      Zhejiang            P.R.           Subsidiary               2/25/2022   $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                   China                                                           Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle    Quzhou      Zhejiang            P.R.           Subsidiary                3/7/2022   $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                   China                                                           Agreement


In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                               Page 8 of 9
                                       Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 53 of 57
                                                                        SOFA 4 ATTACHMENT (REVISED)
                                                         Payments, distributions, or withdrawals credited or given to insiders

                                                                                                                                       Amount of Money
                                                                                                                                        or Description
                                                                                                   Relationship to the                   and Value of    Reason for Providing the
      Recipient's Name                   Address 1         City        State       ZIP   Country         Debtor              Dates         Property               Value
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.          Subsidiary            4/15/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary           5/24/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary            7/1/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary           7/26/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary            9/6/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary          10/13/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary          10/14/2022      $250,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement
Zhejiang ACEA                    No. 78, Baiyun Middle   Quzhou      Zhejiang            P.R.           Subsidiary            2/6/2023      $500,000.00 Intercompany Service
Pharmaceutical Co., Ltd.         Avenue                                                  China                                                          Agreement




In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                              Page 9 of 9
                                                         Case 23-90085 Document 900 SOFA
                                                                                      Filed    in TXSB on 06/16/23 Page 54 of 57
                                                                                         7 ATTACHMENT
                                                                            Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



                                                                                                                                                                                                                                                Status of Case
                                                                                                                                                                                                                                                 (Pending / On
                                                                                                                                                                                                                                                   Appeal /
                 Case Title                             Case #                                   Nature of Case                                          Court or Agency's Name                           Court or Agency's Address               Concluded)
  Chaudhari v. Ji, et al.                  3:21-cv-01331-AJB-DEB         850 Securities/Commodities                                        Southern District of California (San Diego)           333 W Broadway #420, San Diego, CA 92101           Pending
  Giglio vs. Sorrento Therapeutics, Inc.   37-2022-00041591-CU-WTCTL     Civil - Wrongful Termination                                      Superior Court of California, County of San Diego     333 W Broadway #420, San Diego, CA 92101           Pending
  Sorrento Therapeutics, Inc. v. NantCell, 19STCV11328                   Derivative action for breach of contract, breach of fiduciary     Superior Court of California, County of Los Angeles   111 North Hill Street, Los Angeles, CA 90012       Pending
  Inc., et al.                                                           duties
  Immunotherapy NANTibody, LLC, et al. 19STCV18304                       Civil                                                             Superior Court of California, County of Los Angeles   111 North Hill Street, Los Angeles, CA 90012        Stayed
  v. Sorrento Therapeutics, Inc., et al.

  Sorrento Therapeutics, Inc. v. Patrick    19STCV11328                  Civil - Fraudulent inducement, common law fraud                   Superior Court of California, County of Los Angeles   111 North Hill Street, Los Angeles, CA 90012    19STCV11328
  Soon-Shiong, et al.                       20STCV08789                                                                                                                                                                                            Pending
                                                                                                                                                                                                                                                 20STCV08789
                                                                                                                                                                                                                                                    Stayed
  Sorrento Therapeutics, Inc. v.            23STCP00295                  Breach of contract                                                Superior Court of California, County of Los Angeles   111 North Hill Street, Los Angeles, CA 90012       Pending
  NantPharma, LLC
  Sorrento Therapeutics, Inc., et al. v.    37-2018-00032934             Breach of contract, tortious interference with contract,          San Diego Superior Court                              333 W Broadway #420, San Diego, CA 92101          Stayed by
  Miao, et al.                                                           fraudulent inducement, violation of California Uniform Trade                                                                                                           bankruptcy action
                                                                         Secrets Act (among others)
  Sorrento Therapeutics, Inc., et al. v. Li, 37-2021-00026791            Breach of fiduciary duty/duty of loyalty, breach of contract,     San Diego Superior Court                              333 W Broadway #420, San Diego, CA 92101          Stayed by
  et al.                                                                 tortious interference with prospective economic advantage,                                                                                                               stipulation of
                                                                         and against Adcentrx for aiding and abetting Li’s                                                                                                                            parties
                                                                         aforementioned breaches and inducing breach of contract

  Sorrento Therapeutics, Inc., et al. v. Li, CAUSE NO: FSD 183 OF 2022   Breach of fiduciary duty/duty of loyalty, breach of contract,     Grand Court of the Cayman Islands                     Courthouse, 61 Edward Street, George Town,        Stayed by
  et al.                                                                 tortious interference with prospective economic advantage,                                                              Grand Cayman                                     stipulation of
                                                                         and against Adcentrx for aiding and abetting Li’s                                                                                                                            parties
                                                                         aforementioned breaches and inducing breach of contract

  Sorrento Therapeutics, Inc. v. CBC        HKIAC/A21102                 Breach of a non-disclosure agreement and trade secret                                                                                                                     Stayed by
  Group Investment Mgm’t                                                 misappropriation                                                                                                                                                        stipulation of
                                                                                                                                                                                                                                                     parties
  Sorrento Therapeutics, Inc. v. Deverra    37-2022-00034031-CUBC-CTL    Breach of contract, breach of implied covenant of good faith      San Diego Superior Court                              333 W Broadway #420, San Diego, CA 92101       Stayed pending
  Therapeutics, Inc. et al.                                              and faire dealing, fraud in the inducement, negligent                                                                                                                     settlement
                                                                         misrepresentation, unjust enrichment, promissory estoppel,                                                                                                               discussions
                                                                         money had and received
  Andrew Zenoff v. Sorrento                 22-55641                     Civil                                                             U.S. Court of Appeals for the Ninth Circuit           125 South Grand Avenue, Pasadena, CA 91105       On Appeal /
  Therapeutics, Inc., et al.                                                                                                                                                                                                                       Pending
  Michael Sabatina v. Ji, et al.            2021-0654-JTL                Civil                                                             Delaware Chancery Court                               34 The Circle, Georgetown, DE 19947                Stayed

  Prospect Medical Holdings, Inc., et al.   20SMCV01128                  Civil                                                             Superior Court of California, County of Los Angeles   111 North Hill Street, Los Angeles, CA 90012        Stayed
  v. Sorrento Therapeutics, Inc., et al.

  Prospect Medical Holdings, Inc., et al.   1100110590                   Civil                                                             JAMS Arbitration                                      5 Park Plaza, Suite 400, Irvine, CA 92614          Pending
  v. Sorrento Therapeutics, Inc., et al.




In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                                                                      Page 1 of 1
                                                    Case 23-90085 Document 900 SOFA
                                                                                 Filed     in TXSB on 06/16/23 Page 55 of 57
                                                                                    25 ATTACHMENT
                                                                                        Other businesses in which the debtor has or has had an interest



                                                                                                                                                                                                                      Employer
                                                                                                                                                                                                                   Identification
                              Business Name                                        Address 1                               City      State        ZIP          Country       Describe the Nature of the Business       Number           From         To
 BDL Products Inc                                            1 Lyndeboro Place                                      Boston          MA       1226                        Research and Development                    XX-XXXXXXX       8/7/2015     Present
 SmartPharm Therapeutics Inc                                 650 E. Kendall Street                                  Cambridge       MA       2142                        Research and Development                    XX-XXXXXXX       9/1/2020     Present
 NantCancerStemCell LLC                                      9920 Jefferson Street                                  Culver city     CA       90232                       Joint Venture                               XX-XXXXXXX       7/31/2015    Present
 Vavotar Life Sciences LLC                                   1234 Airport Rd                                        Destin          Fl       32541                       Research and Development                    XX-XXXXXXX      12/31/2020    Present
 Immunotherapy NANTibody LLC                                 2040 E. Mariposa Avenue                                El Segundo      CA       90245                       Joint Venture                               XX-XXXXXXX      7/31/2015     Present
 Celularity Inc                                              170 Park Ave                                           Florham Park    NJ       7932                        Research and Development                    XX-XXXXXXX       6/12/2017    Present
 Shenzhen Yunma Biotechnology Co Ltd                         12 South Science Road                                  Gaoxin                                     China     CBD Commercialization                      FOREIGNUS          5/5/2019    Present
 Yunnan Masheng                                              12 South Science Road                                  Gaoxin                                     China     Research and Development                  FOREIGNUS          7/9/2019     Present
 Sorrento Therapeutics Inc Hong Kong Limited                 18 Floor one exchange square, 8 CONNAUGHT              Hong Kong                                  China     Research and Development                   FOREIGNUS         12/4/2012    Present
                                                             PLACE, CENTRAL, HONG KONG, CHINA
 Virttu Biologics Ltd                                        13-19 Queen Street                                     Leeds                                      Uk        Research and Development                  FOREIGNUS         4/27/2017     Present
 Globavir Biosciences Inc                                    5150 El Camino Real A-32                               Los Altos       CA       94022                       Research and Development                    Unknown         1/28/2015     Present
 Unicycive Therapeutics Inc                                  5150 El Camino Real                                    Los Altos       CA       94022                       Research and Development                    Unknown          7/1/2017    11/18/2021
 NantBioScience Inc                                          992- Jeffersonn Blvd                                   Los Angeles     CA       90232                       Joint Venture                              XX-XXXXXXX       4/29/2015     Present
 Scilex Pharmaceuticals Inc                                  301 Lindenwood Drive                                   Malvern         PA       19355                       Research and Development                   XX-XXXXXXX       11/8/2016     Present
 Sorrento Therapeutics Mexico, S. de R.L. de C.V.            Campos Eliseos 400-701, Colonia Polanco,               Mexico City              11560             Mexico    Product Sales                             FOREIGNUS         9/14/2021     Present
                                                             Delegacion Miguel Hidalgo, Cuidad de Mexico 11560

 Semnur Pharmaceutical Inc                                   301 N Whisman RD #100                                  Mountain View   CA       94043                   Research and Development                       XX-XXXXXXX        3/18/2019     Present
 Levena Nanjing Biopharma Co LTD                             NO. 9 Weidi Road                                       Nanjing                  F6421             China Contract Manufacturing Services               FOREIGNUS         10/13/2013     Present
 Pulsar Therapeutics Inc                                     36 Ford Ln                                             Naperville      IL       60565                   Research and Development                        Unknown          5/13/2020     Present
 Ark Animal Health Inc                                       4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        2/27/2014     Present
 BioServ Corporation                                         5340 Eastgate Mall                                     San Diego       CA       92121                   Research and Development                       XX-XXXXXXX       11/17/2016     Present
 Brink Biologics Inc                                         3530 John Hopkins Ct                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX       12/31/2015     Present
 Coentre Technologies LLC                                    4955 Directors Place                                   San Diego       CA       92121                   Research and Development                        Unknown          12/9/2016    Unknown
 Concortis Biosystems Corp                                   4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX       12/19/2013     Present
 Concortis Inc                                               4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        12/6/2016     Present
 Coneksis Inc                                                3530 John Hopkins Ct                                   San Diego       CA       92121                   Research and Development                        Unknown         12/31/2015     Present
 Cytimm Therapeutics Inc                                     4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        6/12/2020     Present
 Elsie Biotechnologies                                       10355 Science Center Drive                             San Diego       CA       92121                   Research and Development                        Unknown          4/27/2021     Present
 LA Cell Inc                                                 4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX         5/1/2015   12/29/2020
 Levena Biopharma US Inc                                     4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        12/6/2016     Present
 Levena San Diego Corp                                       4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        11/4/2016    7/10/2020
 Scintilla Health Inc                                        4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX         5/5/2019     Present
 Scintilla Pharmaceuticals Inc                               4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        6/1/2015      Present
 SNAN Holding Company LLC                                    4955 Directors Place                                   San Diego       CA       92121                   Holding Company                               Not applied for   11/18/2016     Present
 Sorrento Biologics Inc                                      4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX       10/30/2015     Present
 Sorrento Capital Acquisition Corp I                         4955 Directors Place                                   San Diego       CA       92121                   Holding Company                                XX-XXXXXXX        4/15/2021     Present
 Sorrento Holding Company                                    4955 Directors Place                                   San Diego       CA       92121                   Holding Company                                XX-XXXXXXX        4/15/2021     Present
 TNK Therapeutics Inc                                        4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        4/15/2015     Present
 Aardvark Therapeutics Inc                                   12707 High Bluff Drive                                 San Diego       CA       92130-2035              Research and Development                       XX-XXXXXXX        5/17/2021     Present
 ACEA Therapeutics Inc                                       4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        6/1/2021      Present
 ACEA Therapeutics Ltd                                       4955 Directors Place                                   San Diego       CA       92121                   Research and Development                      FOREIGNUS           6/1/2021     Present
 CARgenix Holdings LLC                                       4955 Directors Place                                   San Diego       CA       92121                   Research and Development                       XX-XXXXXXX        8/7/2015      Present
 Elina Labs LLC                                              4955 Directors Place                                   San Diego       CA       92121                   Medical Laboratory Service                     XX-XXXXXXX        8/16/2022     Present
 Hangzhou ACEA Pharmaceutical Co Ltd                         4955 Directors Place                                   San Diego       CA       92121                   Research and Development                      FOREIGNUS           6/1/2021     Present
 Scilex Holding Company                                      4955 Directors place                                   San Diego       CA                         92121 Holding Company                                XX-XXXXXXX       11/10/2022     Present
 Scilex Inc                                                  4955 Directors place                                   San Diego       CA                         92121 Research and Development                       XX-XXXXXXX        2/27/2019     Present
 Shanghai 3 Biotechnology Co Ltd                             4955 Directors Place                                   San Diego       CA                         92121 Research and Development                      FOREIGNUS          3/31/2016     Present
 Siniwest Holding Corp                                       4955 Directors Place                                   San Diego       CA                         92121 Holding Company                                XX-XXXXXXX       10/23/2015     Present
 Virex Health Inc                                            4955 Directors Place                                   San Diego       CA                         92121 Research and Development                       XX-XXXXXXX         2/1/2022     Present
 Zhejiang ACEA Pharmaceutical Co Ltd                         4955 Directors Place                                   San Diego       CA                         92121 Research and Development                      FOREIGNUS           6/1/2021     Present
 Deverra Therapeutics Inc                                    1600 Fairview Ave E, Suite 300                         Seattle         WA                         98102 Research and Development                        Unknown          8/24/2021     Present
 ImmunityBio (IBRX)                                          440 Duley Road                                         Segundo         CA                         90245 Research and Development                       XX-XXXXXXX        4/21/2015    9/30/2021
 ImmuneOncia Therapeutics Inc                                Wins-tower 6F, 15, Pangyo-ro 228beon-gil, Bundang-     Seoul                            13487 Korea     Joint Venture                                 FOREIGNUS           9/1/2016     Present
                                                             gu, Seongnam-si, Gyeonggi-do
 Ningbo Ziyuan Medical Device Co Ltd                         Tianlin Rd #200, 2nd Floor                             Shanghai                                   China     Research and Development                  FOREIGNUS          6/6/2017     Present
 Sorrento Shanghai Medical Technology Co                     Tianlin Rd #200, 2nd Floor                             Shanghai                                   China     Product Sales                             FOREIGNUS          7/18/2019    Present
 Sorrento Therapeutics (Shanghai) Co Ltd                     Tianlin Rd #200, 2nd Floor                             Shanghai                                   China     Research and Development                  FOREIGNUS          6/6/2017     Present
 Shenzhen Sorrento Medical Technology Co., Ltd               Room02B50,16th Floor, Building AB,Nanfang              Shenzhen                                   China     Research and Development                  FOREIGNUS         12/10/2021    Present
                                                             Securities Building,No.2016,2018, Jianshe Rd, Jiabei
                                                             Community,Nanhu Street,Luohu District
 Jiangsu Levena                                              B4 ,No.58, Chunpu Road,Suzhou Industrial Park,         Suzhou                                     China     Contract Manufacturing Services           FOREIGNUS         10/26/2021    Present
                                                             Suzhou,Jiangsu ,China
 Levena Suzhou Biopharma Co LTD                              218 Xinghu Street                                      Suzhou                                     China     Contract Manufacturing Services           FOREIGNUS         6/2/2016      Present
 Adnab Inc                                                   21171 S Western Ave                                    Torrace         CA                  2708             Research and Development                  XX-XXXXXXX        9/8/2020      Present
 Zhengzhou Fortune Bioscience Co., Ltd.                      Henan Province                                         Zhengzhou                                  China     Research and Development                  FOREIGNUS         5/18/2022    2/12/2023




In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                                                             Page 1 of 1
                                 Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 56 of 57
                                                                SOFA 29 ATTACHMENT
Former officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor within
                                                           1 year before the filing of this case

                        Name                                  Address                              Position and Nature of Any Interest
             Brian S. Sun                  4955 Directors Place, San Diego, CA 92121                 SVP, General Counsel (Former)

             Elizabeth Czerepak            4955 Directors Place, San Diego, CA 92121                       Former Board Director

             Robin Smith MD MBA            4955 Directors Place, San Diego, CA 92121                       Former Board Director




In re: Sorrento Therapeutics, Inc.
Case No. 23-90085 (DRJ)                                                 Page 1 of 1
                          Case 23-90085 Document 900 Filed in TXSB on 06/16/23 Page 57 of 57

Fill in this information to identify the case:

Debtor name: Sorrento Therapeutics, Inc.

United States Bankruptcy Court for the: Southern District of Texas, Houston Division
                                                                                                                                                               Check if this is an
Case number: 23-90085
                                                                                                                                                               amended filing




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
06/16/2023



   /s/ Moshin Y. Meghji                                                                      Mohsin Y. Meghji
Signature of individual signing on behalf of debtor                                          Printed name

Chief Restructuring Officer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

     No

     Yes
